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   8
                          UNITED STATES DISTRICT COURT
   9
                         CENTRAL DISTRICT OF CALIFORNIA
  10
        COREY WILLIAMS,                   )     CASE NO.: 2:21-cv-08077 JAK
  11                                      )     (PLAx)
  12                      Plaintiff,      )
                                          )     FOURTH AMENDED COMPLAINT
  13     vs.                              )     FOR DAMAGES
  14                                      )
        RICARDO GARCIA, MARK RIDLEY- )          CIVIL RIGHTS VIOLATIONS
  15    THOMAS; HILDA SOLIS; SHEILA       )     PURSUANT TO 42 U.S.C. § 1983
  16    KUEHL, LAW OFFICES OF THE LOS )
        ANGELES COUNTY PUBLIC             )     1. DELIBERATE INDIFFERENCE
  17    DEFENDER; COUNTY OF LOS           )     TO CONSTITUIONAL
  18    ANGELES; RONALD BROWN;            )     VIOLATIONS
        KELLY EMLING; LAURA GREEN,        )
  19    MICHAEL SUZUKI; JENNY BROWN; )          2. MUNICIPAL LIABILITY FOR
  20    DANIEL KUPERBERG; RUBEN           )     CONSTITUIONAL VIOLATIONS
        MARQUEZ; AND DOE                  )
  21    DEFENDANTS 1 THROUGH 10,          )     DEMAND FOR JURY TRIAL
  22    INCLUSIVE,                        )
                                          )
  23
                         Defendants.      )
  24    _________________________________
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       FOURTH AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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   1                             COMPLAINT FOR DAMAGES
   2         COMES NOW plaintiff COREY WILLIAMS, and alleges as follows:
   3                                              I.
   4                                     INTRODUCTION
   5         1.     The present case presents the most glaring example, to date, of the
   6   complete dereliction of duty by the attorneys of the Los Angeles County Public
   7   Defender’s Office. Here, despite the trial court’s urging the PD’s office to file a
   8   motion to dismiss Mr. Williams’ SVP case because of the PD’s office failure to

   9   prosecute the case, the PD’s office refused to recognize their conflict of interest and

  10
       refused to file the motion. An established practice and custom in the PD’s office to
       not file motions against themselves, prevented the prompt dismissal of this case for
  11
       the violation of Mr. William’s constitutional rights.
  12
             2.     Instead, the deputy public defender at the time admitted on the record
  13
       that her office was preventing her from filing the motion that the court suggested.
  14
       Ultimately, from 2008 until 2018, the PD’s office allowed the prosecution to
  15
       improperly and illegally use Mr. Williams’ juvenile records to support the SVP
  16
       allegations against Mr. Williams. The astonishing failure of the PD’s office to
  17
       meaningfully investigate Mr. Williams’ case and to zealously defend him caused him
  18   to be unconstitutionally held in custody from 2008 until 2021 without a trial.
  19         3.     In 2005, Michael Judge, then the Public Defender for Los Angeles
  20   County, served as the Chair of a ten-member Working Group that was appointed by
  21   the State Bar Board of Governors in May 2004 and that was tasked with the revision
  22   of The State Bar of California Guidelines for the delivery of indigent defense
  23   services. In 2006, Michael Judge’s work resulted in revisions to the State Bar’s
  24   guidelines for the provision of indigent legal defense services. Shortly thereafter,
  25   Corey Williams, in 2008, had become a client of the Los Angeles County Public
  26   Defender’s Office as a detainee pending civil commitment. Regretfully, the

  27   administrators of the Los Angeles County Public Defender’s Office ignored these

  28
       important guidelines that were intended to ensure that their clients’ constitutional

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   1   rights were protected. As a result of this failure, Corey Williams spent more than 13
   2   years in civil detention because the Public Defender’s Office abandoned him and did
   3   not get his case to trial. Because of this great delay and the institutional failures of
   4   the Public Defender’s Office, Mr. Williams’s constitutional rights to a speedy trial

   5
       were violated.

   6
             4.     The State Bar of California Guidelines for Indigent Defense Services

   7
       Delivery System warn that excessive attorney workloads can compromise the ability

   8
       of the public defender attorneys to render competent and quality representation in a

   9   timely manner. The guidelines warn that number and type of cases for which an

  10   attorney is responsible may impact the quality of representation individual clients

  11   receive. For that reason, the guidelines state that no attorney should be assigned

  12   more cases than he or she can effectively handle. The guidelines require that

  13   appropriate records should be kept by the administrators of the public defender

  14   offices to avoid assigning an excessive number of cases to an attorney. Further, the

  15   guidelines state that the public defender administrators bear the ultimate

  16   responsibility for assuring that workloads are not excessive in volume for any

  17   attorney to whom cases are assigned. According to the guidelines, failure of a public

  18   defender administrator to effectively address the effects of workloads can result in

  19   personal civil liability and could put his or her license to practice law in jeopardy.

  20         5.     The guidelines that Michael Judge and his working group developed

  21   state that should a public defender administrator determine that the current and

  22   incoming workload exceeds the capacity of the organization to provide necessary and

  23   competent representation, it is incumbent upon these administrators to secure the

  24   additional resources necessary or to decline to accept new cases to the extent that they

  25   exceed the capacity of the defense delivery system.

  26         6.     Sadly, the guidelines that Michael Judge and the State Bar working

  27   group developed and implemented were ignored by the present defendants all to the

  28   great detriment of the present Plaintiff, Corey Williams and his constitutional rights.

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   1   By 2006, the Public Defender’s Office was so backlogged with work that the office
   2   declared itself unavailable to process any civil commitment cases and turned over the
   3   majority of their civil commitment cases to the superior court. Despite the great
   4   workload, the administrators of the Public Defender’s Office agreed in 2007 to be
   5   reinstated as counsel for these former clients. This overwhelmed the office and civil
   6   commitment cases were again abandoned, and new cases that should never have been
   7   accepted, such as Mr. Williams, were also abandoned.
   8         7.     Mr. Williams’s case is replete with examples of the attorneys from the
   9   Los Angeles County Public Defenders’ Office beseeching their supervisors, the
  10   administrators of this office and the Los Angeles County Board of Supervisors, for
  11   help to ameliorate the great negative impact of the overwhelming workload. These
  12   same attorneys warned the administrators and the Board of Supervisors repeatedly of
  13   the violations of the civil rights of the persons being represented by the PD’s Office,
  14   including Mr. Corey Williams, and of the impending related civil liability related to
  15   the civil rights violations. The letters and memoranda starkly stated that the
  16   workload was so great that they were no longer “competent” to represent Mr.
  17   Williams. The attorneys handling Mr. Williams’s case simply could not get his case
  18   to trial because of the customs and practices that were in place at the PD’s Office and
  19   because of the failures of their supervisors and administrators in addressing their case
  20   load. Despite this, the present administrator defendants and those defendants from
  21   the Los Angeles County Board of Supervisors refused to take even modest measures
  22   to protect Mr. Williams’s constitutional rights to due process and a speedy trial. They
  23   consciously allowed him to remain in civil detention for more than 13 years.
  24                                              II.
  25                                  SUMMARY OF CASE
  26         8.     Plaintiff Corey Williams (hereafter also “Mr. Williams”) was held in
  27   custody in a psychiatric hospital for more than 13 years awaiting trial. The
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   1   extraordinary length of this delay resulted from a systemic breakdown in the Los
   2   Angeles County public defender system. This breakdown forced Mr. Williams to
   3   choose between having prepared counsel and a timely trial. Under the Constitution,
   4   he had a right to both. He got neither.
   5             9.    The constitutional violations suffered by Mr. Williams in being denied a
   6   speedy trial and due process resulted from the deliberate indifference to his
   7   constitutional rights by the present defendants who were all aware of his long
   8   unconstitutional detention and acquiesced in the violation of Mr. Williams’s civil
   9   rights.
  10             10.   The purpose of the present action is to bring to light the complete failure
  11   of the Public Defender’s office and the County of Los Angeles to carry out their
  12   statutory and ethical duties to their clients, and the failure of the individually named
  13   defendants to ensure that Mr. Williams was receiving constitutionally adequate
  14   service.
  15             11.   Further, in keeping with one of the goals of 42 U.S.C. Section 1983, the
  16   purpose of the of this action is also to make examples of the individual defendants so
  17   as to ensure that other similarly-situated public officials honor their promise to
  18   protect and defend the constitution of the United States.
  19                                                III.
  20                                JURISDICTION AND VENUE
  21             12.   This civil action is brought for the redress of alleged deprivations of
  22   constitutional rights as protected by 42 U.S.C. §§ 1983, 1988, and the Fourteenth
  23   Amendment of the United States Constitution. Jurisdiction is founded on 28 U.S.C.
  24   §§ 1331, 1343, and 1367.
  25             13.   Venue is proper in this Court under 28 U.S.C. § 1391(b), because
  26   Defendants reside in, and all incidents, events, and occurrences giving rise to this
  27   action occurred in the County of Los Angeles, California.
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   1                                              IV.
   2                                          PARTIES
   3                                           Plaintiff
   4         14.      At all times relevant hereto, Plaintiff Corey Williams (hereafter also
   5   “Mr. Williams” and “Plaintiff”) is and was a resident of the County of Los Angeles,
   6   California.
   7                    Administrators and Managers of the Law Offices of the
   8                               Los Angeles County Public Defender
   9         15.     Defendants RICARDO GARCIA, RONALD BROWN, KELLY
  10   EMLING, LAURA GREEN, MICHAEL SUZUKI, JENNY BROWN, DANIEL
  11   KUPERBERG and RUBEN MARQUEZ are referred to here collectively as
  12   “Administrative Defendants.”
  13         16.     Defendant Ricardo Garcia
  14         a.      At all times relevant hereto defendant Ricardo Garcia was a resident of
  15                 the County of Los Angeles. Ricardo Garcia was appointed public
  16                 defender of the County of Los Angeles in October 2018. During the
  17                 appointment process, he learned of the significant problem that the
  18                 Public Defender’s Office had with its SVP Unit and the unit’s inability
  19                 to get a large number of SVP cases to trial. During his research and
  20                 discussions with staff from the Public Defender’s Office, he learned of
  21                 the dismissal of two SVP matters, People v. Zavala, and People v.
  22                 Vasquez because of the systemic failure of the Public Defender’s Office
  23                 in getting SVP cases to trial. Shortly before his appointment, the
  24                 decision in People v. Superior Court (Vasquez), (2018) 27 Cal.App.5th
  25                 36 was published. The opinion was critical of the Public Defender’s
  26                 Office and emphasized the systemic failures which existed at the Public
  27                 Defender’s Office (serial substitution of attorneys, inordinate delays in
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   1              getting cases to trial, failure to communicate with clients, failure to
   2              arrange for experts, etc.). The opinion established a significant legal
   3              precedent which amplified the rights of SVP clients to a speedy trial.
   4              The opinion was a great embarrassment to the Public Defender’s Office
   5        b.    After the Vasquez opinion was published, Ricardo Garcia confirmed the
   6              truth of the allegations through conversations and other communications
   7              with his staff, including the other Administrative Defendants, and he was
   8              made aware of a large number of cases SVP cases, including Mr.
   9              Williams’ case, which had been lingering without trial for extended
  10              periods of time – exceeding five years. He became personally aware of
  11              the facts and circumstances of Mr. Williams’ case, his repeated requests
  12              to go to trial, his repeated requests to have the Public Defender’s Office
  13              removed as his counsel, and of the conflict of interest that existed
  14              between Mr. Williams’ and the Public Defender’s Office.
  15        c.    As the Public Defender, he was vested by law with the responsibility of
  16              representing indigent defendants in Los Angeles County at all stages of
  17              the criminal proceedings and in all stages of civil detention proceedings
  18              related to indigent persons detained pursuant to California Welfare and
  19              Institutions Code, section 6600, et seq.
  20        d.    The present defendant did not appear as counsel for Plaintiff in the
  21              underlying proceedings or otherwise represent Plaintiff. As such,
  22              liability against this defendant is not based on this defendant acting
  23              within the scope of legal representation of Mr. Williams. Liability
  24              against this defendant is based on this defendant’s role as administrator
  25              of the Law Offices of the Los Angeles County Public Defender
  26              (hereafter also “PD’s Office”) and its SVP unit, as well as this
  27              defendant’s acquiescence in, and ratification of, unconstitutional
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   1              customs and practices which resulted in the present plaintiff’s harm and
   2              damages as alleged herein.
   3        e.    With respect to all conduct alleged herein, defendant Ricardo Garcia
   4              acted under the color of law and in the course and scope of his
   5              employment with the County of Los Angeles. During all said time, he
   6              was also a high-ranking administrator and policy maker for the for the
   7              PD’s Office.
   8        f.    At all times relevant hereto and as the Public Defender for Los Angeles
   9              County, and before that as Assistant Public Defender, defendant Ricardo
  10              Garcia was an administrator and supervisor with the authority to:
  11                 i. develop, adopt, ratify, implement, modify, abolish, revoke and
  12                    rescind all customs, practices, procedures and policies of the Law
  13                    Offices of the Los Angeles County Public Defender;
  14                 ii. develop and implement specific training programs for public
  15                    defender personnel, including deputy public defenders,
  16                iii. secure budget allocations for the funding for specific units,
  17                    personnel needs and cases within his office;
  18                iv. declare in any case being handled by his office that the public
  19                    defender’s office is "unavailable” and thereby have a court assign
  20                    the case to another public defender agency (Los Angeles County
  21                    Alternate Public Defender) or to a private panel attorney for
  22                    handling;
  23                 v. declare conflicts of interest; and,
  24                vi. order or otherwise undertake all necessary measures to ensure that
  25                    any case handled by the public defender’s office would be brought
  26                    to trial in a timely manner.
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   1        g.    Defendant Ricardo Garcia monitored the civil detention proceedings of
   2              Mr. Williams from the time he was appointed as Public Defender until
   3              the Public Defender’s Office declared a conflict. Defendant Ricardo
   4              Garcia had specific knowledge Mr. Williams’s civil detention
   5              proceedings and, as spelled out herein below, was deliberately
   6              indifferent to his prolonged unconstitutional detention and the resulting
   7              violation of Mr. Williams’s civil rights.
   8        h.    Defendant Ricardo Garcia is sued in his personal capacity as supervisor
   9              and administrator for his own culpable action or inaction with respect to
  10              the present plaintiff, and in the administration of the PD’s Office and its
  11              SVP unit and in the training, supervision and/or control of his
  12              subordinates. He is also sued in his personal capacity for his
  13              acquiescence and ratification under color of law in the constitutional
  14              deprivations which this complaint alleges and for the conduct that
  15              showed a reckless or callous indifference to the rights of the present
  16              plaintiff. Defendant Ricardo Garcia’s affirmative conduct, as described
  17              herein below, also involves his acquiescence to, and ratification of,
  18              specific customs, practices and policies and procedures carried out by his
  19              subordinates which this defendant knew, or should have known, would
  20              inflict a constitutional violation upon the present plaintiff.
  21        17.   Defendant Ronald Brown:
  22        a.    At all times relevant hereto defendant Ronald Brown was a resident of
  23              the County of Los Angeles. Ronald Brown was appointed public
  24              defender of the County of Los Angeles in 2011 and served as the public
  25              defender for Los Angeles County until 2016. Prior to that, he served as
  26              Assistant Public Defender from 2006 to 2011. During that time, he also
  27              held supervisorial and administrative positions. As the Public Defender,
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 1              he was vested by law with the responsibility of representing indigent
 2              defendants in Los Angeles County at all stages of the criminal
 3              proceedings and in all stages of civil detention proceedings related to
 4              indigent persons detained pursuant to California Welfare and Institutions
 5              Code, section 6600, et seq.
 6        b.    As early as 2006, when defendant Ronald Brown began serving as
 7              Assistant Public Defender, he was informed of the present plaintiff’s
 8              pending SVP proceedings and he monitored Mr. Williams’s case until
 9              defendant Brown retired in 2016. The present defendant did not appear
10              as counsel for Plaintiff in the underlying proceedings or otherwise
11              represent Plaintiff. As such, liability against this defendant is not based
12              on this defendant acting within the scope of legal representation of Mr.
13              Williams. Liability against this defendant is based on this defendant’s
14              role as administrator of the Law Offices of the Los Angeles County
15              Public Defender (hereafter also “PD’s Office”) and its SVP unit, as well
16              as this defendant’s acquiescence in, and ratification of, unconstitutional
17              customs and practices which resulted in the present plaintiff’s harm and
18              damages as alleged herein.
19        c.    With respect to all conduct alleged herein, defendant Ronald Brown
20              acted under the color of law and in the course and scope of his
21              employment with the County of Los Angeles. During all said time, he
22              was also a high-ranking administrator and policy maker for the for the
23              PD’s Office.
24        d.    At all times relevant hereto and as the Public Defender for Los Angeles
25              County, and before that as Assistant Public Defender, defendant Ronald
26              Brown was an administrator and supervisor with the authority to:
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 1                 i. develop, adopt, ratify, implement, modify, abolish, revoke and
 2                     rescind all customs, practices, procedures and policies of the Law
 3                     Offices of the Los Angeles County Public Defender;
 4                 ii. develop and implement specific training programs for public
 5                     defender personnel, including deputy public defenders,
 6                iii. secure budget allocations for the funding for specific units,
 7                     personnel needs and cases within his office;
 8                iv. declare in any case being handled by his office that the public
 9                     defender’s office is "unavailable” and thereby have a court assign
10                     the case to another public defender agency (Los Angeles County
11                     Alternate Public Defender) or to a private panel attorney for
12                     handling;
13                 v. declare conflicts of interest; and,
14                vi. order or otherwise undertake all necessary measures to ensure that
15                     any case handled by the public defender’s office would be brought
16                     to trial in a timely manner.
17        e.    Defendant Ronald Brown monitored the civil detention proceedings of
18              Mr. Williams between 2008 and 2016. Defendant Brown had specific
19              knowledge Mr. Williams’s civil detention proceedings and, as spelled
20              out herein below, was deliberately indifferent to his prolonged
21              unconstitutional detention and the resulting violation of Mr. Williams’s
22              civil rights.
23        f.    Defendant Brown is sued in his personal capacity as supervisor and
24              administrator for his own culpable action or inaction with respect to the
25              present plaintiff, and in the administration of the PD’s Office and its
26              SVP unit and in the training, supervision and/or control of his
27              subordinates. He is also sued in his personal capacity for his
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 1              acquiescence and ratification under color of law in the constitutional
 2              deprivations which this complaint alleges and for the conduct that
 3              showed a reckless or callous indifference to the rights of the present
 4              plaintiff. Defendant Brown’s affirmative conduct, as described herein
 5              below, also involves his acquiescence to, and ratification of, specific
 6              customs, practices and policies and procedures carried out by his
 7              subordinates which this defendant knew, or should have known, would
 8              inflict a constitutional violation upon the present plaintiff.
 9        18.   Defendant Kelly Emling:
10        a.    At all times relevant hereto defendant Kelly Emling was a resident of the
11              County of Los Angeles, and, as relevant here, served as an administrator
12              within The Law Offices of the Los Angeles County Public Defender.
13              She had the responsibility of supervising and administering the
14              representation of indigent defendants in all stages of civil detention
15              proceedings related to persons detained pursuant to California Welfare
16              and Institutions Code, section 6600, et seq., including SVP detainees
17              awaiting trial. With respect to all conduct alleged herein, defendant
18              Emling acted under the color of law and in the course and scope of her
19              employment with the County of Los Angeles as an administrator of the
20              SVP Unit. As an administrator within the PD’s office, defendant Emling
21              was also an administrator and supervisor with the authority to develop,
22              adopt, ratify, implement, modify, abolish, revoke and rescind all
23              customs, practices, procedures and policies of the Law Offices of the
24              Los Angeles County Public Defender;
25        b.    Defendant Emling did not appear as counsel for Plaintiff in the
26              underlying proceedings or otherwise represent Plaintiff. As such,
27              liability against this defendant is not based on this defendant acting
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 1              within the scope of legal representation of Mr. Williams. Liability
 2              against this defendant is based on this defendant’s role as administrator
 3              of the PD’s office and the SVP unit, as well as this defendant’s
 4              acquiescence in, and ratification of, unconstitutional customs and
 5              practices which resulted in the present plaintiff’s harm and damages as
 6              alleged herein.
 7        c.    Defendant Emling is sued in her personal capacity as supervisor and
 8              administrator for her own culpable action or inaction with respect to the
 9              present plaintiff, and in the administration and supervision of the SVP
10              Unit and in the training, supervision and/or control of her subordinates
11              as well as for her indifference as well as for her indifference to the
12              constitutional violations which resulted from her supervision of and
13              administration of the SVP Unit. She is also sued in her personal
14              capacity for her acquiescence in, and ratification of, the constitutional
15              deprivations which this complaint alleges and for the conduct carried out
16              by her that showed a reckless or callous indifference to the rights of the
17              present plaintiff. This defendant’s affirmative conduct, as described
18              herein below, involves her acquiescence to, and ratification of, specific
19              customs, practices and policies and procedures carried out by her
20              subordinates which this defendant knew, or should have known, would
21              inflict a constitutional violation upon the present plaintiff.
22        19.   Defendant Michael Suzuki:
23        a.    At all times relevant hereto defendant Michael Suzuki was a resident of
24              the County of Los Angeles, and, as relevant here, served as administrator
25              within The Law Offices of the Los Angeles County Public Defender. He
26              had the responsibility of administering and supervising the
27              representation of indigent defendants in all stages of civil detention
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 1              proceedings related to persons detained pursuant to California Welfare
 2              and Institutions Code, section 6600, et seq., including SVP detainees
 3              awaiting trial. With respect to all conduct arising from his work as an
 4              administrator and supervisor of the SVP Unit, defendant Suzuki acted
 5              under the color of law and in the course and scope of his employment
 6              with the County of Los Angeles.
 7        b.    As a Division Chief and/or as a supervisor in the PD’s Office and its
 8              SUV unit, defendant Suzuki was also an administrator with the authority
 9              to develop, adopt, ratify, implement, modify, abolish, revoke and rescind
10              all customs, practices, procedures and policies of the Law Offices of the
11              Los Angeles County Public Defender’s SVP Unit.
12        c.    Liability against defendant Suzuki is based only on this defendant’s role
13              as administrator of the PD’s office and the SVP unit, but also this
14              defendant’s acquiescence in, and ratification of, unconstitutional
15              customs and practices which resulted in the present plaintiff’s harm and
16              damages as alleged herein.
17        d.    After his promotion to supervisor/administrator within the PD’s Office,
18              Mr. Suzuki monitored the SVP Unit’s civil detention proceedings,
19              including those of Mr. Williams. As a result, defendant Suzuki had
20              specific knowledge regarding the civil detention proceedings for Mr.
21              Williams and, as spelled out herein below, was deliberately indifferent to
22              the violation of Mr. Williams’s civil rights which resulted from his long
23              and unconstitutional detention.
24        e.    Defendant Suzuki is sued in his personal capacity as supervisor and
25              administrator for his own culpable action or inaction with respect to the
26              present plaintiff, and in the training, supervision and/or control of his
27              subordinates as well as for his indifference to the constitutional
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 1              violations which resulted from his supervision of and administration of
 2              the SVP Unit. He is also sued in his personal capacity for his
 3              acquiescence in, and ratification of, the constitutional deprivations which
 4              this complaint alleges and for the conduct carried out by him that
 5              showed a reckless or callous indifference to this Plaintiff’s rights. This
 6              defendant’s affirmative conduct, as described herein below, involves his
 7              acquiescence to, and ratification of, specific customs, practices and
 8              policies and procedures carried out by his subordinates which this
 9              defendant knew, or should have known, would inflict a constitutional
10              violation upon the present.
11        20.   Defendant Jenny Brown:
12        a.    At all times relevant hereto defendant Jenny Brown was a resident of the
13              County of Los Angeles, and, as relevant here, served as administrator
14              within The Law Offices of the Los Angeles County Public Defender.
15              She had the responsibility of administering and supervising the
16              representation of indigent defendants in all stages of civil detention
17              proceedings related to persons detained pursuant to California Welfare
18              and Institutions Code, section 6600, et seq., including SVP detainees
19              awaiting trial. With respect to all conduct arising from her work as an
20              administrator and supervisor of the SVP Unit, defendant Jenny Brown
21              acted under the color of law and in the course and scope of her
22              employment with the County of Los Angeles.
23        b.    As a Division Chief and/or as a supervisor in the PD’s SUV unit,
24              defendant Jenny Brown was also an administrator with the authority to
25              develop, adopt, ratify, implement, modify, abolish, revoke and rescind
26              all customs, practices, procedures and policies of the Law Offices of the
27              Los Angeles County Public Defender’s SVP Unit.
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 1        c.    Defendant Jenny Brown did not appear as counsel for Plaintiff in the
 2              underlying proceedings or otherwise represent Plaintiff. As such,
 3              liability against this defendant is not based on this defendant acting
 4              within the scope of legal representation of Mr. Williams. Liability
 5              against this defendant is based on this defendant’s role as administrator
 6              of the PD’s office and the SVP unit, as well as this defendant’s
 7              acquiescence in, and ratification of, unconstitutional customs and
 8              practices which resulted in the present plaintiff’s harm and damages as
 9              alleged herein.
10        d.    After her promotion to supervisor/administrator, defendant Jenny Brown
11              monitored the SVP Unit’s civil detention proceedings, including those of
12              Mr. Williams. As a result, defendant Jenny Brown had specific
13              knowledge regarding the civil detention proceedings of Mr. Williams
14              and, as spelled out herein below, was deliberately indifferent to the
15              violation of Mr. Williams’s civil rights which resulted from his long and
16              unconstitutional detention.
17        e.    Defendant Jenny Brown is sued in her personal capacity as a supervisor
18              and administrator for her own culpable action or inaction with respect to
19              the present plaintiff, and in the training, supervision and/or control of her
20              subordinates as well as for her indifference to the constitutional
21              violations which resulted from her supervision of and administration of
22              the SVP Unit. She is also sued in her personal capacity for his
23              acquiescence in, and ratification of, the constitutional deprivations which
24              this complaint alleges and for the conduct carried out by her that showed
25              a reckless or callous indifference to the violation of constitutional rights
26              of the present plaintiff. This defendant’s affirmative conduct, as
27              described herein below, involves her acquiescence to, and ratification of,
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 1              specific customs, practices and policies and procedures carried out by his
 2              subordinates which this defendant knew, or should have known, would
 3              inflict a constitutional violation upon the present plaintiff.
 4        21.   Defendant Daniel Kuperberg:
 5        a.    At all times relevant hereto defendant Daniel Kuperberg was a resident
 6              of the County of Los Angeles, and, as relevant here, served as
 7              administrator within The Law Offices of the Los Angeles County Public
 8              Defender. He had the responsibility of administering and supervising
 9              the representation of indigent defendants in all stages of civil detention
10              proceedings related to persons detained pursuant to California Welfare
11              and Institutions Code, section 6600, et seq., including SVP detainees
12              awaiting trial. With respect to all conduct arising from his work as an
13              administrator and supervisor of the SVP Unit, defendant Kuperberg
14              acted under the color of law and in the course and scope of his
15              employment with the County of Los Angeles.
16        b.    As a Division Chief and/or as a supervisor in the PD’s SUV unit,
17              defendant Kuperberg was also an administrator with the authority to
18              develop, adopt, ratify, implement, modify, abolish, revoke and rescind
19              all customs, practices, procedures and policies of the Law Offices of the
20              Los Angeles County Public Defender’s SVP Unit.
21        c.    Defendant Kuperberg did not appear as counsel for Plaintiff in the
22              underlying proceedings or otherwise represent Plaintiff. As such,
23              liability against this defendant is not based on this defendant acting
24              within the scope of legal representation of Mr. Williams. Liability
25              against this defendant is based on this defendant’s role as administrator
26              of the PD’s office and the SVP unit, as well as this defendant’s
27              ratification of, and acquiescence in, and ratification of, the
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 1              unconstitutional customs and practices which resulted in the present
 2              plaintiff’s harm and damages as alleged herein.
 3        d.    After his promotion to supervisor/administrator, defendant Kuperberg
 4              monitored the SVP Unit’s civil detention proceedings, including those of
 5              Corey Williams. As a result, defendant Kuperberg had specific
 6              knowledge regarding the civil detention proceedings for plaintiff Corey
 7              Williams and, as spelled out herein below, was deliberately indifferent to
 8              the violation of Mr. Williams’s civil rights which resulted from his long
 9              and unconstitutional detention.
10        e.    Defendant Kuperberg is sued in his personal capacity as supervisor and
11              administrator for his own culpable action or inaction with respect to the
12              present plaintiff, and in the training, supervision and/or control of his
13              subordinates as well as for his indifference to the constitutional
14              violations which resulted from his supervision of and administration of
15              the SVP Unit. He is also sued in his personal capacity for his
16              acquiescence in, and ratification of, the constitutional deprivations which
17              this complaint alleges and for the conduct carried out by him that
18              showed a reckless or callous indifference to the rights of the present
19              plaintiff. This defendant’s affirmative conduct, as described herein
20              below, involves his acquiescence to, and ratification of, specific
21              customs, practices and policies and procedures carried out by his
22              subordinates which this defendant knew, or should have known, would
23              inflict a constitutional violation upon the present plaintiff.
24        22.   Defendant Ruben Marquez:
25        a.    At all times relevant hereto defendant Ruben Marquez was a resident of
26              the County of Los Angeles, and, as relevant here, served as administrator
27              within The Law Offices of the Los Angeles County Public Defender. He
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 1              had the responsibility of administering and supervising the
 2              representation of indigent defendants in all stages of civil detention
 3              proceedings related to persons detained pursuant to California Welfare
 4              and Institutions Code, section 6600, et seq., including SVP detainees
 5              awaiting trial. With respect to all conduct arising from his work as an
 6              administrator and supervisor of the SVP Unit, defendant Marquez acted
 7              under the color of law and in the course and scope of his employment
 8              with the County of Los Angeles.
 9        b.    As a Division Chief and/or as a supervisor in the PD’s SUV unit,
10              defendant Marquez was also an administrator with the authority to
11              develop, adopt, ratify, implement, modify, abolish, revoke and rescind
12              all customs, practices, procedures and policies of the Law Offices of the
13              Los Angeles County Public Defender’s SVP Unit.
14        c.    Defendant Marquez did not appear as counsel for Plaintiff in the
15              underlying proceedings or otherwise represent Plaintiff. As such,
16              liability against this defendant is not based on this defendant acting
17              within the scope of legal representation of Mr. Williams. Liability
18              against this defendant is based on this defendant’s role as administrator
19              of the PD’s office and the SVP unit, as well as this defendant’s
20              acquiescence in, and ratification of, unconstitutional customs and
21              practices which resulted in the present plaintiff’s harm and damages as
22              alleged herein.
23        d.    After his promotion to supervisor/administrator, defendant Marquez
24              monitored the SVP Unit’s civil detention proceedings, including those of
25              Corey Williams. As a result, defendant Marquez had specific
26              knowledge regarding the civil detention proceedings for plaintiff Corey
27              Williams and, as spelled out herein below, was deliberately indifferent to
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 1               the violation of Mr. Williams’s civil rights which resulted from his long
 2               and unconstitutional detention.
 3         e.    Defendant Marquez is sued in his personal capacity as a supervisor and
 4               administrator for his own culpable action or inaction with respect to the
 5               present plaintiff, and in the training, supervision and/or control of his
 6               subordinates as well as for his indifference to the constitutional
 7               violations which resulted from his supervision of and administration of
 8               the SVP Unit. He is also sued in his personal capacity for his
 9               acquiescence in, and ratification of, the constitutional deprivations which
10               this complaint alleges and for the conduct carried out by him that
11               showed a reckless or callous indifference to the rights of the present
12               plaintiff. This defendant’s affirmative conduct, as described herein
13               below, involves his acquiescence to, and ratification of, specific
14               customs, practices and policies and procedures carried out by his
15               subordinates which this defendant knew, or should have known, would
16               inflict a constitutional violation upon the present plaintiff.
17                                Board of Supervisor Defendants
18         23.   Defendants Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl
19   (hereafter also “BOS Defendants”) were members of the Los Angeles County Board
20   of Supervisors from 2014 up to and beyond August 16, 2021.
21         24.   As presented in the Los Angeles County Charter, the members of the
22   Board of Supervisors serve in an executive capacity with respect to the various
23   departments that the Board oversees. In this executive capacity, the Board of
24   Supervisors is required to administer all local governmental services. Indigent legal
25   services, as provided by the Public Defender’s Office, is one of the local government
26   services that the BOS defendants administered and managed as part of their executive
27   function.
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 1         25.    In keeping with this executive function, the BOS defendants served as
 2   administrators and supervisors of the Public Defender’s Office. They communicated
 3   regularly with the Administrative Defendants and with the employees of the SVP
 4   unit. The BOS defendants made management and supervisorial decisions as to the
 5   administration of the SVP unit.
 6         26.    As presented below, and per the Los Angeles County Charter, as well as
 7   these defendants’ personal custom and practice, each one of these defendants were
 8   responsible for the management, supervision and administration of the Law Offices
 9   of the Los Angeles Public Defender.
10         27.    During their individual tenure, each of the BOS Defendants learned of
11   the problem with getting SVP cases to trial. They were presented with data of each
12   of the SVP cases, including Mr. Williams’s SVP case, of the prolonged
13   unconstitutional detention of the various SVP clients, and - through letters and
14   memoranda from individual deputy public defenders at the SVP Unit - of the inability
15   and failure of the PD’s Office to timely bring the SVP cases, including Mr.
16   Williams’s case, to trial.
17         28.    In making decision about the administration and management of the
18   Public Defender’s office and its SVP unit, these defendants participated in and made
19   management and administrative decisions that effected the entire SVP case-load
20   being handled by the Public Defender’s Office. Like the Administrative Defendants,
21   the BOS defendants were not involved in the day-to-day decision-making for each
22   individual case but, rather, made and joined in decisions about the administration and
23   management of the SVP unit. None of the decisions that the BOS defendants made
24   or joined in on with respect to the management of the SVP unit were presented to the
25   Board of Supervisors for consideration or approval or were otherwise part of their
26   legislative function. As the LA County Charter points out, permits and allows, the
27   BOS defendants were called upon to supervise the departments that they oversaw.
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 1         29.    Ultimately, despite repeated entreaties and warnings from the attorney
 2   staff of the PD’s office, the BOS Defendants failed to take any action to address the
 3   violation of the SVP clients’ rights to due process and a speedy trial, including those
 4   of Mr. Williams.
 5         30.    For example, the BOS Defendants each knew, as early as September of
 6   2014, that Mr. Williams would be held indefinitely in civil detention without trial
 7   unless they took action on his behalf. Despite having the ability to do so, they
 8   refused to address the ongoing violation of his, or the other SVP detainee-clients’,
 9   constitutional rights. The letters and memoranda they each received from the deputy
10   public defenders in the SVP unit informed these defendants that the attorneys were
11   unable to process the SVP cases, including Mr. Williams’ case, and the attorneys also
12   warned these defendants of the civil liability that would result should these
13   defendants not act to correct the failures in the handling of the SVP cases, including
14   the failure to timely bring Mr. Williams’ case to trial.
15         31.    Despite this knowledge, each of the BOS Defendants refused to take any
16   action to ensure that the SVP cases, including Mr. Williams’ case, were brought to
17   trial in a timely fashion. As a result, his constitutional rights to due process and a
18   speedy trial were violated as spelled out herein.
19         32.    Defendant Mark Ridley-Thomas
20         a.     At all times relevant hereto, the present defendant was a resident of the
21                County of Los Angeles. He was a member of the Board of Supervisors
22                of Los Angeles County from 2008-2020. As part of his duties as a
23                member of the Los Angeles County Board of Supervisors, he was
24                assigned with the administrative responsibility of directly overseeing,
25                managing, directing and/or controlling defendant Law Offices of the Los
26                Angeles County Public Defender. With respect to his oversight,
27                management and supervision of the Law Offices of the Los Angeles
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 1              County Public Defender, the present defendant did not have to seek
 2              authorization from the Board of Supervisors for his decisions, none of
 3              such decisions were required to be put before the Board of Supervisors
 4              for approval in the form of resolutions, policy determinations or other
 5              legislative acts. The acts and omissions of this defendant, as alleged
 6              herein, were made in this defendant’s executive capacity, consistent with
 7              this defendant’s duties to manage and administer the county department
 8              known as The Office of the Public Defender, including the making of
 9              decision which impacted and governed how the SVP Unit would be
10              administered and how categories of cases, including older SVP cases –
11              cases pending trial for longer than 6 years, including Mr. Williams’ case,
12              would be managed.
13        b.    With respect to all conduct alleged herein, this defendant acted under the
14              color of law.
15        c.    Per this defendant’s responsibilities to manage, supervise and administer
16              the Law Offices of the Los Angeles County Public Defender and its SVP
17              Unit, the present defendant had the authority to:
18                 i. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
19                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to declare
20                    that the public defender’s office is "unavailable” and thereby have
21                    a case assigned to The Alternate Public Defender of Los Angeles
22                    County or to a private panel attorney;
23                ii. develop and implement specific training programs for all
24                    personnel in the Law Offices of the Los Angeles County Public
25                    Defender, including deputy public defenders,
26                iii. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
27                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to replace
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 1                    or reassign personnel within the Law Offices of the Los Angeles
 2                    County Public Defender; and,
 3                iv. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
 4                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to order
 5                    subordinate personnel, to take specific actions in particular cases.
 6        d.    This defendant oversaw, monitored and/or managed defendant The Law
 7              Offices of the Los Angeles County Public Defender. In carrying out his
 8              oversight of said office, he met monthly, and often more regularly, with
 9              defendants Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
10              Michael Suzuki, Daniel Kuperberg and Ruben Marquez to discuss and
11              carry out the operation and management of The Law Offices of the Los
12              Angeles County Public Defender. At all relevant times hereto, this
13              defendant had the authority to order or otherwise compel defendant The
14              Office of the Public Defender and defendants Ronald Brown, Kelly
15              Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg
16              and Ruben Marquez to “declare unavailability” in specific SVP cases.
17              The PD’s office often declared “unavailability” in non-SVP cases with
18              the consent of Mark Ridley-Thomas.
19        e.    These regular meetings included discussions of the SVP Unit, its case
20              load, individual cases handled by said unit - including Mr. Williams’s
21              case, the backlog of work in the unit, the understaffing of that unit, and
22              the extended time periods that SVP Unit clients were being detained.
23        f.    Defendant Mark Ridley-Thomas requested and received regular
24              memoranda, emails, reports, budget requests, and other written
25              correspondence and documents from defendants Ronald Brown, Kelly
26              Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg
27              and Ruben Marquez and other members of the Public Defender’s Office
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 1              regarding the management and operation of the SVP Unit, including the
 2              status of Mr. Williams’s civil detention proceedings. Defendant Ridley-
 3              Thomas had specific knowledge regarding Plaintiff’s civil detention
 4              proceedings and, as spelled out herein below, was deliberately
 5              indifferent to the violation of Mr. Williams’s civil rights. Defendant
 6              Mark Ridley-Thomas was aware of the present plaintiff’s SVP case, the
 7              long delay in getting his case to trial, and the unconstitutional customs
 8              and practices which caused the delays in getting Plaintiff’s case to trial.
 9        g.    Defendant Mark Ridley-Thomas is sued in his personal capacity as a
10              supervisor and administrator for his own culpable action or inaction
11              related to the management of Mr. Williams’s case, and for his specific
12              conduct and deliberate indifference which resulted in the violation of the
13              present Plaintiff’s constitutional rights. He is also sued in his personal
14              capacity for his acquiescence in, and ratification of, the constitutional
15              deprivations which this complaint alleges and for his conduct which
16              showed a reckless or callous indifference to the rights of the present
17              plaintiff. This defendant’s affirmative conduct, as described herein
18              below, involves his acquiescence to, and ratification of specific conduct
19              carried out by his subordinates which this defendant knew, or should
20              have known, would inflict a constitutional violation upon the present
21              plaintiff.
22        h.    With respect to the individual cases handled by the PD’s office,
23              defendant Mark Ridley-Thomas often managed individual cases that
24              were being handled by the PD’s Office. In his role as a supervisor and
25              administrator of the Office of the Public Defender, he was allowed to,
26              and did, deal with individual cases that were assigned to the PD’s office.
27              This defendant would either request that the client’s file be brought to
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 1              his office or inquire directly with Ronald Brown, or other supervisors in
 2              the PD’s Office as to individual cases. He would instruct the Ronald
 3              Brown and his subordinates as to the management of the case, push for a
 4              particular outcome, and demand that the particular case be resolved in a
 5              particular way. It was not uncommon, in fact, for employees of the
 6              Chief Executive Office to bring public defender files to the office of
 7              Mark Ridley Thomas at his request. This included delivery of files by
 8              the County Executive Officer, William T. Fujioka, to this defendant’s
 9              office.
10        i.    From 2006 on, this defendant learned of Mr. Williams’s case during the
11              various monthly meetings with Ronald Brown and the other
12              administrators and supervisors of the PD’s office. In the discussion of
13              the operations of the SVP Unit, individual cases were presented to this
14              defendant, including Mr. William’s case.
15        j.    In 2006, this defendant learned that the PD’s Office could not bring SVP
16              cases to trial because the volume of cases had overwhelmed the SVP
17              staff and they could not process the cases to trial in a reasonable time
18              and that as a result, a significant backlog of cases had arisen. This
19              defendant was informed by Ronald Brown and the PD’s managers and
20              administrators that there existed in 2006 a large backlog of cases and
21              that the superior court as well as the District Attorney’s Office became
22              concerned that the SVP cases were not being processed. New legislation
23              came into effect which required that unadjudicated pending SVP cases
24              be brought to trial within 24 months. At that point, this defendant,
25              Ronald Brown and the PD’s managers and administrators agreed that it
26              was best to declare themselves “unavailable” and to request that the
27              court appoint private counsel for Mr. Williams and other SVP clients.
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 1              Defendant Ridley-Thomas knew in 2006 that if private counsel was not
 2              appointed for Mr. Williams, his case would linger indefinitely in the
 3              PD’s office without going to trial because the PD’s Office was
 4              overwhelmed with cases much older than Mr. Williams’s case and new
 5              legislation required that those earlier cases be promptly tried. This
 6              created a conflict of interest within the PD’s Office; i.e., they were
 7              forced to decide which SVP client would get priority over other SVP
 8              clients and have their case brought to trial. Recognizing this conflict of
 9              interest, this defendant, Ronald Brown and the PD’s managers and
10              administrators agreed that they would declare the PD’s Office
11              unavailable as to these cases and have the court appoint private counsel.
12        k.    In 2007, it became apparent to defendant Ridley-Thomas, Ronald Brown
13              and the other managers and administrators of the PD’s Office that this
14              plan would not be successful. The court informed them that there was
15              not an adequate amount of willing and qualified private attorneys to
16              assume the management of the SVP cases. As such, those cases which
17              were to be transferred out of the SVP unit to private counsel to relieve
18              the workload would remain in the SVP unit. As such, this defendant
19              knew that the overworked attorneys and staff in the SVP unit would
20              continue to be overwhelmed with the high volume of cases and that the
21              long-expected delays in the bringing of the cases to trial would persist,
22              including the delay in the processing of Mr. Williams’s case.
23        l.    In 2007, through the implementation of a memorandum of understanding
24              between the PD’s Office, the Superior Court and the Office of the
25              District attorney it was agreed that these cases would remain in the SVP
26              Unit. By the SVP cases remaining in the PD’s office, it was expected by
27              PD’s Office, the Superior Court and the District Attorney’s Office that
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 1               said SVP clients would have competent counsel going forward, and that
 2               all SVP cases that were taken on by the office, such as Mr. Williams,
 3               would also have competent counsel moving forward. To guarantee that
 4               competent counsel was provided to Mr. Williams and the other SVP
 5               clients, the County of Los Angeles agreed to provide the PD’s Office
 6               additional resources to increase the attorney and staff levels so as to
 7               “ensure that these SVP clients would have competent representation and
 8               that they would not be deprived of due process because of lack of
 9               County, attorney and judicial resources”. The County of Los Angeles
10               provided the additional resources to the PD’s Office in 2008 when Mr.
11               Williams’ case was assigned to the PD’s Office. Defendant Ridley-
12               Thomas, Ronald Brown and the other managers and administrators of
13               the PD’s Office, however, did not apply these resources to the SVP unit.
14               Nothing changed in the SVP Unit, accordingly. Defendant Ridley-
15               Thomas, Ronald Brown and the other managers and administrators of
16               the PD’s Office knew if they did not apply the additional resources to the
17               SVP Unit, that overwhelming workload would persist within the unit,
18               and that the SVP clients, including Mr. Williams, would continue to be
19               denied their due process rights and their speedy trial rights. Despite this,
20               Defendant Ridley-Thomas allowed the resources to be used for other
21               purposes by the PD’s Office and allowed the overwhelmed environment
22               to persist in the SVP Unit. The above agreements and history are
23               memorialized, in part, in the Memorandum of Understanding which is
24               attached hereto as Exhibit 1. 1
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      Defendant Michael Suzuki was the representative from the PD’s Office who signed
     the MOU on behalf of the PD’s Office, and he participated in the formulation,
28   adoption and implementation of this MOU.
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 1        m.    Beginning in 2006, and throughout the eight following years, defendant
 2              Ridley-Thomas, Ronald Brown and the PD’s managers and
 3              administrators continued to meet every month to discuss the
 4              management of the PD’s Office. During many of these meetings after
 5              2008, they discussed Mr. Williams’s case. Defendant Ridley-Thomas,
 6              Ronald Brown and the other managers and administrators of the PD’s
 7              Office recognized at each meeting that the SVP Unit was overwhelmed
 8              with work and that the delays in cases getting to trial were continuing to
 9              grow every year. They accepted that the SVP clients would not be
10              getting a speedy trial. They agreed that because of the unsavory
11              allegations against these clients, that there would be little negative
12              consequences to them if the SVP cases were delayed. In discussing Mr.
13              Williams’s case, they all agreed that the SVP petition filed against him
14              made him even less likely to protest the denial of his rights.
15        n.    From 2006 until 2014, less than four SVP cases were brought to trial
16              annually by the attorneys in the SVP Unit. Mr. Williams’s SVP case
17              was six years old in 2014 and he had been waiting for his trial six years
18              in custody. During each of those years, defendant Ridley-Thomas,
19              Ronald Brown and the other managers and administrators of the PD’s
20              Office discussed the status of his case, acknowledged that it was not
21              moving to trial in a timely manner, and agreed that they would not
22              declare “unavailability” in Mr. Williams’s case so as to ensure that he
23              would be assigned to private counsel to move his case to trial promptly.
24        o.    In 2014, defendant Ridley-Thomas learned that the PD’s Office would
25              be cutting the staff level of the SVP unit by at least 50 percent.
26              Defendant Ridley-Thomas learned from defendant Ronald Brown and
27              the other managers and administrators of the PD’s Office that this would
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 1              cause the already-existing delay in the processing of cases to trial to be
 2              drastically exacerbated. In discussing the staff reduction, defendant
 3              Ridley-Thomas learned that Mr. Williams’s case would be further
 4              delayed. He and Ronald Brown and the other managers and
 5              administrators of the PD’s Office acknowledged that the staff reduction
 6              would cause Mr. Williams to remain in custody for an indefinite amount
 7              of time because the staff reduction would essentially put a stop to the
 8              processing of cases by the SVP staff because they simply had too many
 9              cases to effectively handle.
10        p.    During the time that the SVP staff reduction was being contemplated
11              during January through April of 2014, this defendant received letters and
12              memoranda from the attorneys and staff in the SVP Unit which informed
13              this defendant that the proposed staff reductions would make them
14              ineffective under law in their ability to assist their SVP clients. The
15              letters and memoranda, all of which were hand-delivered to this
16              defendant, informed this defendant that the reduction in staff would
17              cause the further delay in the already unconscionably and
18              unconstitutionally slow processing of the SVP cases. The letters and
19              memoranda expressly informed this defendant that the staff reductions
20              would cause the violation of the due process rights and speedy trial
21              rights of the SVP clients. During the regular monthly discussions about
22              the administration of the PD’s Office and the management of the case
23              load, this defendant was informed of the ages of the various SVP cases
24              and he learned that Mr. Williams’s case was already at least six years
25              old, and that the staff reductions in the SVP unit would cause Mr.
26              Williams’s case to remain in limbo, without trial, for an indefinite period
27              of time thereafter.
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 1        q.    In the discussion of the impact of the staff reductions during March and
 2              April of 2014, defendant Ridley-Thomas, Ronald Brown and the other
 3              managers and administrators of the PD’s Office discussed the option of
 4              PD’s Office declaring “unavailability” in Mr. Williams’s case. This
 5              would have ensured that his case would have gotten to trial in speedy
 6              fashion after being transferred to private counsel. This option was
 7              viable, but because of a conflict of interest, this defendant decided that
 8              the PD’s Office would not declare a conflict in Mr. Williams’s case,
 9              thereby essentially abandoning Mr. Williams’s case to an indefinite state
10              of delay.
11        r.    During the discussion of the issuance of a declaration of unavailability in
12              the SVP cases, defendant Ridley-Thomas, Ronald Brown and the other
13              managers and administrators of the PD’s Office discussed the
14              implications of People v. Litmon, (2008) 76 Cal. Rptr. 3d 122, where it
15              was held that a delay as short as 11 months in the bringing of an SVP
16              case to trial could constitute a violation of due process rights and speedy
17              trial rights. During their discussions in March and April of 2014, these
18              defendants acknowledged that they were now in a conflict of interest
19              with Mr. Williams because his case was now inordinately old – 6 years,
20              and that the delay in bringing his case to trial was due to their chronic
21              mismanagement of the SVP Unit, including the breached
22              agreement/MOU of 2007. Rather than inform the court of the conflict of
23              interest or declare the PD’s Office unavailable in the older SVP cases,
24              like the present Plaintiff’s case, defendant Ridley-Thomas, Ronald
25              Brown and the other managers and administrators of the PD’s Office
26              agreed to retain Mr. Williams’s case within the SVP Unit so as to
27              conceal their conflict of interest and avoid civil liability.
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 1        33.   Defendant Hilda Solis:
 2        a.    At all times relevant hereto, the present defendant, Hilda Solis, was a
 3              resident of the County of Los Angeles. She was a member of the Board
 4              of Supervisors of Los Angeles County from 2008-2020. As part of her
 5              duties as a member of the Los Angeles County Board of Supervisors, she
 6              was assigned with the administrative responsibility of directly
 7              overseeing, managing, directing and/or controlling defendant Law
 8              Offices of the Los Angeles County Public Defender. With respect to her
 9              oversight, management and supervision of the Law Offices of the Los
10              Angeles County Public Defender, the present defendant did not have to
11              seek authorization from the Board of Supervisors for her decisions, none
12              of such decisions were required to be put before the Board of
13              Supervisors for approval in the form of resolutions, policy
14              determinations or other legislative acts. The acts and omissions of this
15              defendant, as alleged herein, were made in this defendant’s executive
16              capacity, consistent with this defendant’s duties to manage and
17              administer the county department known as The Office of the Public
18              Defender, including the making of decision which impacted and
19              governed how the SVP Unit would be administered and how categories
20              of cases, including older SVP cases – cases pending trial for longer than
21              6 years, including Mr. Williams’ case, would be managed.
22        b.    With respect to all conduct alleged herein, defendant Hilda Solis acted
23              under the color of law.
24        c.    Per her responsibilities to manage, supervise and administer the Law
25              Offices of the Los Angeles County Public Defender and its SVP Unit,
26              Defendant Hilda Solis had the authority to:
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 1                 i. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
 2                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to declare
 3                    that the public defender’s office is "unavailable” and thereby have
 4                    a case assigned to The Alternate Public Defender of Los Angeles
 5                    County or to a private panel attorney;
 6                ii. develop and implement specific training programs for all
 7                    personnel in the Law Offices of the Los Angeles County Public
 8                    Defender, including deputy public defenders,
 9                iii. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
10                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to replace
11                    or reassign personnel within the Law Offices of the Los Angeles
12                    County Public Defender; and,
13                iv. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
14                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to order
15                    subordinate personnel, to take specific actions in particular cases.
16        d.    In keeping with her executive responsibilities as a member of the board
17              of supervisors, defendant Hilda Solis oversaw, monitored and/or
18              managed defendant The Law Offices of the Los Angeles County Public
19              Defender. In carrying out her oversight of said office, he met monthly,
20              and often more regularly, with defendants Ronald Brown, Kelly Emling,
21              Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg and
22              Ruben Marquez to discuss and carry out the operation and management
23              of The Law Offices of the Los Angeles County Public Defender. At all
24              relevant times hereto, Defendant Hilda Solis had the authority to order or
25              otherwise compel defendant The Office of the Public Defender and
26              defendants Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
27              Michael Suzuki, Daniel Kuperberg and Ruben Marquez to “declare
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 1              unavailability” in specific SVP cases. The PD’s office often declared
 2              “unavailability” in non-SVP cases with the consent of defendant Hilda
 3              Solis.
 4        e.    These regular meetings included discussions of the SVP Unit, its case
 5              load, individual cases handled by said unit - including Mr. Williams’s
 6              case, the backlog of work in the unit, the understaffing of that unit, and
 7              the extended time periods that SVP Unit clients were being detained.
 8        f.    Defendant Hilda Solis requested and received regular memoranda,
 9              emails, reports, budget requests, and other written correspondence and
10              documents from defendants Ronald Brown, Kelly Emling, Laura Green,
11              Jenny Brown, Michael Suzuki, Daniel Kuperberg and Ruben Marquez
12              and other members of the Public Defender’s Office regarding the
13              management and operation of the SVP Unit, including the status of the
14              various pending SVP cases and the civil detention proceedings related to
15              them, including the present Plaintiff’s case. Defendant Hilda Solis had
16              specific knowledge regarding Plaintiff’s civil detention proceedings and,
17              as spelled out herein below, was deliberately indifferent to the violation
18              of Mr. Williams’s civil rights. Defendant Hilda Solis was aware of the
19              present plaintiff’s SVP case, the long delay in getting his case to trial,
20              and the unconstitutional customs and practices which caused the delays
21              in getting Plaintiff’s case to trial.
22        g.    Defendant Hilda Solis is sued in her personal capacity as a supervisor
23              and administrator for her own culpable action or inaction related to the
24              management of Mr. Williams’s case, and for her specific conduct and
25              deliberate indifference which resulted in the violation of the present
26              Plaintiff’s constitutional rights. She is also sued in her personal capacity
27              for her acquiescence in, and ratification of, the constitutional
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 1              deprivations which this complaint alleges and for her conduct which
 2              showed a reckless or callous indifference to the rights of the present
 3              plaintiff. This defendant’s affirmative conduct, as described herein
 4              below, involves her acquiescence to, and ratification of specific conduct
 5              carried out by her subordinates which this defendant knew, or should
 6              have known, would inflict a constitutional violation upon the present
 7              plaintiff.
 8        h.    With respect to the individual cases handled by the PD’s office,
 9              defendant Hilda Solis often managed individual cases that were being
10              handled by the PD’s Office. In her role as a supervisor and
11              administrator of the Office of the Public Defender, she was allowed to,
12              and did, deal with individual cases that were assigned to the PD’s office.
13              This defendant would either request that the client’s file be brought to
14              her office or inquire directly with Ronald Brown, or other supervisors in
15              the PD’s Office as to individual cases. She would instruct the Ronald
16              Brown and her subordinates as to the management of the case, push for a
17              particular outcome, and demand that the particular case be resolved in a
18              particular way.
19        i.    In 2014, upon her taking office as a member of the Board of Supervisors
20              and taking on her role as an administrator of the PD’s Office, this
21              defendant learned that the PD’s Office could not bring SVP cases to trial
22              because the volume of cases had overwhelmed the SVP staff and they
23              could not process the cases to trial in a reasonable time and that as a
24              result, a significant backlog of cases had arisen. This defendant was
25              informed by Ronald Brown and the PD’s managers and administrators
26              that there existed in since 2006 a large backlog of cases in the SVP Unit
27              of the PD’s Office. This defendant was informed of the SVP cases that
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 1              had been awaiting trial the longest and she learned that among these
 2              cases, Mr. Williams’s cae was one of the oldest pending cases. She was
 3              informed that if private counsel was not appointed for Mr. Williams, his
 4              case would linger indefinitely in the PD’s office without going to trial
 5              because the PD’s Office was overwhelmed with cases much older than
 6              Mr. Williams’s case.
 7        j.    Between 2014 and 2020, defendant Hilda Solis, Ronald Brown and the
 8              PD’s managers and administrators continued to meet every month to
 9              discuss the management of the PD’s Office. During many of these
10              meetings, they discussed the various long-pending SVP cases, including
11              Mr. Williams’s case. Defendant Ridley-Thomas, Ronald Brown and the
12              other managers and administrators of the PD’s Office recognized at each
13              meeting that the SVP Unit was overwhelmed with work and that the
14              delays in cases getting to trial were continuing to grow every year. They
15              accepted that the SVP clients would not be getting a speedy trial. They
16              agreed that because of the unsavory allegations against these clients, that
17              there would be little negative consequences to them if the SVP cases
18              were delayed.
19        k.    In 2014, defendant Hilda Solis learned that the PD’s Office would be
20              cutting the staff level of the SVP unit by at least 50 percent. This
21              concerned defendant Solis given that she had been just informed of the
22              great delays in the bringing of the SVP cases to trial. Defendant Ridley-
23              Thomas Hilda Solis learned from defendant Ronald Brown and the other
24              managers and administrators of the PD’s Office that this would cause the
25              already-existing delay in the processing of cases to trial to be drastically
26              exacerbated. In discussing the staff reduction, defendant Hilda Solis
27              learned that Mr. Williams’s case, along with the other long-pending SVP
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 1              cases, would be further delayed. She and Ronald Brown and the other
 2              managers and administrators of the PD’s Office acknowledged that the
 3              staff reduction would cause Mr. Williams, and the other long-pending
 4              SVP clients, to remain in custody for an indefinite amount of time
 5              because the staff reduction would essentially put a stop to the processing
 6              of cases by the SVP staff because they simply had too many cases to
 7              effectively handle.
 8        l.    During the time that the SVP staff reduction was being contemplated
 9              during January through April of 2014, this defendant received letters and
10              memoranda from the attorneys and staff in the SVP Unit which informed
11              this defendant that the proposed staff reductions would make them
12              ineffective under law in their ability to assist their SVP clients. The
13              letters and memoranda, all of which were hand-delivered to this
14              defendant, informed this defendant that the reduction in staff would
15              cause the further delay in the already unconscionably and
16              unconstitutionally slow processing of the SVP cases. The letters and
17              memoranda expressly informed this defendant that the staff reductions
18              would cause the violation of the due process rights and speedy trial
19              rights of the SVP clients. During the regular monthly discussions about
20              the management of the PD’s Office and delays in getting SVP cases to
21              trial, this defendant learned that Mr. Williams’s case was already at least
22              six years old in 2014 and that the staff reductions in the SVP unit would
23              cause Mr. Williams’s case to remain in limbo, without trial, for an
24              indefinite period of time thereafter.
25        m.    In the discussions of the impact of the staff reductions during March and
26              April of 2014, defendant Hilda Solis, Ronald Brown and the other
27              managers and administrators of the PD’s Office discussed the option of
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 1              PD’s Office declaring “unavailability” in the SVP cases, including Mr.
 2              Williams’s case. This would have ensured that the older SVP cases,
 3              including Mr. Williams’ case would have gotten to trial in speedy
 4              fashion after being transferred to private counsel. This option was
 5              viable, but because of a conflict of interest, this defendant decided, or
 6              joined in the decision, that the PD’s Office would not declare a conflict
 7              in any SVP case, including Mr. Williams’s case, thereby essentially
 8              abandoning Mr. Williams’s case to an indefinite state of delay.
 9        n.    During the discussion of the issuance of a declaration of unavailability in
10              Mr. Williams’s case, defendant Hilda Solis, Ronald Brown and the other
11              managers and administrators of the PD’s Office discussed the
12              implications of People v. Litmon, (2008) 76 Cal. Rptr. 3d 122, where it
13              was held that a delay as short as 11 months in the bringing of an SVP
14              case to trial could constitute a violation of due process rights and speedy
15              trial rights. During their discussions in March and April of 2014, these
16              defendants acknowledged that they were now in a conflict of interest
17              with their SVP clients, including Mr. Williams, because their cases were
18              now inordinately old – 6 years in Mr. Williams case, with many older
19              cases, and that the delay in bringing these older SVP cases to trial was
20              due to their chronic mismanagement of the SVP Unit, including the
21              breached agreement/MOU of 2007, which was explained to this
22              defendant. Rather than inform the court of the conflict of interest or
23              declare the PD’s Office unavailable in the various older SVP cases,
24              including Mr. Williams’s case, defendant Hilda Solis, Ronald Brown
25              and the other managers and administrators of the PD’s Office agreed to
26              retain the older SVP cases, including Mr. Williams’s case, within the
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 1              SVP Unit so as to conceal their conflict of interest and avoid civil
 2              liability.
 3        o.    In March and April of 2014, defendant Solis was further informed that
 4              the SVP Unit at the PD’s Office was dramatically under understaffed,
 5              that the work load exceeded the attorneys’ ability to effectively manage
 6              their cases, that SVP clients were being so neglected that their cases
 7              were being delayed to such an extent that the clients’ constitutional
 8              rights were being violated, and that Mr. Williams’s case was one of
 9              these neglected older cases.
10        34.   Defendant Sheila Kuehl:
11        a.    At all times relevant hereto, the present defendant, Sheila Kuehl, was a
12              resident of the County of Los Angeles. She was a member of the Board
13              of Supervisors of Los Angeles County from 2008-2020. As part of her
14              duties as a member of the Los Angeles County Board of Supervisors, she
15              was assigned with the administrative responsibility of directly
16              overseeing, managing, directing and/or controlling defendant Law
17              Offices of the Los Angeles County Public Defender. With respect to her
18              oversight, management and supervision of the Law Offices of the Los
19              Angeles County Public Defender, the present defendant did not have to
20              seek authorization from the Board of Supervisors for her decisions, none
21              of such decisions were required to be put before the Board of
22              Supervisors for approval in the form of resolutions, policy
23              determinations or other legislative acts. The acts and omissions of this
24              defendant, as alleged herein, were made in this defendant’s executive
25              capacity, consistent with this defendant’s duties to manage and
26              administer the county department known as The Office of the Public
27              Defender, including the making of decision which impacted and
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 1              governed how the SVP Unit would be administered and how categories
 2              of cases, including older SVP cases – cases pending trial for longer than
 3              6 years, including Mr. Williams’ case, would be managed.
 4        b.    With respect to all conduct alleged herein, defendant Sheila Kuehl acted
 5              under the color of law.
 6        c.    Per her responsibilities to manage, supervise and administer the Law
 7              Offices of the Los Angeles County Public Defender and its SVP Unit,
 8              Defendant Sheila Kuehl had the authority to:
 9                 i. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
10                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to declare
11                    that the public defender’s office is "unavailable” and thereby have
12                    a case assigned to The Alternate Public Defender of Los Angeles
13                    County or to a private panel attorney;
14                ii. develop and implement specific training programs for all
15                    personnel in the Law Offices of the Los Angeles County Public
16                    Defender, including deputy public defenders,
17                iii. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
18                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to replace
19                    or reassign personnel within the Law Offices of the Los Angeles
20                    County Public Defender; and,
21                iv. instruct Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
22                    Michael Suzuki, Daniel Kuperberg and Ruben Marquez to order
23                    subordinate personnel, to take specific actions in particular cases.
24        d.    In keeping with her executive responsibilities as a member of the board
25              of supervisors, defendant Sheila Kuehl oversaw, monitored and/or
26              managed defendant The Law Offices of the Los Angeles County Public
27              Defender. In carrying out her oversight of said office, he met monthly,
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 1              and often more regularly, with defendants Ronald Brown, Kelly Emling,
 2              Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg and
 3              Ruben Marquez to discuss and carry out the operation and management
 4              of The Law Offices of the Los Angeles County Public Defender. At all
 5              relevant times hereto, Defendant Sheila Kuehl had the authority to order
 6              or otherwise compel defendant The Office of the Public Defender and
 7              defendants Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
 8              Michael Suzuki, Daniel Kuperberg and Ruben Marquez to “declare
 9              unavailability” in specific SVP cases. The PD’s office often declared
10              “unavailability” in non-SVP cases with the consent of defendant Sheila
11              Kuehl.
12        e.    These regular meetings included discussions of the SVP Unit, its case
13              load, individual cases handled by said unit - including Mr. Williams’s
14              case, the backlog of work in the unit, the understaffing of that unit, and
15              the extended time periods that SVP Unit clients were being detained.
16        f.    Defendant Sheila Kuehl requested and received regular memoranda,
17              emails, reports, budget requests, and other written correspondence and
18              documents from defendants Ronald Brown, Kelly Emling, Laura Green,
19              Jenny Brown, Michael Suzuki, Daniel Kuperberg and Ruben Marquez
20              and other members of the Public Defender’s Office regarding the
21              management and operation of the SVP Unit, including the status of the
22              various pending SVP cases and the civil detention proceedings related to
23              them, including the present Plaintiff’s case. Defendant Sheila Kuehl had
24              specific knowledge regarding Plaintiff’s civil detention proceedings and,
25              as spelled out herein below, was deliberately indifferent to the violation
26              of Mr. Williams’s civil rights. Defendant Sheila Kuehl was aware of
27              the present plaintiff’s SVP case, the long delay in getting his case to
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 1              trial, and the unconstitutional customs and practices which caused the
 2              delays in getting Plaintiff’s case to trial.
 3        g.    Defendant Sheila Kuehl is sued in her personal capacity as a supervisor
 4              and administrator for her own culpable action or inaction related to the
 5              management of Mr. Williams’s case, and for her specific conduct and
 6              deliberate indifference which resulted in the violation of the present
 7              Plaintiff’s constitutional rights. She is also sued in her personal capacity
 8              for her acquiescence in, and ratification of, the constitutional
 9              deprivations which this complaint alleges and for her conduct which
10              showed a reckless or callous indifference to the rights of the present
11              plaintiff. This defendant’s affirmative conduct, as described herein
12              below, involves her acquiescence to, and ratification of specific conduct
13              carried out by her subordinates which this defendant knew, or should
14              have known, would inflict a constitutional violation upon the present
15              plaintiff.
16        h.    With respect to the individual cases handled by the PD’s office,
17              defendant Sheila Kuehl often managed individual cases that were being
18              handled by the PD’s Office. In her role as a supervisor and
19              administrator of the Office of the Public Defender, she was allowed to,
20              and did, deal with individual cases that were assigned to the PD’s office.
21              This defendant would either request that the client’s file be brought to
22              her office or inquire directly with Ronald Brown, or other supervisors in
23              the PD’s Office as to individual cases. She would instruct the Ronald
24              Brown and her subordinates as to the management of the case, push for a
25              particular outcome, and demand that the particular case be resolved in a
26              particular way.
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 1        i.    In 2014, upon her taking office as a member of the Board of Supervisors
 2              and taking on her role as an administrator of the PD’s Office, this
 3              defendant learned that the PD’s Office could not bring SVP cases to trial
 4              because the volume of cases had overwhelmed the SVP staff and they
 5              could not process the cases to trial in a reasonable time and that as a
 6              result, a significant backlog of cases had arisen. This defendant was
 7              informed by Ronald Brown and the PD’s managers and administrators
 8              that there existed in since 2006 a large backlog of cases in the SVP Unit
 9              of the PD’s Office. This defendant was informed of the SVP cases that
10              had been awaiting trial the longest and she learned that among these
11              cases, Mr. Williams’s cae was one of the oldest pending cases. She was
12              informed that if private counsel was not appointed for Mr. Williams, his
13              case would linger indefinitely in the PD’s office without going to trial
14              because the PD’s Office was overwhelmed with cases much older than
15              Mr. Williams’s case.
16        j.    Between 2014 and 2020, defendant Sheila Kuehl, Ronald Brown and the
17              PD’s managers and administrators continued to meet every month to
18              discuss the management of the PD’s Office. During many of these
19              meetings, they discussed the various long-pending SVP cases, including
20              Mr. Williams’s case. Defendant Ridley-Thomas, Ronald Brown and the
21              other managers and administrators of the PD’s Office recognized at each
22              meeting that the SVP Unit was overwhelmed with work and that the
23              delays in cases getting to trial were continuing to grow every year. They
24              accepted that the SVP clients would not be getting a speedy trial. They
25              agreed that because of the unsavory allegations against these clients, that
26              there would be little negative consequences to them if the SVP cases
27              were delayed.
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 1        k.    In 2014, defendant Sheila Kuehl learned that the PD’s Office would be
 2              cutting the staff level of the SVP unit by at least 50 percent. This
 3              concerned defendant Sheila Kuehl given that she had been just informed
 4              of the great delays in the bringing of the SVP cases to trial. Defendant
 5              Sheila Kuehl learned from defendant Ronald Brown and the other
 6              managers and administrators of the PD’s Office that this would cause the
 7              already-existing delay in the processing of cases to trial to be drastically
 8              exacerbated. In discussing the staff reduction, defendant Sheila Kuehl
 9              learned that Mr. Williams’s case, along with the other long-pending SVP
10              cases, would be further delayed. She and Ronald Brown and the other
11              managers and administrators of the PD’s Office acknowledged that the
12              staff reduction would cause Mr. Williams, and the other long-pending
13              SVP clients, to remain in custody for an indefinite amount of time
14              because the staff reduction would essentially put a stop to the processing
15              of cases by the SVP staff because they simply had too many cases to
16              effectively handle.
17        l.    During the time that the SVP staff reduction was being contemplated
18              during January through April of 2014, this defendant received letters and
19              memoranda from the attorneys and staff in the SVP Unit which informed
20              this defendant that the proposed staff reductions would make them
21              ineffective under law in their ability to assist their SVP clients. The
22              letters and memoranda, all of which were hand-delivered to this
23              defendant, informed this defendant that the reduction in staff would
24              cause the further delay in the already unconscionably and
25              unconstitutionally slow processing of the SVP cases. The letters and
26              memoranda expressly informed this defendant that the staff reductions
27              would cause the violation of the due process rights and speedy trial
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 1              rights of the SVP clients. During the regular monthly discussions about
 2              the management of the PD’s Office and delays in getting SVP cases to
 3              trial, this defendant learned that Mr. Williams’s case was already at least
 4              six years old in 2014 and that the staff reductions in the SVP unit would
 5              cause Mr. Williams’s case to remain in limbo, without trial, for an
 6              indefinite period of time thereafter.
 7        m.    In the discussions of the impact of the staff reductions during March and
 8              April of 2014, defendant Sheila Kuehl, Ronald Brown and the other
 9              managers and administrators of the PD’s Office discussed the option of
10              PD’s Office declaring “unavailability” in the SVP cases, including Mr.
11              Williams’s case. This would have ensured that the older SVP cases,
12              including Mr. Williams’ case would have gotten to trial in speedy
13              fashion after being transferred to private counsel. This option was
14              viable, but because of a conflict of interest, this defendant decided, or
15              joined in the decision, that the PD’s Office would not declare a conflict
16              in any SVP case, including Mr. Williams’s case, thereby essentially
17              abandoning Mr. Williams’s case to an indefinite state of delay.
18        n.    During the discussion of the issuance of a declaration of unavailability in
19              Mr. Williams’s case, defendant Sheila Kuehl, Ronald Brown and the
20              other managers and administrators of the PD’s Office discussed the
21              implications of People v. Litmon, (2008) 76 Cal. Rptr. 3d 122, where it
22              was held that a delay as short as 11 months in the bringing of an SVP
23              case to trial could constitute a violation of due process rights and speedy
24              trial rights. During their discussions in March and April of 2014, these
25              defendants acknowledged that they were now in a conflict of interest
26              with their SVP clients, including Mr. Williams, because their cases were
27              now inordinately old – 6 years in Mr. Williams case, with many older
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 1                cases, and that the delay in bringing these older SVP cases to trial was
 2                due to their chronic mismanagement of the SVP Unit, including the
 3                breached agreement/MOU of 2007, which was explained to this
 4                defendant. Rather than inform the court of the conflict of interest or
 5                declare the PD’s Office unavailable in the various older SVP cases,
 6                including Mr. Williams’s case, defendant Sheila Kuehl, Ronald Brown
 7                and the other managers and administrators of the PD’s Office agreed to
 8                retain the older SVP cases, including Mr. Williams’s case, within the
 9                SVP Unit so as to conceal their conflict of interest and avoid civil
10                liability.
11         o.     In March and April of 2014, defendant Sheila Kuehl was further
12                informed that the SVP Unit at the PD’s Office was dramatically under
13                understaffed, that the work load exceeded the attorneys’ ability to
14                effectively manage their cases, that SVP clients were being so neglected
15                that their cases were being delayed to such an extent that the clients’
16                constitutional rights were being violated, and that Mr. Williams’s case
17                was one of these neglected older cases.
18                                 Public Entity Defendants
19         35.    Defendant County of Los Angeles: At all times mentioned herein,
20   defendant County of Los Angeles was a public entity duly organized and existing
21   under and by virtue of the laws of the state of California, with the capacity to sue and
22   be sued. Defendant County of Los Angeles is responsible for the actions, omissions,
23   policies, procedures, practices and customs of its various agents, departments,
24   subdivisions and agencies. Defendant County of Los Angeles operates, manages,
25   directs and/or controls defendant Law offices of the Los Angeles County Public
26   Defender which is also a separate public entity. At all times relevant to the facts
27   alleged herein, Defendant County of Los Angeles was responsible for assuring that
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 1   the actions, omissions, policies, procedures, practices and customs of its departments,
 2   subdivisions, and employees, complied with Constitution of the United States.
 3         36.    Defendant Law office of the Los Angeles County Public Defender: At
 4   all times mentioned herein, defendant Law offices of the Los Angeles County Public
 5   Defender was a public entity, and subdivision of the County of Los Angeles, duly
 6   organized and existing under and by virtue of the laws of the state of California and
 7   the Charter of the County of Los Angeles, with the capacity to sue and be sued.
 8   Defendant Law Offices of the Los Angeles County Public Defender is responsible for
 9   the actions, omissions, policies, procedures, practices and customs of its various
10   agents, departments, subdivisions and Units, including its SVP Unit. According to
11   defendant Law Offices of the Los Angeles County Public Defender, its SVP Unit was
12   established to defend those persons who were being committed to state mental
13   institutions for potentially an indefinite term of commitment, and that its SVP Unit
14   consists of experienced attorneys and paralegals practicing exclusively in this highly
15   specialized area of law.
16         37.    DOE defendants 1 through 10, inclusive and each of them, are and were
17   at all times relevant here, members of the Los Angeles County Board of Supervisors,
18   appointed or elected officials of the County of Los Angeles, and agents, employees
19   and/or representatives of defendant County of Los Angeles acting within their
20   capacity as employees, agents and servants of the defendant County of Los Angeles
21   and/or Law Offices of the Los Angeles County Public Defender. Said defendants
22   were policymakers with the authority to develop, modify, amend, ratify, implement,
23   revoke, and rescind all policies, practices, procedures and customs of the Law Offices
24   of the Los Angeles County Public Defender. Said defendants, at all times alleged
25   herein, where acting within said course and scope of that employment and agency,
26   and at all times relevant hereto were acting under the color of law. Said Defendants
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 1   are sued individually and in their personal capacity as supervisors, employees, agents
 2   and/or representatives of defendant County of Los Angeles.
 3         38.    The present plaintiff is ignorant of the true names and capacities of
 4   defendants sued herein as DOE defendants 1 through 10, inclusive, and therefore sues
 5   these defendants by such fictitious names. Plaintiff will amend this complaint to
 6   allege their true names and capacities when ascertained. Plaintiff is informed and
 7   believe and thereon allege that each of the fictitiously named defendants is
 8   responsible in some manner for the occurrences herein alleged, and that Plaintiff’s
 9   injuries as herein alleged were proximately caused by the acts and/or omissions of
10   said fictitiously named defendants.
11

12                                               V.

13                         STATEMENT OF RELEVANT FACTS
14                                               A.
15         Mr. Corey Williams’ Due Process rights were violated by the 13-year
16         pre-trial detention.
17         39.    The 13-year pre-trial detention of Mr. Corey Williams violated his due
18   process rights under the Fourteenth Amendment of the US Constitution.
19         40.    A delay of less than one year in getting to trial on an SVP petition may
20   alone violate a detainee’s due process rights, citing Doggett v. United States, 505
21   U.S.at p. 652, fn. 1. Courts have held “that 17 years of pre-trial detention is
22   presumptively prejudicial and oppressive to the maximum degree.” People v.
23   Superior Court, (2018) 27 Cal.App.5th 36, 54 (Vasquez).
24         41.    Following the decisions in Vasquez, Litmon, and People v. DeCasas,
25   (2020) 54 Cal.App.5th 785, in order to determine if there has been a violation of
26   plaintiff’s due process rights and speedy trial rights, courts apply the tests established
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 1   by the United States Supreme Court in Mathews v. Eldridge, (1976) 424 U.S. 319 and
 2   Barker v. Wingo, (1972) 407 U.S. 514, would conclude as follows:
 3         a.    Mr. Williams’ more than 13 years of pre-trial confinement constituted a
 4               pretrial delay and that it was presumptively prejudicial and “oppressive
 5               to the maximum degree,” requiring due process protection;
 6         b.    Mr. Williams was not advised by the Los Angeles County Public
 7               Defender’s Office of the consequences of the plea bargain in his
 8               underlying criminal matter that he accepted, which resulted in the SVP
 9               petition being filed against him and also resulted in more than 13 years
10               of pre-trial civil confinement;
11         c.    Several attorneys in the SVP Unit have in other matters testified that
12               upper management of the Los Angeles County Public Defender’s Office
13               did not respond to their complaints, and there was further testimony that
14               indicated that retaliatory transfers occurred. There was not a single
15               decision made by upper management in the Public Defender’s Office
16               that was in the best interest of the SVP clients, including Mr. Williams.
17               This is the systemic breakdown;
18         d.    Mr. Williams asserted his speedy trial rights and sent letters to the judges
19               and attorneys from the Los Angeles Public Defender’s Office that
20               represented him describing the “Hobson’s choice” he faced when he was
21               repeatedly asked whether he would agree to continue his case for trial, so
22               that his attorneys would be prepared for trial. They did not every
23               adequately prepare for trial. Due to this Hobson’s Choice, Mr. Williams
24               did not waive his right to a speedy trial;
25         e.    The statements and letters Mr. Williams wrote are descriptions of the
26               “Hobson’s choice” Mr. Williams was facing, the choice that he made,
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 1               and is much more than the “enough is enough” comment made by
 2               George Vasquez, discussed in his and the DeCasas cases;
 3         f.    Mr. Williams, also, had both the right to a speedy trial and that the right
 4               to competent, prepared counsel and that his comments, objections and
 5               letters proved that one gave way to the other;
 6         g.    Like Vasquez2, Mr. Williams was forced to acquiesce to his counsel’s
 7               demand for more time and forced to choose between proceeding to trial
 8               without prepared counsel or giving up his right to speedy trial. He had
 9               the proverbial “Hobson’s choice;”
10         h.    Had his case been brought to trial in a timely fashion and had he been
11               committed, he would have been committed for only a two-year period;
12         i.    There is ample testimony in court records from other matters about the
13               Los Angeles County Public Defender’s Office’s budget cuts and the
14               effect it had on the lack of timeliness of SVP cases, including Mr.
15               Williams’s;
16         j.    There existed no fiscal or administrative burdens on the government that
17               could have possibly justified the lengthy pre-trial detention suffered by
18               Mr. Williams and, in fact, it would not have been any more of a fiscal or
19               administrative burden on the government to bring Mr. Williams to trial
20               at the beginning of his case;
21         k.    Mr. Williams’s involuntary commitment was presumptively prejudicial,
22               particularly in light of the fact that he only faced a 2-year commitment
23               on the original petition;
24

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     2
      The appellant in Vasquez, George Vasquez, was also represented by the Los Angeles
     County Public Defenders’ Office, including by some of the same attorneys, and he
26   spent 17 years in custody awaiting trial in his SVP proceedings. Both Mr. Vasquez
27   and Mr. Williams were concurrently in SVP proceedings at the time that the Los
     Angeles County Public Defenders’ office has been deemed to have been in a state of
28   a “systemic breakdown.”
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 1         l.     The prejudice “could not be more clear,” considering the fact that Mr.
 2                Williams had two negative evaluations, which found that he did not meet
 3                the criteria to be found an SVP;
 4         m.     As Judge Brian Gasdia noted in the Darryell Frazier matter, “As the
 5                Litmon… court observed, time once passed can never be recovered,”
 6                and the same is true in Mr. Williams case;
 7         n.     Mr. Williams had a substantial liberty interest and, in light of the
 8                negative evaluations in his favor, the risk of an erroneous involuntary
 9                confinement was substantial, satisfying the first two prongs of the
10                Mathews test;
11         o.     Each of Mr. Williams’s trial dates were continued as a result of “a
12                systemic ‘breakdown in the public defender system.’”;
13         p.     Deputy Public Defender 3 explained to Judge William Ryan, when asked
14                why she had not filed a Litmon-Vasquez motion to dismiss the petition
15                filed against Mr. Williams, that she was “restrained” from filing said
16                motion to dismiss. Judge Ryan scolded her and informed her that her
17                ethical duty to her client cannot be usurped by the policy of the Los
18                Angeles County Public Defender’s Office.
19         42.    The lengthy detention was not of Mr. Williams’s own making, Mr.
20   Williams’s trial dates were continued due to systemic breakdowns in the public
21   defender’s system, and he was faced with a Hobson’s choice of acquiescing to his
22   attorney’s strategies, whatever they were, or go to trial with an attorney that was not
23   timely prepared. As such, Mr. Williams was not responsible for the long delay.
24         43.    Ultimately, there is “overwhelming” evidence that the long pre-trial
25   detention of Mr. Williams showed a constitutional deprivation of both his speedy trial
26   rights and due process rights.
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 1                                              B.
 2               By 2006, there was already an institutional breakdown of the
 3                     Public Defender System in Los Angeles County.
 4         44.     In the Vasquez case, both the trial court and the Court of Appeal of the
 5   State of California concluded that “the dysfunctional manner in which the public
 6   defender’s office handled … Vasquez’s case was precisely the type of systemic or
 7   institutional breakdown contemplated [by controlling authority].” Vasquez, 27 Cal.
 8   App. 5th at 73.
 9         45.     A state of institutional breakdown existed as early as 2006 in the PD’s
10   Office. In 2007, the Superior Court of Los Angeles County brokered an agreement
11   with the PD’s Office and the Office of the District Attorney to attempt to address the
12   inability of the PD’s Office to bring SVP cases to trial. In the Memorandum of
13   Understanding that memorialized the agreement, the parties stipulated to the inability
14   of the PD’s Office to promptly bring SVP cases to trial.
15         46.     The agreement resulted from the enactment of new legislation in
16   October of 2006 related to SVP proceedings and the term of commitment for those
17   individuals who were adjudicated under the SVP Act. The new legislation made the
18   term of commitment indefinite rather than two years. The legislation applied to 64
19   pending SVP petitions which were being defended against by the PD’s Office.
20         47.     This agreement provided that the PD’s Office would bring the 64 cases
21   to trial within 24 months. The majority of the cases subject to this agreement were at
22   least three years old by the time the agreement was entered into.
23         48.     Shortly after entering into the agreement, defendants Ronald Brown,
24   Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel Kuperberg, and
25   Ruben Marquez determined that the SVP unit did not have the staff and other
26   resources to bring the 64 cases to trial within the 24 months they had agreed to. This
27   put the 64 SVP clients at risk of losing the benefit of the two-year commitment term.
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 1   Likewise, this also put the PD’s Office in conflict of interest. The lawyers in the SVP
 2   unit had to choose which clients would go to trial in the 24-month period and which
 3   clients would not.
 4         49.    Defendants Ronald Brown, Jenny Brown, Kelly Emling, Laura Green,
 5   Michael Suzuki, Daniel Kuperberg, and Ruben Marquez realized that this created an
 6   ethical and liability problem for them and the PD’s Office. Accordingly, they sought
 7   to be relieved as counsel in the 64 cases.
 8         50.    These defendants did not inform the 64 SVP clients or Mr. Williams
 9   when his case was assigned to the Public Defender’s Office in January 2008 of this
10   agreement, of their intention to be relieved as counsel or of the implications of not
11   bringing their cases to trial within 24 months, including the impact of being
12   committed to state civil detention for an indefinite period.
13         51.    After several months of effort, the Superior Court determined that it
14   could not find an adequate number of private attorneys willing and qualified to
15   assume representation of the SVP clients that the PD’s Office was unable to handle.
16   SVP litigation was, and is, meaningfully different than normal criminal defense work.
17   SVP cases consist of voluminous files, complex medical issues are intertwined with
18   the legal issues, and extensive expert evaluations are essential to the successful
19   defense of these cases. Although brought by prosecutors and pursued in the criminal
20   courts, SVP cases are civil cases with all the proceedings common in civil litigation
21   that are, for the most part, foreign to criminal practitioners, such as the taking of
22   depositions. The field is so specialized that very few private practitioners in
23   California practice SVP defense.
24         52.    Because the court could not find adequate numbers of private attorneys
25   to handle the subject 64 cases, the court, the PD’s Office and the DA’s office entered
26   into another agreement regarding these 64 cases. The District Attorney’s Office
27   offered to withdraw the 24-month time limit to bring the cases to trial, if the PD’s
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 1   Office agreed to retain the cases. The agreement, however, also provided that the 64
 2   SVP clients waive their right to have their case brought to trial promptly, within the
 3   24-month period, so as to avoid indefinite commitment. Defendant Michael Suzuki
 4   was the representative from the PD’s Office that signed the memorandum of
 5   understanding.
 6         53.    The intention of the agreement was to ensure that the 64 SVP clients
 7   would have “competent representation and that they would not be deprived of due
 8   process because of a lack of County, attorney and judicial resources.” This intent was
 9   never honored by the County of Los Angeles, the PD’s Office, or defendants Ronald
10   Brown, Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel
11   Kuperberg, and Ruben Marquez
12         54.    Defendants Ronald Brown, Jenny Brown, Kelly Emling, Laura Green,
13   Michael Suzuki, Daniel Kuperberg, and Ruben Marquez accepted this agreement and
14   agreed to retain all of the 64 cases. They did not notify Mr. Williams upon being
15   assigned his case in January 2008, or the other 64 SVP clients, that the PD’s Office
16   had admitted that they were in disarray and could not bring their SVP case load to
17   trial in a timely matter, that they were so overburdened that they should not be taking
18   on any new cases, that they had waived their right to speedy trial and that the PD’s
19   Office had agreed to risk their indefinite commitment.
20         55.    The agreement was memorialized in a memorandum of understanding in
21   May of 2007 and provided for the continuing representation by the PD’s Office of 64
22   SVP clients that were subject to the new legislation. The previously-agreed-to 24-
23   month time period to bring the cases to trial was waived by the PD’s Office and the
24   County of Los Angeles agreed to provide additional resources to the PD’s Office to
25   enable the PD’s Office to handle the increased workload and so these cases would be
26   brought to trial promptly and competently. Implicit in this understanding is that the
27   PD’s Office was so overwhelmed and overworked that they could not bring their
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 1   current case load to trial in a timely manner, much less take on any additional cases in
 2   the immediate future, such as Mr. Williams’, and bring his case to trial in a timely
 3   manner. This was an implicit admission that the PD’s Office was in a state of
 4   systemic dysfunction.
 5         56.    The County of Los Angeles provided more than $1,200,000 to the Public
 6   Defender’s Office to ensure that the retained SVP cases would be competently
 7   brought to trial. The PD’s Office and defendants Ronald Brown, Jenny Brown, Kelly
 8   Emling, Laura Green, Michael Suzuki, Daniel Kuperberg, and Ruben Marquez
 9   accepted these resources, but did not dedicate any of the funding to the SVP unit.
10   They did not hire or transfer new lawyers to work in the SVP Unit nor did they did
11   change the way they managed SVP cases. They did not modify the structure of the
12   SVP Unit in any way, or otherwise meaningfully change the way they defended SVP
13   cases so as to ensure that their SVP clients would receive “competent representation
14   and that they would not be deprived of due process because of a lack of County,
15   attorney and judicial resources.”
16         57.    To the contrary, nothing changed. The admitted inability to bring these
17   cases to trial promptly, the conflicts of interest, and the essential abandonment of
18   their SVP clients persisted. Mr. Williams’s case was assigned to this SVP Unit in
19   disarray in January 2008. The PD’s Office should have never accepted his case due
20   to the dysfunction already prevalent in the public defender system. Not until 2019,
21   when private counsel was appointed to represent Mr. Williams, did he have any
22   meaningful work done on his case. Shortly thereafter, his case was dismissed.
23         58.    From 2007, when the above agreement was entered into, until
24   approximately April of 2014, the SVP unit remained under-staffed, overworked and
25   unable to handle the amount of SVP cases that were assigned to it. None of the 64
26   cases, nor Mr. Williams’s case, were brought to trial in the previously contemplated
27   24-months. In fact, because of the overwhelming amount of cases and related work
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 1   that each of the lawyers in the SVP Unit had to manage, between 2007 and 2014 less
 2   than four SVP cases were brought to trial each year by the PD’s Office. The same
 3   institutional breakdown that the courts have recognized as having existed in the PD’s
 4   Office between 2014 and 2019 also existed between 2002 to 2014.
 5                                                 C.
 6                    Plaintiff’s 13-year ordeal as an SVP pre-trial detainee.
 7         59.    In 1999, Corey Williams accepted a plea bargain as part of a deal to
 8   reduce the sentence he was facing had he gone to trial and was convicted. An
 9   attorney from the Los Angeles County Public Defender’s Office represented him for
10   his criminal offense at the time. The SVP Act was enacted in California in 1996. It
11   provided that certain individuals who had a qualifying sex-related conviction could
12   have a petition filed against them to determine whether they are considered an SVP
13   and would, at that time, be committed to a state hospital for treatment of the alleged
14   mental condition. Such individuals would, therefore, be subject to additional
15   mandatory confinement until either their petition was dismissed or they were
16   determined not to meet the criteria of an SVP. As would be seen, the vast majority of
17   those who had SVP petitions filed against them would not see a trial to determine if
18   they were SVPs for years, if not decades. When Mr. Williams took the plea bargain,
19   his deputy public defender did not advise him that he may be subject to the provisions
20   of the SVP Act, and, therefore, may be civilly committed for years or, as in Mr.
21   Williams case, more than a decade. Had he been aware of said SVP consequences,
22   Mr. Williams would not have accepted said plea deal and would have either
23   negotiated a plea without the possibility of civil confinement or would have gone to
24   trial. Mr. Williams accepted the plea and served more than 8 years in state prison.
25   On January 30, 2008, near the end of his sentence, and before he was released from
26   prison, the Los Angeles County District Attorney’s office filed a petition for civil
27   commitment pursuant to California Welfare & Institutions Code, section 6600 et seq.
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 1         60.   Throughout the majority of Mr. Williams’s 13-year detention, he was
 2   represented by attorneys from the Los Angeles County Public Defender’s Office.
 3         61.   For the first six years after the petition was filed, Williams was
 4   represented primarily by Deputy Public Defender Number 1 (hereafter also “DPD1”).
 5   DPD1 is not a defendant in the present action. However, before DPD1 appeared,
 6   then-Deputy Public Defender Defendant Michael Suzuki appeared before the
 7   Honorable Dennis Landin for the probable cause hearing on February 6, 2008. The
 8   court found probable cause.
 9         62.   According to the court's minute orders, Mr. Williams’ appearance was
10   waived seven times by DPD1: July 17, 2009, October 5, 2009, December 8, 2009,
11   March 5, 2010, June 11, 2010, August 12, 2010, and March 18, 2014.
12         63.   Williams appeared by video conference on October 22, 2010, January
13   13, 2011, February 24, 2011, April 28, 2011, June 1, 2011, September 14, 2011,
14   January 6, 2012, April 20, 2012, August 3, 2012, November 16, 2012, February 15,
15   2013, and August 12, 2013.
16         64.   Mr. Williams's first court appearance was on February 13, 2008, before
17   the Honorable Dennis Landin. Mr. Williams appeared in court. DPD1 represented
18   him from the Los Angeles County Public Defender's Office. DPD1 waived time for
19   the probable cause hearing.
20         65.   Mr. Williams appeared in court next on April 3, 2008. All parties
21   remained the same.
22         66.   DPD1 again stipulated to a continuance.
23         67.   On April 22, 2008, Mr. Williams celebrated his 34th birthday while
24   detained at Coalinga State Hospital.
25         68.   On August 5, 2008, Williams's first probable cause hearing was
26   conducted without any witnesses before the Honorable Dennis Landin; however, this
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 1   probable cause hearing was later determined to be invalid. Respondent's counsel,
 2   DPD1, moved to submit on the reports of the WIC 6600 evaluators.
 3           69.   DPD1 moved to dismiss for insufficient evidence and the motion was
 4   denied. The court found probable cause as against Mr. Williams. DPD1 stipulated to
 5   continue the matter to January 6, 2009.
 6           70.   Mr. Williams was not in court on January 6, 2009, when DPD1 appeared
 7   before the Honorable Melissa Widdifield. The case was continued on a motion by
 8   DPD1 to July 15, 2009.
 9           71.   On April 22, 2009, Mr. Williams celebrated his 35th birthday while
10   detained at Coalinga State Hospital.
11           72.   Mr. Williams was not in court on July 17, 2009, when a Los Angeles
12   County Deputy Public Defender appeared for DPD1 before the Honorable Melissa
13   Widdifield. The case was continued on a motion by DPD1 to October 5, 2009.
14           73.   Mr. Williams was not in court on October 5, 2009, when DPD1 appeared
15   before the Honorable Melissa Widdifield. The case was continued to December 8,
16   2009.
17           74.   Mr. Williams was not in court on December 8, 2009, when DPD1
18   appeared before the Honorable Melissa Widdifield. The case was continued to
19   March 5, 2010. DPD1 waived Mr. Williams’ time without his knowledge or consent.
20   Mr. Williams was not in court on March 5, 2010, when DPD1 appeared before the
21   Honorable Melissa Widdifield. The case was continued to June 11, 2010. DPD1
22   waived Mr. Williams’ time without his knowledge or consent. The court ordered
23   counsel to obtain a written waiver of time and appearance at the next court hearing.
24           75.   On April 22, 2010, Mr. Williams celebrated his 36th birthday while
25   detained at Coalinga State Hospital.
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 1         76.    Mr. Williams was not in court on June 11, 2010, when DPD1 appeared
 2   before the Honorable Melissa Widdifield. The case was continued to August 12,
 3   2010. DPD1 waived time for trial again without a written waiver from Mr. Williams.
 4         77.    On June 11, 2010, Mr. Williams wrote to DPD1's paralegal, and said, "I
 5   know it's only been 2 years but I'm ready to go to trial. [Paralegal], I'm tired of sitting
 6   in this hospital. [DPD1] always talks me into waiving time, and I feel she is
 7   manipulating me. I want to go to trial." (emphasis added) Additionally, on that same
 8   date, Mr. Williams sent a letter addressed directly to DPD1 that states, "I've talked to
 9   some other guys here and there are some guys who have been here, 5-6 years. I do
10   not want to be sitting here that long.”
11         78.    Mr. Williams was not in court on August 12, 2010, when DPD1
12   appeared before the Honorable Melissa Widdifield. The case was continued to
13   October 22, 2010. DPD1 waived time for trial again without a written waiver.
14         79.    Mr. Williams appeared by video on October 22, 2010, when DPD1
15   appeared before the Honorable Melissa Widdifield. The case was continued to April
16   8, 2011, on DPD1’s motion.
17         80.    Mr. Williams appeared by video on January 13, 2011, when DPD1
18   appeared before the Honorable Samantha Jessner. The case was continued to
19   February 24, 2011.
20         81.    Mr. Williams appeared by video on February 24, 2011, when DPD1
21   appeared before the Honorable Phillip Argento. The case was continued to April 28,
22   2011, on DPD1’s motion.
23         82.    On April 22, 2011, Mr. Williams celebrated his 37th birthday while
24   detained at Coalinga State Hospital.
25         83.    Corey Williams appeared by video on April 28, 2011, when a substitute
26   Los Angeles County Deputy Public Defender appeared for DPD1 before the
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 1   Honorable Carlos Vasquez. The case was continued to June 1, 2011, on the substitute
 2   DPD’s motion.
 3           84.   Mr. Williams appeared by video on June 1, 2011, when DPD1 appeared
 4   before the Honorable Carlos Vasquez. The case was continued to September 14,
 5   2011, for pre-trial.
 6           85.   Mr. Williams appeared by video on September 14, 2011, when DPD1
 7   appeared before the Honorable Elaine Mandel. The case was continued to January 6,
 8   2012.
 9           86.   Corey Williams appeared by video on January 6, 2012, when DPD1
10   appeared before the Honorable Elaine Mandel. The case was continued to April 20,
11   2012.
12           87.   Mr. Williams appeared by video on April 20, 2012, when DPD1
13   appeared before the Honorable Elaine Mandel. The case was continued to August 3,
14   2012.
15           88.   On April 22, 2012, Corey Williams celebrated his 38th birthday while
16   detained at Coalinga State Hospital. Under WIC section 826, subdivision (a),
17   juvenile records, in cases such as Mr. Williams, are automatically destroyed on the
18   juvenile's 38th birthday. (See, WIC § 826, subd. (a).)
19           89.   Mr. Williams appeared by video on August 3, 2012, when DPD1
20   appeared before the Honorable Elaine Mandel. The case was continued to November
21   16, 2012. DPD1 again waived time without a written waiver.
22           90.   On September 5, 2012, Corey Williams wrote a letter to DPD1 that
23   stated, in part, "I want to go to trial before this year or [at] the latest January of next
24   year. I'm tired of waiting."
25           91.   Mr. Williams appeared by video on November 16, 2012, when DPD1
26   appeared before the Honorable Elaine Mandel. The case was continued to February
27   15, 2013, for probable cause setting.
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 1           92.   Mr. Williams appeared by video on February 15, 2013, when DPD1
 2   appeared before the Honorable Elaine Mandel. The case was continued to July 7 -10,
 3   2014, for probable cause hearing.
 4           93.   On April 16, 2013, Corey Williams wrote to DPD1, stating, "Trial. trial.
 5   trial. Hey, my birthday is in six days. I don't want to be here on my next birthday."
 6           94.   On April 22, 2013, Corey Williams celebrated his 39th birthday while
 7   detained at Coalinga State Hospital.
 8           95.   Mr. Williams appeared by video on August 12, 2013, when DPD1
 9   appeared before the Honorable Elaine Mandel. The case was continued to December
10   10, 2013, for status conference - probable cause hearing dates remained set.
11           96.   Mr. Williams appeared by video on December 10, 2013, when DPD1
12   appeared before the Honorable Elaine Mandel. The case was continued to March 18,
13   2014.
14           97.   On February 13, 2014, Mr. Williams wrote to DPD1, stating: "I've been
15   expressing my desire to go trial for several years now, but I guess what I want doesn't
16   matter. You know that I don't know anything about the law and that this... is very
17   confusing to me. You use that against me... This will be my last letter to you....My
18   cooperation with you has ended."
19           98.   On March 18, 2014, at a court hearing before the Honorable Elaine
20   Mandel, a substitute Los Angeles County Deputy Public Defender stood in for DPD1.
21   The probable cause hearing remained set for July 14-17, 2014.
22           99.   Mr. Williams appeared by video on April 8, 2014, when DPD1 appeared
23   before the Honorable Elaine Mandel. The case was continued to May 7, 2014.
24           100. On April 22, 2014, Corey Williams celebrated his 40th birthday while
25   detained at Coalinga State Hospital. This was the sixth birthday Mr. Williams
26   celebrated in the hospital without a trial.
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 1         101. On May 7, 2014, DPD1 was out on medical leave and a substitute Los
 2   Angeles County Deputy Public Defender appeared for her. The Honorable Elaine
 3   Mandel asks, "So how are we six years into this case and we have not had a probable
 4   cause hearing... ?" The case was continued to May 12, 2014.
 5         102. At the May 12, 2014, hearing, DPD1 was again out on medical leave. A
 6   substitute Los Angeles County Deputy Public Defender appeared for DPD1. The
 7   Honorable Elaine Mandel stated, "Mr. Williams's case is very old. The petition was
 8   filed back in 2008. It is 2014. How is it possible that almost six years later [DPD1] is
 9   not going to be ready for a probable cause hearing? I'm sorry. It's more than six years.
10   The petition was filed in January of 2008." At this same hearing, the Deputy District
11   Attorney stated, "Your honor, based on Mr. Williams' request essentially for a
12   speedy trial, we're invoking Litmon. So, I don't want to take the jury dates off, and I
13   ask that they stand." (emphasis added) Mr. Williams stated, "I'm frustrated. Because
14   if I ask for another attorney, then I got to - - date will be put off because new attorney
15   has to come in and get familiar with the case. I'll still get screwed in the long run. I'll
16   go with whatever you guys recommend. I don't know what to do." Corey Williams,
17   at the hearing, put the court and the attorneys, including his own, on notice of the
18   Hobson’s Choice he was facing.
19         103. The court responded by telling Mr. Williams it cannot make
20   recommendations but advised Mr. Williams of his right to make a Marsden motion to
21   determine whether his attorney was representing him effectively.
22         104. For the next four years, Corey Williams was represented by Deputy
23   Public Defender Number 2 (hereafter also “DPD2”). DPD2 represented Williams
24   from June 2014 through October 22, 2018.
25         105. Mr. Williams appeared by video conference on June 6, 2014, and was
26   represented by DPD2. The Honorable Elaine Mandel presided. Good cause for
27   continuance of the probable cause hearing was granted over the Deputy District
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 1   Attorney’s objection because Mr. Williams’ counsel was reassigned. A status
 2   conference was set for August 8, 2014. The probable cause hearing was set for
 3   December 8-10, 2014.
 4           106. DPD2 waived Mr. Williams's appearance on August 8, 2014, and he was
 5   represented by DPD2. Honorable Elaine Mandel presided. A status conference was
 6   set for October 29, 2014. The probable cause hearing remained set for December 8-
 7   10, 2014.
 8           107. Mr. Williams appeared by video conference on October 29, 2014.
 9   DPD2 asked the court to vacate the probable cause hearing dates set for December 8-
10   10, 2014, but the court declined his request.
11           108. Mr. Williams's appearance was waived by DPD2 on November 25,
12   2014, and he was represented by DPD2. The Honorable Elaine Mandel presided. A
13   status conference was set for January 26, 2015. The probable cause hearing was
14   vacated for December 8-10, 2014, and reset for April 17 and 20, 2015, and May 1,
15   2015.
16           109. Mr. Williams appeared by video conference on January 26, 2015, and
17   was represented by DPD2. The Honorable Elaine Mandel presided. A status
18   conference was set for March 13, 2015.
19           110. Corey Williams appeared by video conference on March 13, 2015, and
20   was represented by DPD2. The Honorable James Bianco presided. A status
21   conference was set for April 6, 2015. Dr. Thomas MacSpeiden replaced Dr. Gary
22   Zinik as one of the state’s evaluators, but his report was not ready.
23           111. Mr. Williams appeared by video conference on April 6, 2015 and was
24   represented by DPD2. The Honorable James Bianco presided. DPD2 stated that Dr.
25   MacSpeiden's evaluation was not ready and they needed to vacate the April probable
26   cause hearing dates. The Court asked Mr. Williams if he was okay with postponing
27   the hearing. Mr. Williams responded, "Not really. It's been postponed for eight years
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 1   now." The Honorable James Bianco responded, “I am as frustrated as Mr. Williams
 2   is if his case has been pending for eight years. I mean it is inconceivable to me that
 3   we are in the place that we haven't had a probable cause hearing in eight years."
 4           112. When Judge Bianco asked what the delay was. Mr. Williams responded,
 5   "The other judge, when this was set back in November, she ordered the DA to do his
 6   updates, and [the DDA] failed to do that. And I came to court two other times, and
 7   the judge kept asking [the DDA] what's up with your reports. And I am not trying to
 8   be difficult, your honor, I am just saying this is my life. I have been sitting here for
 9   nine years and for nothing."
10           113. Despite his pleas to the court and at the request of court, Mr. Williams
11   agreed to a further continuance, "I am willing to wait until May 7th to see what is
12   going on, but after that I am not really willing to put off too much time. I am just here
13   putting off time over and over again. We are not going anywhere."
14           114. The Honorable Judge Bianco added, "[I]t's a probable cause hearing. It's
15   supposed to happen within ten days of the filing of the petition and it's been eight
16   years." The court asked Mr. Williams how he felt about an August 2015 probable
17   cause hearing and Mr. Williams responded, "I really don't like it, but I want to be as
18   accommodating as I can as I have been for years. So, if that is what I can get, I will
19   take that for now.”
20           115. On April 22, 2015, Corey Williams celebrated his 41st birthday while
21   detained at Coalinga State Hospital.
22           116. Mr. Williams appeared by video conference on May 8, 2015, and was
23   represented by DPD2. The Honorable James Bianco presided. A status conference
24   was set for July 10, 2015. The probable cause hearing was set for September 1 and 3,
25   2015.
26           117. Mr. Williams appeared by video conference on July 10, 2015, and was
27   represented by DPD2. The Honorable James Bianco presided. A status conference
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 1   was set for August 18, 2015. The parties stipulated to Commissioner Hymowitz
 2   hearing the probable cause hearing. The probable cause hearing remained set for
 3   September 1 and 3, 2015.
 4         118. Mr. Williams appeared by video conference on August 18, 2015 and was
 5   represented by DPD2. The Honorable James Bianco presided. The probable cause
 6   hearing remained set for September 1 and 3, 2015.
 7         119. Corey Williams’ probable cause hearing after more than 7 years of
 8   waiting was held on September 1 and 3, 2015. The court, despite the evaluators’
 9   reports being based on inadmissible hearsay upon hearsay, found probable cause as
10   against Mr. Williams.
11         120. Mr. Williams appeared by video conference on December 10, 2015, and
12   was represented by DPD2. The Honorable James Bianco presided. The matter was
13   continued to May 24, 2016, for pretrial.
14         121. On March 15, 2016, Mr. Williams wrote a letter to DPD2 that stated, in
15   part, “Let's go ahead and move forward from this and proceed to trial. I'm ready to
16   proceed and no more waiting."
17         122. On April 22, 2016, Corey Williams celebrated his 42nd birthday while
18   detained at Coalinga State Hospital.
19         123. Mr. Williams appeared by video conference on May 24, 2016, and was
20   represented by DPD2. The Honorable James Bianco presided. The matter was
21   continued to October 4, 2016, for pretrial conference.
22         124. Mr. Williams appeared via video conference on October 4, 2016, and
23   was represented by DPD2. The Honorable James Bianco presided. The matter was
24   continued to December 8, 2016, for pretrial.
25         125. On October 5, 2016, Mr. Williams wrote a letter to DPD, that states, in
26   part, "Why did you get rid of Judge Bianco? Did you get rid of him because he
27   listened to my complaint against you and he agreed with me that this case has been
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 1   pending too long? ... You didn't even tell me you are going to file a 170.6., or why
 2   you did it in the first place... I've told you that I want to go to trial in our many
 3   conversations and in my letters. You always manipulate me into waiving time, the
 4   time that I have waived has been under duress." Corey Williams, at that time,
 5   informed his attorney that he had not ever given a free, informed and voluntary
 6   waiver of time.
 7         126. On December 8, 2016, Mr. Williams's appearance was waived by the
 8   Public Defender’s Office. A substitute Deputy Public Defender appeared in court for
 9   DPD2 and informed the court of DPD2's desire to put the case over for two months,
10   explaining in complete contradiction to the facts up to that point, "this is not a case
11   that he was in a push to go to trial and I don't believe the client is demanding to go to
12   trial." Again, the Public Defender’s Office waived time over Mr. Williams desires
13   and objections. He had, in fact, on numerous occasions to that date demanded to go to
14   trial. The Honorable James Bianco presided. The matter was continued to February
15   23, 2017, for pretrial conference.
16         127. On February 23, 2017, Mr. Williams appeared by video conference and
17   was represented by DPD2. The Honorable James Bianco presided. The Honorable
18   James Bianco notified the parties he was in receipt of DPD2’s 170.6 affidavit, which
19   was filed without Mr. Williams’ knowledge or consent, and that the matter was set in
20   Dept. 95 for June 20, 2017.
21         128. On February 27, 2017, Corey Williams appeared via video conference
22   and was represented by DPD2. The Honorable Roberto Longoria presided. Mr.
23   Williams filed a Writ of Habeas Corpus, received on December 28, 2016. Without
24   considering the merits of the petition, it was denied. The writ was denied as improper
25   because Williams was represented by DPD2 and the court ruled he was, therefore, not
26   permitted to file a writ of habeas corpus in pro per.
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 1         129. Mr. Williams, thereafter, sought a Writ of Mandate in the Court of
 2   Appeal, which was also denied because denial of a Marsden motion is not an
 3   appealable order. The matter was ordered off calendar.
 4         130. On April 22, 2017, Corey Williams celebrated his 43rd birthday while
 5   detained at Coalinga State Hospital. This birthday represented a decade worth of
 6   birthdays Mr. Williams celebrated in confinement without a trial.
 7         131. On June 20, 2017, Mr. Williams's appearance was waived by DPD2.
 8   DPD2 appeared in court before the Honorable Roborto Longoria and requested a
 9   continuance of the case until September 26, 2017, which was granted without any
10   reason being provided for the need for the continuance, and he represented that he
11   was waiving Mr. Williams's appearance with his permission, which was a false
12   representation to the court.
13         132. On September 26, 2017, Mr. Williams appeared via video conference
14   and was represented by DPD2. The Honorable Roberto Longoria presided. The
15   matter was continued to December 14, 2017, for pretrial conference.
16         133. On December 14, 2017, Williams appeared via video conference and
17   was represented by DPD2. The Honorable Roberto Longorio presided. The matter
18   was continued to April 5, 2017, for pretrial conference.
19         134. On March 19, 2018, Mr. Williams requested that his lawyer, DPD2, be
20   replaced under Marsden and his request was denied. DPD2 appeared before the
21   Honorable Judge Ryan.
22         135. Judge Ryan asked DPD2, "Where are you on this case because it seems
23   to me you have had lots and lots of chances to move this case forward?” DPD2 said
24   that the state would be requesting updates from its evaluators. The requested
25   continuance of DPD2 was granted until June 11, 2018.
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 1         136. On April 22, 2018, Corey Williams celebrated his 44th birthday while
 2   detained at Coalinga State Hospital. At that date, he had celebrated 11 birthdays and
 3   spent more than a decade in confinement without trial.
 4         137. On May 23, 2018, the court updated its records to reflect that the Court
 5   of Appeal had issued its Remitter and dismissed the appeal Mr. Williams had filed
 6   after his habeas petition has been denied in February 2017.
 7         138. On June 11, 2018, Mr. Williams appeared via video conference and was
 8   represented by DPD2. The Honorable William Ryan presided. The matter was
 9   continued to September 24, 2018, for pretrial conference.
10         139. On July 24, 2018, the court noted in its records that a Marsden hearing
11   was continued to August 6, 2018.
12         140. Mr. Williams appeared via video on August 6, 2018, before the
13   Honorable Judge Ryan and sought to discharge his lawyer, DPD2, but his motion was
14   denied. After his request was denied, Judge Ryan asked Mr. Williams, "Do you want
15   to go forward with your trial even though your lawyer hasn't had the expert look at
16   the People's updates? "Williams responded: "Obviously that wouldn't be in my best
17   interest, so, no.' The court's minute order of this date reflects that Mr. Williams wants
18   his speedy trial. Judge Ryan later added, "Probably after you get your evaluation and
19   get the People's experts, I'm not going to entertain motions to continue. This is going
20   to trial sooner rather than later." The matter was continued to September 24, 2018,
21   for pretrial. Mr. Williams again had let the Court know of the Hobson’s Choice he
22   was constantly presented with.
23         141. Mr. Williams appeared via video on September 24, 2018, before the
24   Honorable Judge Ryan. DPD2 notified the court that he was being transferred. Corey
25   Williams made an oral Litmon-Vasquez motion, but the court did not rule on the
26   motion. The matter was continued to December 10, 2018, for pretrial conference.
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 1   Two packages of subpoenaed records were handed to DPD2 and chain of custody
 2   was stipulated to, but authenticity was not.
 3         142. In the handwritten minute order of this date, the court notes that Mr.
 4   Williams wants a motion to dismiss because of the, at that date, 11-year delay in
 5   having his matter heard for trial.
 6         143. Mr. Williams appeared via video on October 1, 2018, before the
 7   Honorable Judge Ryan. Mr. Williams orally moved to present a third Marsden
 8   motion to have the Los Angeles County Public Defender’s Office removed as his
 9   attorneys of record. The court found no conflict.
10         144. Defendant Dan Kuperberg appeared on behalf of the Public Defender's
11   Office to inform the court that the case will be reassigned and no Litmon-Vasquez
12   motion to dismiss will be filed (over Corey Williams’ instructions and wishes). Judge
13   Ryan stated, "This case has been pending for 10 years and 8 months. There have been
14   55 appearances. This is only the second change in public defenders." Defendant Dan
15   Kuperberg responded, "We are not prepared to go to trial. We don't have a lawyer
16   ready to go on this case right now. There is no lawyer to date on this case. It was
17   [DPD2’s] case up until Friday and I will reassign this by the end of the week, but no
18   lawyer is going to be ready to go to trial on this for two to three months. When the
19   court asked Corey Williams for his response, Mr. Williams responded, "I don't want
20   the public defender's office to represent me. I believe there is a conflict."
21         145. Incredibly, the Marsden motion was heard and denied, despite numerous
22   judges questioning the delays in Mr. Williams’ case, despite the fact that the public
23   defender’s office transferred DPD2 and Mr. Williams had no current deputy public
24   defender assigned to his matter, and despite the fact that Defendant Kuperberg
25   represented to the court that no attorney from the public defender’s office, which had
26   been assigned to represent Mr. Williams for 11 years, would be able to take the case
27   to trial for the next 2-3 months, which was no earlier than January 2019.
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 1         146. Mr. Williams also, again, notified the court of his wish to go to trial. The
 2   matter was continued to October 22, 2018, for pretrial conference.
 3         147. Williams appeared by video on October 22, 2018, before the Honorable
 4   Judge Ryan. A supervisory attorney from the Public Defender’s Office, Lara
 5   Kislinger, appeared and notified the court and Corey Williams that DPD3 would be
 6   assigned the case. Mr. Williams appeared via video and made an oral Falsetta
 7   motion to represent himself that was denied because the court stated an SVP
 8   defendant does not have the right to represent himself in an SVP civil proceeding.
 9   Mr. Williams also made another Marsden motion to have the Los Angeles County
10   Public Defender’s Office removed on this date that was denied.
11         148. From December 2018 through November 4, 2019, Williams was
12   represented by DPD3 from the Public Defender's Office. The Honorable William
13   Ryan presided. Mr. Williams appeared via video on December 10, 2018, before
14   Judge Ryan. DPD3 appeared for Corey Williams. Newly assigned DPD3 agreed to a
15   continuance.
16         149. On February 25, 2019, Williams filed a Motion for Replacement of
17   Counsel that states in relevant part, "On many numerous occasions, respondent has
18   tried to persuade his attorneys (Public Defenders) … to move the case forward to
19   trial, refusing any more extensions of time... [E]nough is enough. I am demanding
20   my trial." Mr. Williams alleged that he was receiving ineffective assistance of
21   counsel, his attorneys failed to prepare a defense to the petition and that his counsel
22   failed to obtain expert and lay witnesses. Williams submitted a written Marsden
23   motion that was denied.
24         150. DPD3 was ordered by the court to file a Litmon-Vasquez motion to
25   dismiss on behalf of Mr. Williams. But, in accord with defendants’ long-standing
26   policy and custom wherein its attorneys are not permitted to file writs, appeals or law
27   and motion that would be counter to defendants’ interests, DPD3 told Judge Ryan
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 1   that she could not file said motion to dismiss because it was a “conflict.” Judge Ryan
 2   responded that DPD3 had a “duty to litigate for [her] client.” DPD3 responded, “I do,
 3   but I am restrained.” (emphasis added) Judge Ryan, in recognition of defendants’
 4   policy and custom of not filing writs, appeals and motions that would run counter to
 5   defendants’ interests or put defendants in a negative light, noted “your office policy
 6   can’t override your ethical duty.”
 7         151. After Judge Ryan noted the ethical obligations of the PD’s office to Mr.
 8   Williams, DPD3 presented the request to her supervisors, including Administrative
 9   Defendants, and was told not to file the motion. By that point, Administrative
10   Defendants knew that Judge Ryan’s admonishments about their conflict was accurate
11   and that they were, in fact, in conflict with Mr. Williams and had been in such a
12   conflict with him for at five years, and certainly since the publishing of the opinion in
13   Vazquez. Despite this, Administrative Defendants forbade DPD3 from filing a
14   motion to dismiss under Vasquez, because it would unequivocally establish civil
15   liability against them, the PD’s office and the County of Los Angeles, as well as
16   create a further precedent against them for failing to timely bring another SVP case to
17   trial. Notwithstanding that a motion under Litmon was well overdue, and
18   notwithstanding that the court had ordered that such a motion be filed, Mr. William’s
19   constitutional right to a speedy trial had long been violated by this point.
20         152. The trial date of May 15, 2019, was advanced and vacated.
21         153. On April 22, 2019, Corey Williams celebrated his 45th birthday while
22   detained at Coalinga State Hospital. This marked the 12th birthday he celebrated in
23   confinement without trial.
24         154. On May 13, 2019, Mr. Williams appeared via video and the court and
25   counsel informed Mr. Williams the matter would be continued. Mr. Williams
26   objected to the continuance. The matter was continued on the court's motion to June
27   10, 2019.
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 1           155. On June 10, 2019, Williams appeared via video, and the court granted a
 2   motion prepared by DPD3 for new evaluations. Because the evaluators had relied on
 3   information contained in juvenile court records that had not been obtained using
 4   proper procedures as detailed in WIC Section 827, DPD3 sought to dismiss the
 5   holding order for probable cause based upon legal error by the evaluators for relying
 6   on this information in their reports, evaluations, and in their testimony, which should
 7   have been found to be inadmissible; however, her motion for a new probable cause
 8   hearing was denied. She did not, however, file a Litmon-Vasquez motion to dismiss
 9   as Judge Ryan had requested in February 2019.
10           156. The court granted DPD3's motion to conduct new evaluations. Mr.
11   Williams’ juvenile records were used by state evaluators for their reports finding he
12   met the criteria for an SVP from the Department of State Hospitals even though the
13   procedure set forth in Welfare and Institutions Code Section 827 had not been
14   followed to allow them access to these records. At the June 2019 hearing, the court
15   also ordered new evaluations to be written that did not use records obtained from Mr.
16   Williams' juvenile records unless the juvenile records were first lawfully obtained and
17   disseminated. The case was continued for pretrial conference set for September 9,
18   2019.
19           157. On July 22, 2019, Mr. Williams appeared via video in court and his
20   motion to purge the juvenile records was granted. To make certain that the state
21   evaluators received the message, and everyone understood the court's order, the court
22   conducted a second hearing in July 2019 with legal counsel from the Department of
23   State Hospitals in attendance where the court informs those in attendance: "motion to
24   purge... is granted. DSH to purge from its files as to [Corey Williams’] all juvenile
25   records." The case was continued for pretrial set on September 9, 2019.
26           158. In a June 21, 2019, email exchange with a California Department of
27   State Hospitals SVP analyst, Dr. MacSpeiden, one of the state’s evaluators,
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 1   acknowledged that had he not had Mr. Williams’ juvenile records when he conducted
 2   his evaluations in 2015 and 2018, he would have found that Mr. Williams did not
 3   meet the criteria of an SVP. Indeed, Dr. MacSpeiden opined, “[w]ithout knowledge
 4   of the juvenile records, the trier of fact will wonder why this matter has been brought
 5   into a courtroom.”
 6         159. The Public Defender’s Office was aware of the use of the juvenile
 7   records by the prosecution’s experts since Mr. Williams’ case was first filed. No
 8   effort was made to challenge the use of the records until Mr. Williams began to file
 9   Marden motions.
10         160. Corey Williams sent several letters to DPD3 requesting that she conflict
11   off his case. On July 25, 2019, Mr. Williams wrote, in relevant part, "I intend to move
12   for a hearing to order to address an actual conflict of interest … " On August 14,
13   2019, Mr. Williams wrote to DPD3 and stated, "[a]s you know, Judge Ryan strongly
14   suggested that you prepare a motion to dismiss on my behalf ... you replied, ‘Which
15   would be a conflict.’ I direct your attention to People v. Jones (1991) 53 Cal. 3d
16   1115, 1136-1137." Finally, Mr. Williams sent a letter dated September 10, 2019, that
17   enclosed the Notice of Actual Conflict he had filed in court.
18         161. On September 9, 2019, Williams appeared via video and objected to a
19   continuance requested by counsel to November 4, 2019. Mr. Williams also sent a
20   letter to the court on this date that notified the court that Mr. Williams had sent a
21   letter to DPD3 requesting her to conflict off his case for " unreasonable delays" and
22   that indicated he had notified DPD3 that she had an actual conflict.
23         162. On or about September 13, 2019, Dr. Goldberg, another state evaluator,
24   submitted his updated WIC 6600 evaluation that improperly referred to and relied on
25   four juvenile court records from Los Angeles Superior Court, Case No. PJ04120 in
26   rendering his diagnosis.
27

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 1          163. On November 4, 2019, DPD3 declared a conflict between Mr. Williams
 2   and the entire Los Angeles County Public Defender's Office, and the court appointed
 3   Mark Brandt as counsel.
 4          164. From November 2019 through early 2021, Mr. Brandt filed and won
 5   several motions seeking to have Corey Williams’ juvenile records destroyed as well
 6   as information obtained from those records that were not the records themselves.
 7          165. On or about February 2, 2021, Mr. Brandt filed a Litmon-Vasquez
 8   motion to dismiss the petition filed against Corey Williams as a result of his due
 9   process rights being violated by the Los Angeles County Public Defender’s Office.
10          166. On or about May 11, 2021, the Los Angeles County District Attorney’s
11   filed an “Announcement of Inability to Proceed” with the SVP petition filed against
12   Corey Williams. The Declaration of the deputy public defender stated that the state’s
13   evaluators both filed evaluations that Mr. Williams did not meet the criteria of an
14   SVP.
15          167. On April 22, 2020, and April 22, 2021, Corey Williams celebrated his
16   46th and 47th birthdays, respectively, while detained in Coalinga State Hospital. His
17   SVP petition was never brought to trial and Mr. Williams celebrated a total of 14
18   birthdays in civil confinement…with no trial.
19          168. Defendant Michael Suzuki, currently a Division Chief within the Public
20   Defender's Office and previously the head of the SVP unit from 2009 through 2011,
21   testified in the Darryell Frazier matter’s Litmon/Vasquez proceedings that in 2013,
22   when he was head deputy in the Long Beach branch, he was consulted on staffing
23   reassignments and decreases in the SVP unit that later took place in 2014. He
24   testified that he was asked for his opinion as to whether the SVP unit could absorb a
25   decrease in staff based on two things: the decrease in the filing of new petitions and
26   the progress made on existing petitions. Defendant Suzuki testified that during the
27   recession, the Public Defender's Office had experienced both a hiring and
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 1   promotional freeze and that all divisions, especially the felony trial division, were
 2   significantly understaffed. He stated that it was his opinion, based on his experience
 3   as a previous head deputy of the SVP unit, that the unit could absorb the staffing cuts
 4   so that attorneys could be sent to the felony trial division.
 5         169. In the Rodrigo DeCasas matter, one of the deputy public defenders,
 6   David Santiago (hereafter “Santiago”) testified in Mr. DeCasas’ underlying
 7   Litmon/Vasquez proceedings that there were two staffing cuts in 2014: in June and
 8   September. Over the span of the cuts, Santiago's case load jumped from 8 cases to 14.
 9   Even after Santiago received the redistributed cases due to the 2014 staffing cuts, and
10   until the time Santiago left the unit in 2017, he had absorbed three more cases.
11         170. Another of the deputy public defenders that testified in the DeCasas
12   matter, Craig Osaki, (hereafter, “Osaki”) testified in the underlying Litmon/Vasquez
13   proceedings that in 2014, during his tenure as Deputy-In-Charge of the SVP unit,
14   approximately fifty percent of the SVP unit's staff was cut, prompting Osaki to notify
15   upper management that he felt the cuts would be harmful to the SVP clients, in part
16   because of the volume and complexity of the SVP cases.
17         171. On April 8, 2014, Osaki drafted a memorandum to the Assistant Public
18   Defender, Division Chief, and the Head Deputy of the SVP unit regarding the
19   decision to reduce SVP staffing. Osaki wrote: “At this time, the SVP unit has
20   approximately 170 cases in total. The proposal to reduce the Branch to 10 lawyers
21   would result in approximately a 100% increase in caseloads and the difficult task of
22   reassigning roughly 85 indeterminate cases. On average, an individual case may have
23   five banker’s boxes worth of materials. If eight to nine cases are on average
24   reassigned, the new lawyer will have to process 40 to 50 boxes worth of material.
25   Based on my experience in handling SVP cases, I believe the workload that is
26   expected to be taken on by the 10 lawyers to be concerning. The lawyer will
27   obviously be less efficient in handling their cases but most importantly the
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 1   competency of their practice may be challenged. In other words, no lawyer can be
 2   competent with such an added workload in such a short period of time.”
 3         172. In his memorandum, Osaki went on to describe to his superiors the
 4   complexities of the SVP practice and how SVP cases differ from criminal cases:
 5         “First, unlike a criminal case, we do not decrease our caseloads upon
 6         completing a trial (unless we win). In SVP, we have a continuing
 7         obligation to represent the client even after we lose at trial. After we lose
 8         a trial, in a year the burden shifts to the client to prove by a preponderance
 9         of the evidence that he is no longer an SVP. Second, unlike a criminal
10         case where one is litigating an incident(s) fixed in time, in SVP, the lawyer
11         must stay abreast of the ever-changing nature of the law, the science of
12         diagnosis and the science of risk assessment. In addition, since the focus
13         of the inquiry in SVP cases is whether the individual client is currently an
14         SVP, the lawyer must constantly reassess their cases in light of new
15         science, age, additional treatment, release plans, etc. Third, the lawyer
16         must be adept in not only criminal law issues, but also be adept in SVP
17         law, some juvenile law, some administrative law and the Code of Civil
18         Procedure. Finally, the SVP practice has changed dramatically since
19         2010. The number of scientific journal articles has increased dramatically
20         in recent years. These journal articles cause lawyers to reassess their cases.
21         Recent case law affecting the practice has also caused attorneys to reassess
22         their cases. Most importantly, when our Branch expanded to twenty
23         lawyers, the vast majority of our cases were 2- year cases. Now the vast
24         majority of our cases are indeterminate and obviously more likely to draw
25         appellate review.”
26         Osaki concluded his memorandum with three proposals to reduce staffing more
27   gradually.
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 1         173. At the same time, the attorneys in the SVP unit had expressed to Osaki
 2   feeling overwhelmed by the effects of the staffing cuts. Osaki testified that after he
 3   drafted his April 8, 2014, memorandum to upper management, the unit held a staff
 4   meeting at which Osaki informed the SVP attorneys of his memorandum and that it
 5   had gone unanswered by upper management of the Public Defender’s Office. Osaki
 6   recalled that the staff attorneys then conducted an impromptu meeting themselves to
 7   consider drafting a letter to the SVP management, and they instructed Osaki and the
 8   unit's head deputy not to attend "because they wanted this letter to be from them and
 9   not us." The letter drafted by the attorneys of the SVP unit and sent to Defendant
10   Public Defender Ronald L. Brown on April 24, 2014, addressed the staff reduction in
11   the unit. The letter reiterated the same complexities of SVP law and analogized SVP
12   law to capital litigation, stating: "The measure of our productivity cannot be judged
13   by looking at the numbers of filings and trials. Akin to capital litigation, we win when
14   we avoid trial." The attorneys asked that the Public Defender reconsider his decision
15   to reduce the staff of the unit. Osaki did not see the April 24, 2014, attorneys' letter
16   until after it was drafted and sent to the Public Defender, Defendant Ronald Brown.
17         174. Santiago also testified that he was one of at least 10 other deputy public
18   defenders who drafted the April 24, 2014, letter to the Public Defender, Defendant
19   Ronald Brown, which was hand-delivered to defendant Brown's office by a fellow
20   deputy. That deputy received a voicemail from defendant Ronald Brown, which was
21   played on speakerphone for other deputies to hear, in which he acknowledged receipt
22   of the letter and that he was going forward with the staffing cuts, but he would
23   perhaps readdress the second round of cuts that fall. He did not.
24         175. Defendant Suzuki testified that it was his understanding that in 2014, the
25   unit had 20 attorneys and 120 pending cases, and that the staffing decrease to 15 or
26   10 attorneys still would allow the unit to adequately represent those 120 clients. Mr.
27   Suzuki was present during informal discussions with other division chiefs, including
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 1   the SVP unit supervisor, where Osaki’s concerns following the staffing cuts were
 2   addressed, which resulted in another reassessment of the SVP case load. As a result
 3   of that assessment following the staffing cuts, the office concluded "that the workload
 4   was reasonable." It was not. The SVP caseload was overwhelming the SVP unit
 5   attorneys and cases such as Mr. Williams case continued to linger without meaningful
 6   attention and with no hope of being brought trial within a reasonable time.
 7         176. Santiago testified that in 2014, it was a well-known fact in the
 8   courthouse that staffing cuts were ongoing and that "the Public Defenders were
 9   delaying their cases, trying to keep up." Santiago was present at various
10   conversations with Judge Elaine Mandel, Judge James Bianco, and the Public
11   Defender's Office, where the office informed the court of the problems with caseloads
12   and staffing, and that the understaffing was creating great delays in the processing of
13   the SVP cases.
14         177. On August 21, 2014, Osaki drafted a second memorandum to the
15   Division Chief and the Head Deputy assessing the impact of the first SVP staff
16   reduction. In a section of that memorandum, Osaki offered an example to upper
17   management where an attorney's case load increasing from nine cases to ten cases
18   disproportionately increases the attorney's workload in order to exemplify for upper
19   management that trial statistics alone were insufficient to determine whether their
20   clients were effectively being represented. In the August 2014 memorandum, Osaki
21   wrote that the staffing cuts had placed the SVP branch in an untenable situation of
22   being ineffective and that further cuts could lead to civil liability. He noted that he
23   feared that these cuts had purposefully implicated the SVP clients’ federal
24   constitutional right to counsel.
25         178. After the first round of staffing cuts and in anticipation of the second
26   round, the attorneys of the SVP unit wrote a letter, dated September 4, 2014, to the
27   Los Angeles County Board of Supervisors to express their concern about the
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 1   “improvident management decisions made by Mr. Brown and his close advisors.”
 2   The SVP attorneys noted that they were writing to the Board of Supervisors because
 3   their concerns to Ronald Brown and the executive management had fallen on deaf
 4   ears to the detriment of their clients and the County.
 5         179. On September 24, 2014, the attorneys also wrote to the State Bar of
 6   California with a complaint against both the Public Defender and the Assistant Public
 7   Defender for "jeopardizing the representation of [their] clients in the Public
 8   Defender's Office and placing the lawyers in the untenable position of either being
 9   IAC [ineffective assistance of counsel] or effectively abandoning their clients."
10         180. After Osaki's two memoranda were forwarded to upper management in
11   April and August of 2014, staffing cuts continued in the SVP unit. Santiago testified
12   that he felt he had no choice but to "go straight to the top" with the unit's concerns
13   with the staff cuts.
14         181. Santiago testified during both Mr. DeCasas’ underlying Litmon/Vasquez
15   proceedings and Mr. Frazier’s Litmon/Vasquez proceedings that he was also involved
16   in drafting letters to the Board of Supervisors and to the State Bar of California.
17         182. Santiago also testified that he was concerned for his position in the PD’s
18   office because he had been retaliated against in the past for speaking out against the
19   staff cuts. Osaki and another deputy public defender also testified that they were
20   retaliated against for speaking out against the staffing cuts.
21         183. A deputy public defender in the Frazier matter testified in the underlying
22   Litmon/Vasquez proceedings for that matter that the receipt of additional cases due to
23   the staff cuts interfered with her ability to prepare Mr. Frazier’s case for trial, as well
24   as her other clients, and also that it had an effect on the other attorneys in the SVP
25   Unit and their ability to adequately represent their clients.
26         184. In February 2015, Santiago attended a live question-and-answer session
27   with Defendant Ronald Brown. A microphone was passed around for direct
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 1   questions and anonymous questions were drawn from a hat due to the atmosphere of
 2   fear, Santiago testified. A number of senior management members of the Public
 3   Defender's Office, including Defendants Kelly Emling, Laura Green, Michael Suzuki,
 4   Jenny Brown, Daniel Kuperberg and Ruben Marquez were also present. Santiago
 5   stood up and asked Defendant Ronald Brown about how the staffing cuts were
 6   affecting his clients. Santiago described Defendant Ronald Brown's response as
 7   defensive and flippant: "He joked that our caseloads were doubled from one to two
 8   which was patently false. He disagreed with my assessment of the fiscal impact of his
 9   decision to make cuts. He described our caseloads as artificially low which also
10   seemed to indicate that he had no idea what he was talking about. And I think he
11   started to grow frustrated and angry because that was the last question that he
12   answered that day."
13         185. In sum, from the filing of the Petition in 2008 through Appointed
14   Counsel’s announcement of his intention to file a Motion to Dismiss in 2019, Mr.
15   Williams never once personally waived his right to a speedy trial, other than when his
16   attorneys and/or a judge requested Mr. Williams do so because his public defender
17   attorney stated he or she was not prepared to go to trial on Mr. Williams’ case. As
18   stated above, Mr. Williams was presented with the proverbial Hobson’s Choice of
19   having unprepared counsel represent him or waiving time. After the first round of
20   staffing cuts within the SVP unit, Mr. Williams’s case was set for trial only once and
21   that was continued as a result of the transfer of his public defender attorney.
22                                               E.
23           Special allegations regarding the Board of Supervisor Defendants.
24         186. Defendants Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl
25   (hereafter “BOS Defendants”) are sued herein as members of the Los Angeles County
26   Board of Supervisors and as administrators, managers and supervisors of the Los
27   Angeles County Public Defender’s Office. At all times relevant hereto, and
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 1   beginning on or about March 2014, these defendants individually received letters and
 2   memoranda from Craig Osaki, an attorney from the SVP Unit of the PD’s Office, and
 3   at least three letters from groups of attorneys from the SVP Unit which informed each
 4   of these defendants of the SVP Unit’s inability to competently process and manage
 5   the SVP cases in the unit, including Mr. Williams’s case. These letters and
 6   memoranda were addressed separately to each of the BOS Defendants and were
 7   hand-delivered to their offices. These memoranda and letters also informed these
 8   defendants that the inability to competently manage the SVP cases was causing
 9         187. The Los Angeles County Public Defender’s Office is a Department of
10   Los Angeles County. See, List of Los Angeles County Departments
11   https://www.lacounty.gov/government/departments-commissions-related-
12   agencies/county-departments-and-principal-administration/.
13         188.   The Public Defender is appointed by the Los Angeles County Board of
14   Supervisors and reports directly to the Board of Supervisors. See, Los Angeles
15   County Charter, Article IV, Section 14.
16         189. The Board of Supervisors fulfills the executive, legislative and quasi-
17   judicial powers in Los Angeles County government. In its executive capacity, the
18   supervisors are required to administer and supervise all government services,
19   including the activities of the Public Defender’s Office and its administrators. See,
20   Id., Responsibilities of the Board of Supervisors at:
21   http://file.lacounty.gov/SDSInter/lac/1031549_BoardResponsibilities.pdf.
22         190. At all times relevant hereto, the BOS Defendants were members of the
23   Los Angeles County Board of Supervisors with direct oversight and supervisory
24   duties over Law Offices of the Los Angeles County Public Defender.
25         191. The BOS Defendants were regularly made aware of the great delays in
26   the processing of the SVP cases, including Mr. Williams case. This notification came
27

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 1   by way of the regular meetings that they had with the administrators of the PD’s
 2   Office and its SVP unit.
 3           192. Defendants Ronald Brown, Jenny Brown, Kelly Emling, Laura Green,
 4   Michael Suzuki, Daniel Kuperberg, and Ruben Marquez also individually met
 5   monthly, and often times more regularly, with defendants Mark Ridley-Thomas,
 6   Hilda Solis and Sheila Kuehl to discuss and carry out the operation and management

 7   of the PD’s Office. These meetings included discussions the PD’s office’s SVP Unit,
     its case load, individual cases handled by said unit - including Mr. Williams’s case,
 8
     the backlog of work in the SVP unit, the understaffing of that unit, and the extended
 9
     time periods that SVP Unit clients were being detained as the awaited trial.
10
     Defendant Ronald Brown regularly provided defendants Mark Ridley-Thomas, Hilda
11
     Solis and Sheila Kuehl with memoranda, emails, reports, minutes of expanded
12
     meetings, case summaries, case management statistics and other written
13
     correspondence and documents regarding the management and operation of the SVP
14
     Unit.
15
             193. Defendants Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl
16
     oversaw, monitored and/or managed defendant The Law Offices of the Los Angeles
17
     County Public Defender. In carrying out their oversight of said office, they had the
18
     authority to order or otherwise compel defendant The Office of the Public Defender
19
     and defendants Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael
20
     Suzuki, Daniel Kuperberg and Ruben Marquez to “declare unavailability” in specific
21
     SVP cases. The PD’s office often declared “unavailability” in non-SVP cases with
22
     the consent of Hilda Solis.
23
             194. These regular meetings included discussions of the SVP Unit, its case
24
     load, individual cases handled by said unit - including Mr. Williams’s case, the
25
     backlog of work in the unit, the understaffing of that unit, and the extended time
26
     periods that SVP Unit clients were being detained. The BOS defendants individually
27
     requested and received regular memoranda, emails, reports, budget requests, and
28

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 1   other written correspondence and documents from defendants Ronald Brown, Kelly
 2   Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg and Ruben
 3   Marquez and other members of the Public Defender’s Office regarding the
 4   management and operation of the SVP Unit, including the status of the civil detention
 5   proceedings of Mr. Williams. The BOS defendants had specific knowledge regarding
 6   Plaintiff’s civil detention proceedings and, as spelled out herein below, was
 7   deliberately indifferent to the violation of Mr. Williams’s civil rights. As such, the
 8   BOS defendants were aware of the present plaintiff’s SVP case, the long delay in
 9   getting his case to trial, and the unconstitutional customs and practices which caused
10   the delays in getting Plaintiff’s case to trial and the violation of his civil rights.
11          195. The BOS Defendants also each received written letters, memoranda,
12   emails and other correspondence from the administrators of the Public Defender’s
13   office and from the attorneys in the SVP Unit informing them:
14          a.     of the great delays in the processing of the SVP cases, including the
15                 great delay in the processing of Mr. Williams’s case;
16          b.     of the violation of the speeding trial rights and due process rights of the
17                 SVP clients, including Mr. Williams;
18          c.     that Mr. Williams was being ineffectively represented and that, as a
19                 result, the SVP attorneys were at risk of being sanctioned by the state
20                 bar; and,
21          d.     that continued violation of Mr. Williams’s constitutional rights to
22                 counsel and due process were creating great civil liability for the County
23                 of Los Angeles and the BOS defendants.
24          196. Despite actual notice of the ongoing and persistent violation of the civil
25   rights of the SVP clients, the BOS Defendants took no meaningful steps, measures or
26   actions during their tenure as members of the Los Angeles County Board of
27

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 1   Supervisors to address these constitutional violations, including the ongoing
 2   violations of Mr. Williams’s constitutional rights.
 3         197. Each of the BOS defendants, as a supervisor with direct authority over
 4   The Law Offices of the Los Angeles County Public Defender, had the authority to
 5   order Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael Suzuki,
 6   Daniel Kuperberg and Ruben Marquez to take specific actions regarding the
 7   management of Mr. Williams’s case.
 8         198. Although they had the authority to do the following so as to prevent the
 9   violation of Mr. Williams’s civil rights, BOS Defendants failed to do the following
10   during the 13 years of Mr. Williams’s detention:
11         a.     Order that the Public Defender attorneys prepare his case, request a trial,
12                and proceed promptly to trial;
13         b.     Order that his case be given priority for trial over those of other SVP
14                detainees who had been waiting for trial for significantly shorter time
15                periods,
16         c.     Order that his case be transferred to appointed counsel for handling and
17                trial;
18         d.     Order that a conflict be declared so as to have the case transferred to
19                conflict counsel to proceed with Mr. Williams’s case;
20         e.     Adhere to the State Bar guidelines for the provision of indigent legal
21                defense services, specifically failing to monitor the caseloads of the
22                Public Defender attorneys that were representing Mr. Williams; and,
23         f.     Implement internal measures in the SVP Unit to ensure that Mr.
24                Williams get to trial promptly.
25   ///
26   ///
27   ///
28

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 1                                           F.
 2
                    Special Allegations Regarding Notice of Constitutional

 3                  Violations to Defendants Ronald Brown, Jenny Brown,

 4                    Kelly Emling, Laura Green, Michael Suzuki, Daniel

 5                  Kuperberg, and Ruben Marquez and BOS Defendants

 6
           199. In early 2014, despite having a monumental backlog of SVP cases,
 7
     despite the SVP unit’s inability to bring many cases to trial on an annual basis,
 8
     despite the SVP unit’s attorneys having an insurmountable workload, and despite
 9
     having the majority of their SVP cases having an average age of seven to ten years,
10
     defendants Ronald Brown, Jenny Brown, Kelly Emling, Laura Green, Michael
11
     Suzuki, Daniel Kuperberg, and Ruben Marquez decided to cut the size of the SVP
12
     unit by 50 percent. They knew that by doing so the delays in getting the SVP cases to
13
     trial would be exacerbated. Once they presented their proposal to the SVP attorneys
14
     at various meetings in March and April of 2014, the SVP attorneys strongly voiced
15
     their opposition and emphasized to said defendants that their workload would become
16
     so oppressive that they would not be able to competently represent their SVP clients,
17
     that their SVP clients’ constitutional rights would be violated, that they would
18
     become subject to claims of ineffective assistance of counsel and that they would be
19
     at risk of being disciplined by the state bar.
20
           200.    The SVP attorneys wrote memoranda and letters to defendants Ronald
21
     Brown, Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel
22
     Kuperberg, and Ruben Marquez during March, April and August of 2014 and in Auto
23
     memorialize the above concerns officially. Said defendants read the letters and
24
     memoranda, acknowledged the concerns, but refused to take the concerns into
25
     account and went ahead with the staff reductions.
26
           201. Despite their fear for retaliation, the SVP attorneys wrote to their
27
     supervisors and candidly expressed their concerns and gave concrete examples of the
28

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 1   impact that the staff reductions would have on their already overburdened ability to
 2   represent their SVP clients. For example, the supervising attorney for the SVP unit
 3   wrote the following to these defendants in his letter of April 8, 2014:
 4         “At this time, the SVP unit has approximately 170 cases in total. The
 5         proposal to reduce the Branch to 10 lawyers would result in approximately
 6         a 100% increase in caseloads and the difficult task of reassigning roughly
 7         85 indeterminate cases. On average, an individual case may have five
 8         banker boxes work of materials. If 8-9 cases are on average reassigned,
 9         the new lawyer will have to process 40-50 boxes worth of material. Based
10         on my experience in handling SVP cases, I believe the workload that is
11         expected to be taken on by the 10 lawyers to be concerning. The lawyer
12         will obviously be less efficient in handling their cases but most
13         importantly the competency of their practice may be challenged. In other
14         words, no lawyer can be competent with such an added workload I such a
15         short period of time.”
16         202. The letter was accompanied by a proposal to reduce staffing more
17   gradually so as to permit the SVP attorneys to competently handle the volume of
18   cases. The concerns and the proposal were ignored and rejected by Defendants
19   Ronald Brown, Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel
20   Kuperberg, and Ruben Marquez.
21         203. In a subsequent letter, the supervising attorney of the SVP unit wrote in
22   an August 21, 2014, memorandum that staffing cuts “have placed the SVP branch in
23   an untenable situation of being ineffective and further cuts could lead to liability,”
24   purposefully implicating the federal constitutional rights to counsel.
25         204. In September of 2014 and in June of 2015, the SVP attorneys wrote
26   similar letters and memoranda to the BOS defendants. The letters and memoranda
27   were sent anonymously for fear of retaliation. The letters and memoranda were hand-
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 1   delivered to the respective offices of each BOS defendant. Each of the BOS
 2   defendants read these letters and memoranda and discussed them with Defendants
 3   Ronald Brown, Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel
 4   Kuperberg, and Ruben Marquez. The concerns expressed in the letters and
 5   memoranda were acknowledged by Defendants Ronald Brown, Jenny Brown, Kelly
 6   Emling, Laura Green, Michael Suzuki, Daniel Kuperberg, and Ruben Marquez and
 7   the concerns and concrete examples of the likely results of the staff cuts were ignored
 8   and rejected by the BOS defendants without meaningful inquiry or investigation. The
 9   staff cuts were agreed to by the BOS defendants and Defendants Ronald Brown,
10   Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel Kuperberg, and
11   Ruben Marquez.
12          205. Once the staff reductions were implemented, Defendants Ronald Brown,
13   Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel Kuperberg, and
14   Ruben Marquez met in February of 2015 with the SVP attorneys to evaluate the
15   impact of the staff reductions. These defendants were directly informed by the staff
16   attorneys of the great backlog of cases, the burden of the overwhelming work related
17   to the cases, and of the staff’s inability to bring cases to trial. They were told that the
18   staff was essentially just continuing cases in an effort to catch up. One staff attorney
19   asked Ronald Brown if he had any idea how serious the impact of the staff reductions
20   was. Ronald Brown mocked the question and joked that the caseloads were
21   artificially low.
22          206. As for Mr. Williams, after the staff cuts were implemented, there were
23   approximately 25 continuances of his case between 2015 and 2019. Neither before
24   nor after the staff cuts did Mr. Williams ever once waive his right to a speedy trial.
25          207. The staff attorneys also wrote to the state bar and accused Ronald Brown
26   of repeatedly violating rule 3-110(A) of the Rules of Professional Conduct by failing
27   to ensure that the lawyers have appropriate resources so that they would be able to
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 1   competently represent their clients. This rule provided that “a member shall not
 2   intentionally, recklessly, or repeatedly fail to perform legal services with
 3   competence.”
 4                                               G.
 5             Special Allegations Regarding Concealment of Conflict of Interest
 6          208. On November 4, 2019, eleven (11) months after DPD3 was assigned to
 7   Mr. Williams’s case, DPD3 declared a conflict of interest.
 8          209. By that point, however, the conflict of interest had existed for at least 11
 9   years and it was deliberately concealed from Mr. Williams.
10          210. The conflict of interest was created by the great delay in bringing his
11   case to trial. Due to this great delay, Mr. Williams was entitled to raise the delay, and
12   resulting denial of his due process and speedy trial rights through a motion under
13   People v. Litmon (2004) 123 Cal. App. 4, 1156 (Litmon I) and People v Litmon,
14   (2008) 162 Cal. App. 4th 383 (Litmon II). Under Litmon, Mr. Williams motion could
15   have been brought successfully by 2009 – he had been in custody then for more than
16   a year.
17          211. The PD’s Office could not raise the Litmon issue on Mr. Williams’s
18   behalf, however, because the lawyers and administrators from that office were the
19   cause of the delay. As such, by 2019, when the PD’s Office finally declared a
20   conflict of interest, that office had been in a factual, ethical and constitutional conflict
21   of interest for at least 11 years.
22          212. Instead, during the majority of the time that the PD’s Office represented
23   Mr. Williams, the administrators from the PD’s Office, defendants Ronald Brown,
24   Kelly Emling, Michael Suzuki, Jenny Brown, Laura Green, Daniel Kuperberg and
25   Ruben Marquez, deliberately concealed from Mr. Williams that he had the right to
26   raise the Litmon issue against them.
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 1         213. As early as 2014, each one of these defendants discussed this conflict of
 2   interest with Mark Ridley-Thomas, with Hilda Solis and with Sheila Khuel separately
 3   and informed them that a failure to declare the conflict of interest would result in civil
 4   liability. All of these defendants agreed amongst themselves that they would not
 5   raise the Litmon conflict of interest with the clients or with the court and that they
 6   would not “declare unavailability” with the court so as to avoid being replaced as
 7   attorney for Mr. Williams. By doing so, they agreed that they would be able to
 8   conceal the conflict of interest and avoid civil liability. This included an agreement
 9   amongst themselves that they would strenuously fight any effort to remove the PD’s
10   Office as counsel for their SVP clients through Marsden motions.
11         214. As agreed, for example, they fought Marsden motions in People v.
12   Rodrigo DeCasas and in People v. Darryell Frazier. In the present matter, even
13   when urged by the court to file a Litmon motion, counsel for Mr. Williams – DPD3 –
14   indicated she was “restrained.”
15         215. The defendants’ plan was foiled and frustrated in April of 2015 when
16   SVP clients Gaspar Zavala convinced the trial court in his cases to dismiss the PD’s
17   Office as his counsel and to appoint private counsel to represent him. New counsel
18   was appointed, and a Litmon motion was promptly filed which resulted in the
19   dismissal of Mr. Zavala’s case under Litmon. Likewise, on December 22, 2016,
20   another SVP client from the PD’s Office, George Vasquez, was granted Marsden
21   relief. Shortly thereafter, a Litmon motion was filed for Mr. Vasquez and his case
22   was also dismissed. Defendant County of Los Angeles, however, appealed the
23   dismissal of the Vasquez case. The Court of Appeal of the State of California
24   affirmed the dismissal and published its landmark case, People v. Superior Court
25   (Vasquez), (2018) 27 Cal. App. 5th 36, which found that the breakdown of the Los
26   Angeles County public defender system was the cause of the denial of Mr. Vasquez’s
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 1   due process and speedy trial rights. Id at 74. 3 As noted above, another SVP client
 2   from the PD’s Office, Rodrigo DeCasas, filed a Litmon/Vasquez motion following the
 3   Public Defender’s Office declaring a conflict. His case was also dismissed and was
 4   subsequently appealed. The Court of Appeal of the State of California, however,
 5   affirmed the dismissal and published the case, finding that Mr. DeCasas’s due process
 6   and speedy trial rights were violated because of the breakdown of the Los Angeles
 7   County public defender system.
 8

 9                                                H.
10                   Special Allegations regarding Defendant Ricardo Garcia
11         216. Ricardo Garcia was appointed public defender of the County of Los
12   Angeles in October 2018. As noted above, during the appointment process, he
13   learned that one of the most pressing issues at the Public Defender’s Office was its
14   inability to get a large number of SVP cases to trial. Before being appointed, he
15   learned through personal research and conversations with persons within the PD’s
16   office that two significant cases had already been dismissed and the PD’s office had
17   been found to have violated the clients’ due process and speedy trial rights because of
18   various systemic failures in the SVP unit.
19         217.   Upon his appointment as the Public Defender, Ricardo Garcia inquired
20   about the SVP Unit and the delays in getting clients to trial. He was informed that:
21         a.     there were nearly 200 SVP cases which were older than five years, and
22         that there were a large number of SVP cases which were older than 10 years,
23

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26   3
      The Court in DeCasas echoed the Vasquez findings and also found that Mr.
27   DeCasas’s due process and speedy trial rights were violated because of the
     breakdown of the Los Angeles County public defender system. People v. DeCasas,
28   2020 Cal. App. LEXIS 879, 43-44.
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 1          b.     the primary cause of the delay in getting the cases to trial was the serial
 2          substitution of attorneys which was caused by an excessive number of cases
 3          being assigned to the SVP unit attorneys,
 4          c.     that the delay in getting these cases to trial was violating the
 5          constitutional rights of their SVP clients,
 6          d.     that the delays and the resulting constitutional violations were creating a
 7          large civil liability for the PD’s office, it’s administrators and the County of
 8          Los Angeles,
 9          e.     that under People v. Litmon (2004) 123 Cal. App. 4, 1156 (Litmon I) and
10          People v Litmon, (2008) 162 Cal. App. 4th 383 (Litmon II), the PD’s office was
11          in a conflict with each of the various SVP clients whose cases were older than
12          three years and had not been brought to trial because of the delays occasioned
13          by the inability of the PD’s office to get them to trial, and,
14          d.     that Mr. Williams had repeatedly demanded a trial and that he had filed
15          various Marsden motions asking the PD’s office to be relieved as counsel.
16          218. Shortly before his appointment, the decision in People v. Superior Court
17   (Vasquez), (2018) 27 Cal.App.5th 36 was published. The opinion was critical of the
18   Public Defender’s failure to get the SVP cases to trial.
19          219. Thereafter, he learned of the federal civil action against the PD’s office
20   brought by former SVP client Gaspar Zavala in August 2018 which alleged the
21   various deficiencies, systemic failings and unconstitutional practices which Ricardo
22   Garcia had earlier been apprised of as being the cause of the delays in getting SVP
23   cases to trial.
24          220. Ricardo Garcia inquired as to the status of Mr. Williams’ case and was
25   informed that the PD’s office was in conflict with Mr. Williams because of the great
26   delay in getting his case to trial. Ricardo Garcia and the other Administrator
27   Defendants devised a plan to conceal their conflict of interest under Litmon and
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 1   Vasquez, to conceal the violation of Mr. Williams’ constitutional right to a speedy
 2   trial and to avoid civil liability. The replaced DPD2 with DPD3, a senior SVP
 3   attorney, and instructed her to push the case to trial. When DPD3 took over Mr.
 4   Williams’ case, she learned that the PD’s Office had improperly allowed the
 5   prosecution to use Mr. Williams’ juvenile records in the SVP proceedings. She
 6   informed Ricardo Garcia and the other Administrator Defendants about this
 7   inexcusable failing and that had they objected to the use of the juvenile records
 8   initially at the probable cause hearing the SVP proceedings against Mr. Williams
 9   would have been dismissed.
10         221.   DPD3 also informed Ricardo Garcia and the other Administrator
11   Defendants that absent the use of the juvenile records by the prosecution experts at
12   that point, Mr. Williams would not be in SVP proceedings.
13         222.   Mr. Williams continued to complain to the court about the failure to
14   move his case and to get it to trial and he continued to file motions to have the PD’s
15   office removed. DPD3 was instructed by Ricardo Garcia and the other Administrator
16   Defendants to challenge the Marsden motions and to reassure the court that the PD’s
17   Office was moving things along.
18         223. In late 2018 and early 2019, DPD3 discussed with Ricardo Garcia and
19   the other Administrator Defendants that she believed that the PD’s Office was in
20   conflict with Mr. Williams. She explained that she under Litmon and Vasquez, Mr.
21   Williams had a viable motion to dismiss which would likely be granted if the motion
22   were made. She was instructed by Ricardo Garcia and the other Administrator
23   Defendants to refrain from filing a Litmon/Vasquez motion, specifically telling her
24   not to file a Litmon/Vasquez motion.
25         224. Ultimately, these reassurances DPD3 made to the court fell upon deaf
26   ears and the court on February 25, 2019, during the proceedings related to a Motion
27   for Replacement of Counsel filed by Mr. Williams, DPD3 was ordered by the court to
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 1   file a Litmon-Vasquez motion to dismiss the SVP proceedings against Mr. Williams
 2   based on delay in getting the case to trial. DPD3 responded to the court that she
 3   could not file said motion to dismiss because it would be a conflict for her to accuse
 4   her own colleagues at the PD’s office and PD’s office of unconstitutional delay. The
 5   court admonished DPD3 that she had a “duty to litigate for [her] client.” DPD3
 6   acknowledged the court’s conclusion regarding her duty to Mr. Williams and
 7   responded that her office would not allow her to file such a motion. DPD3 responded,
 8   “I do, but I am restrained.” The court reminded DPD3 that her office’s policies could
 9   not override her ethical duties to Mr. Williams.
10            225. DPD3 reported to Ricardo Garcia and the other Administrator
11   Defendants the court’s insistence that she file a Litmon/Vasquez motion. Ricardo
12   Garcia and the other Administrator Defendants urged DPD3 to continue to delay the
13   case and to, instead, file a motion to have preclude the use of Mr. Williams’ juvenile
14   records and to have new evaluations ordered. DPD3 told Ricardo Garcia and the
15   other Administrator Defendants that this would cause further delay, that such a
16   motion would bring to light the PD’s prior failure to raise this issue in a timely
17   fashion, that she, the PD’s office and the Administrator Defendants were in conflict
18   with Mr. Williams and that a Litmon/Vasquez motion to dismiss for delay was
19   necessary at that point – especially given the court’s insistence that such a motion be
20   filed.
21            226. Ricardo Garcia and the other Administrator Defendants continued to
22   monitor Mr. William’s case and received regular written, telephone and in-person
23   reports from DPD3. The law-and-motion proceedings to have Mr. Williams’ juvenile
24   records expunged and to have new evaluations performed resulted in significant
25   disclosures which revealed that had the use of the juvenile records been challenged in
26   a timely fashion, the SVP proceedings against Mr. Williams would have been
27   dismissed as early as the initial probable cause proceedings. Ultimately, DPD3
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 1   continued to raise the issue of the clear and apparent conflict of interest that she, her
 2   office and the Administrator Defendants had with Mr. Williams. As the proceedings
 3   to challenge the use of the juvenile records continued forward, Ricardo Garcia and
 4   the other Administrator Defendants concluded that they could no longer delay Mr.
 5   Williams’ case because of the clear and apparent conflict, and they ordered DPD3 to
 6   declare the conflict that she had informed them of in late 2018.
 7           227. In November of 2019, DPD3 declared a conflict and private counsel was
 8   appointed for Mr. Williams. By that time, Ricardo Garcia had overseen the defense
 9   of Mr. Williams case for approximately 13 months. His failure to declare a conflict
10   in Mr. Williams’ case, his failure to declare his office unavailable in Mr. Williams’
11   case, and his attempts to conceal the failings of the PD’s Office by instructing DPD3
12   to refrain from declaring a conflict and to refrain from filing a Litmon/Vasquez
13   motion caused Mr. Williams to be detained wrongfully and unconstitutionally for one
14   year.
15                                                  VI.
16                               FIRST CLAIM FOR RELIEF
17           DELIBERATE INDIFFERENCE CAUSING VIOLATION OF
18           CONSTITUTIONAL RIGHTS, AS TO DEFENDANTS RICARDO
19           GARCIA, RONALD BROWN, JENNY BROWN, KELLY
20           EMLING, LAURA GREEN, MICHAEL SUZUKI, DANIEL
21           KUPERBERG, RUBEN MARQUEZ, MARK RIDLEY-THOMAS,
22           HILDA SOLIS, SHEILA KUEHL AND DOES 1 THROUGH 10
23           228. Plaintiff Corey Williams repeats and realleges each and every allegation
24   above as though fully set forth herein.
25           229. This action is brought pursuant to 42 U.S.C. §1983 for violation of Mr.
26   Williams’s rights under Sixth Amendment and Fourteenth Amendment of the U.S.
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 1   Constitution to a speedy trial, to counsel, and to due process and substantive due
 2   process.
 3         230. Defendants Ricardo Garcia, Ronald Brown, Kelly Emling, Laura Green,
 4   Jenny Brown, Michael Suzuki, Daniel Kuperberg and Ruben Marquez, BOS
 5   Defendants and DOES 1 through 10 are sued herein as administrators of The Law
 6   Offices of the Los Angeles County Public Defender and its SVP Unit. Defendants
 7   Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel
 8   Kuperberg and Ruben Marquez did not represent Corey Williams as a trial attorney in
 9   any of the underlying SVP commitment proceedings, and they did not appear as
10   counsel for Plaintiff in any of the underly SVP proceedings. As such, liability against
11   these defendants is not based on these defendants acting within the scope of legal
12   representation of Mr. Williams.
13         231. Plaintiff is informed and believes, and thereon alleges, that The Law
14   Offices of the Los Angeles County Public Defender, its SVP Unit, Ricardo Garcia
15   Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel
16   Kuperberg and Ruben Marquez, the BOS Defendants, and DOES 1 through 10 failed
17   to timely bring Mr. Williams’s case to trial. By thus abandoning the present plaintiff,
18   said defendants allowed the present plaintiff to be held as a pre-trial detainee for such
19   inordinately long period of time that his due process rights and his rights to a speedy
20   trial were violated.
21         232. As a direct result of the deliberate indifference of the present defendants,
22   plaintiff Corey Williams spent 13 years waiting for his case to come to trial. It never
23   did because of the due process violations alleged herein above.
24         233. On or before Mr. Williams’s underlying case/petition was dismissed,
25   there existed within the Public Defender’s Office and its SVP Unit various customs
26   and practices which caused a systemic breakdown within the PD’s office. The result
27   of this systemic breakdown was that the cases in the SVP unit, including Mr.
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 1   Williams’ case, were caused to be inordinately delayed to a point that the
 2   constitutional rights of SVP clients to a speedy trial were violated.
 3         234. The systemic breakdown within the PD’s office and the resulting delay
 4   of Mr. Williams’ case being brought to trial, caused Mr. Williams to unnecessarily
 5   spend years as a pre-trial detainee waiting for his case to be brought to trial.
 6         235. These unreasonable and unconstitutional delays in the bringing to trial of
 7   the SVP cases were the result of several unconstitutional customs and practices which
 8   existed within The Public Defender’s Office and its SVP Unit and which the present
 9   defendants were aware of and which said defendants ratified. These customs and
10   practices included:
11         a.     Waiving or failing to challenge evidence at probable cause at the
12                initiation of SVP proceedings;
13         b.     Failing to investigate all meaningful defenses to SVP proceedings;
14         c.     Failing to timely challenge the use of juvenile records and criminal
15                history by the prosecution and prosecution’s experts;
16         d.     Failing to advise clients of the PD’s Office during their underlying
17                criminal matters that accepting a plea offered by the District Attorney
18                may result in subjecting them to the provisions of the SVP Act and, as
19                such, a lengthy if not indefinite pre-trial confinement, and indeterminate
20                civil commitment in a California State Hospital;
21         e.     Failing to regularly bring SVP detainees to court for hearings, or to
22                otherwise ensure that SVP detainees were in court or that they would
23                appear by video conference, so as to conceal from SVP detainees their
24                delays in processing their cases in a timely manner;
25         f.     Failing to communicate to SVP client/detainees the status of their cases,
26                the strategies which were to be employed in defending their case, and the
27                likelihood of success of their efforts;
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 1        g.    Failing to obtain consent from SVP client/detainees to continue hearing
 2              dates, trials dates as well as other deadlines which were in their control;
 3        h.    Waiving of SVP client/detainees’ appearance at hearings without
 4              securing their authority to do so;
 5        i.    Agreeing to repeated continuances sought by the prosecution and/or
 6              seeking continuances without their clients’ consent;
 7        j.    Ignoring requests from SVP clients/detainees to bring their case to trial
 8              promptly;
 9        k.    Failing to meet reasonable deadlines in SVP cases;
10        l.    Failing to timely secure experts, to ensure that such experts are properly
11              prepared, and to ensure that such experts complete their work in a timely
12              fashion;
13        m.    Allowing experts’ reports to lapse or otherwise go stale;
14        n.    Concealing material facts from SVP clients/detainees;
15        o.    Concealing their misconduct from SVP clients/detainees;
16        p.    Failing to inform their clients of conflicts of interests;
17        q.    Failing to inform the court of conflicts of interest;
18        r.    Failing to bring cases to trial within the stipulated time period with the
19              District Attorney’s Office after the passage of Proposition 83;
20        e.    Failing to file oppositions to motions and other petitions by the
21              prosecution;
22        f.    Allowing SVP cases to sit idle for years without meaningful progress;
23        g.    Failing to declare unavailability, such that long-delayed SVP cases could
24              be assigned to outside/independent counsel;
25        h.    Tolerating a conflict of interest, in violation of state bar ethics rules and
26              standards, and failing to declare such conflicts so as to permit their SVP
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 1                detainees to file Litmon-Vasquez motions after the extensive delays in
 2                the processing of their cases;
 3         i.     After extensive delays on their part, failing to inform SVP detainees of
 4                their right to file a motion under People v. Litmon and People v. Vasquez
 5                for the violation of their constitutional rights;
 6         j.     Refusing to declare an actual conflict upon learning of it;
 7         k.     Failing to object to the use of hearsay evidence by the prosecution’s
 8                experts;
 9         l.     Waiving probable cause and/or submitting to evidence presented at
10                probable cause without challenging said evidence at the initiation of the
11                SVP proceedings, including failing to object to the evidence used at
12                probable cause hearings as subject to hearsay or other exclusions; and,
13                failing to raise viable defenses to the SVP allegations, including, but not
14                limited to whether SVP detainees are subject to deportation;
15         m.     Concealing conflicts of interest from SVP clients and the court, and
16                failing to declare a conflict of interest to allow appointed/private counsel
17                to bring motions under People v. Litmon and People v. Vasquez; and,
18         n.     Failing to adhere to the State Bar guidelines for the provision of indigent
19                legal defense services, specifically failing to monitor the caseloads of the
20                Public Defender attorneys.
21         236. These customs and practices resulted in a systemic breakdown within the
22   PD’s office which caused the violation of Mr. Williams’ right to a speedy trial. The
23   PD’s office was so dysfunctional as a result of these practices and customs that a vast
24   majority of the SVP case could not be brought to trial and the caseload for each of the
25   deputy public defenders became so unmanageable that SVP cases, such as Mr.
26   Williams’ case, would not get the particularized attention that the case needed
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 1   causing these cases to linger unreasonably without being brought to trial. This in
 2   violation of the SVP clients’ constitutional rights.
 3         237. Recently, the problem of persistent excessive caseloads in the PD’s
 4   office, including the SVP unit, was again brought to public attention when more than
 5   300 members of the PD’s, including current and former members of the SVP unit,
 6   signed a letter pleading that the office go “unavailable”. See, Exhibit 2, Letter to
 7   Ricardo Garcia, Public Defender, Dated February 2, 2022. In their continuing
 8   custom and practice of unconstitutional disregard for the speedy trial rights of their
 9   clients, the present defendant refuse to declare “unavailability” so as to properly
10   provide effective assistance of counsel. The signators to the letter wrote:
11         “Our office is in crisis. You must take immediate action to address
12         excessive workloads by going unavailable. Our attorneys have reached the
13         point where they can no longer continue to accept new cases while
14         continuing to provide effective representation to our clients. The problem
15         is only becoming more acute due to the increase in attorneys leaving the
16         office, as well as attorneys taking leave due to burnout caused by
17         unmanageable workloads.”
18         238. Both the trial court in Mr. Williams’s case and the Court of Appeal of
19   the State of California in Mr. Vasquez’s and Mr. DeCasas’ cases have held that there
20   existed in the PD’s Office an institutional systemic breakdown of the Public Defender
21   system in Los Angeles County during the time that Mr. Williams’s case was being
22   handled by the PD’s Office and that this system breakdown was the cause of the
23   violation of his constitutional rights.
24         239. As noted above, Mr. Williams was not advised by the PD’s Office
25   during his underlying criminal matter that accepting a plea offered by the District
26   Attorney may result in subjecting him to the provisions of the SVP Act and, as such,
27   a lengthy if not indefinite pre-trial confinement, and indeterminate civil commitment
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  1   in a California State Hospital. As a result, Mr. Williams was forced into involuntary
  2   civil pre-trial confinement for more than 13 years after he accepted said plea bargain
  3   without the benefit of being advised that he may be subject an SVP petition filed
  4   against him.
  5         240. As presented in detail above, the delays in bringing Mr. Williams case to
  6   trial resulted from the systemic breakdown in the PD’s Office which resulted from:
  7         a.       A flaw in the public defender’s mechanism for identifying and avoiding
  8                  conflicts of interest,
  9         b.       A failure to train incoming SVP lawyers,
 10         c.       An understaffed public defender office facing overwhelmingly heavy
 11                  caseload,
 12         d.       A failure to timely challenge the use of juvenile records, and,
 13         e.       Underdeveloped expert pool and a payment system which made it
 14                  difficult to promptly pay expert fees such that few experts were willing
 15                  to work for the public defender’s office.
 16         241. Defendants Ricardo Garcia, Ronald Brown, Kelly Emling, Laura Green,
 17   Jenny Brown, Michael Suzuki, Daniel Kuperberg, Ruben Marquez and DOES 1
 18   through 5 were aware of the inordinate and excessive delay that plaintiff and the other
 19   SVP detainees were experiencing in the processing of their cases and that Plaintiff’s
 20   case and the other cases were not being brought to trial in a timely basis. Said
 21   defendants were aware of the customs and practices described above that existed at
 22   the SVP Unit and which were the causes of the failure to bring these cases to trial in a
 23   timely fashion.
 24         242. Between 2006 and 2019, defendants Ricardo Garcia, Ronald Brown,
 25   Kelly Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg, Ruben
 26   Marquez and DOES 1 through 5 learned of these delays in the processing of SVP
 27   cases and of the causes of SVP cases not coming to trial in a timely basis through
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  1   their regular monitoring of the SVP Unit and the monitoring of the performance of
  2   the lawyers in that unit. Said monitoring by defendants Ronald Brown, Kelly
  3   Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg, Ruben
  4   Marquez and DOES 1 through 5 consisted of:
  5         a.     Monthly meetings with the supervisors of the SVP Unit,
  6         b.     Annual performance evaluations of the supervisors and staff of the SVP
  7                Unit,
  8         c.     Annual review of the status of each individual SVP case, the SVP Unit
  9                case load, the SVP Unit projections for staff needs and the expert needs
 10                conducted during the preparation of the SVP Unit budget for
 11                presentation to the Los Angeles County Board of Supervisors.
 12         d.     Monitoring of appeals brought on behalf of SVP detainees, including the
 13                review of appellate briefs regarding and the review of the outcome of
 14                such appeals (see e.g., Arnold v. Superior Court, (2014) unpublished
 15                opinion involving SVP defendant who was challenging an SVP mental
 16                health examination and noting critically that “… defendant was
 17                evaluated by the hospital’s department in 2007. But as of September
 18                2013, his case had not been tried.”)
 19         243. The BOS Defendants and DOES 6 through 10 were informed of the
 20   above-mentioned dramatic trial delays in the SVP cases, including the delays in
 21   Plaintiff’s case, and of the causes of the delays in the SVP cases coming to trial in a
 22   timely basis through their regular management, supervision and administration of the
 23   Public Defender’s Office and through their monthly meetings with defendants
 24   Ricardo Garcia, Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael
 25   Suzuki, Daniel Kuperberg and Ruben Marquez.
 26         244. The BOS Defendants were responsible for monitoring, supervising and
 27   management of the performance of the Public Defender’s Office.
 28

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  1         245. The BOS defendants regularly met with defendants Ricardo Garcia,
  2   Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel
  3   Kuperberg and Ruben Marquez to discuss the issues surrounding the performance of
  4   the Public Defender’s Office, its SVP Unit and individual cases, including the present
  5   Plaintiff’s SVP case. As early as 2008, Ronald Brown, Kelly Emling, Laura Green,
  6   Jenny Brown, Michael Suzuki, Daniel Kuperberg and Ruben Marquez regularly
  7   discussed the significant delays in the processing of pending SVP cases with the BOS
  8   Defendants. They informed the BOS Defendants of the significant backlog of work
  9   in the SVP Unit and of the great delays that were occurring in the bringing of these
 10   cases to trial. As early as 2010, they informed the BOS Defendants of Mr. Williams,
 11   who was awaiting trial in his SVP case and informed the BOS Defendants of the
 12   number of years he had been waiting for trial.
 13         246. As alleged above, attorneys from the SVP unit wrote memoranda and
 14   letters to the BOS Defendants after having their concerns ignored by their
 15   supervisors/administrators of the Public Defender’s Office. The letters and
 16   memoranda specifically noted that the clients being served by the SVP Unit were
 17   suffering the violation of their speedy trial rights and their rights to counsel.
 18   Moreover, these letters and memoranda warned the BOS Defendants that these delays
 19   were creating civil liability for the County of Los Angeles.
 20         247. The BOS defendants received and read these letters and memoranda.
 21   They met and conferred with defendants Ronald Brown, Kelly Emling, Laura Green,
 22   Jenny Brown, Michael Suzuki, Daniel Kuperberg, Ruben Marquez and DOES 1
 23   through 10 to discuss the contents of the letters and memoranda, but failed to take any
 24   action to deal with, address, ameliorate or otherwise meaningfully respond to the
 25   concerns raised by the attorneys in the SVP unit.
 26         248. Besides discussing the long delays in bringing the SVP cases to trial
 27   with the BOS Defendants, Ronald Brown, Kelly Emling, Laura Green, Jenny Brown,
 28

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  1   Michael Suzuki, Daniel Kuperberg and Ruben Marquez also regularly wrote emails,
  2   memoranda, meeting summaries and other written documents to the BOS defendants
  3   discussing the delay in the processing of Plaintiff’s case.
  4         249. In the regular meetings, which were often monthly, between Ricardo
  5   Garcia, Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael Suzuki,
  6   Daniel Kuperberg and Ruben Marquez and DOES 1 through 10 from 2008 to 2020,
  7   these defendants discussed the SVP Unit’s significant backlog of cases which had not
  8   reached trial in five years, ten years and, eventually, 20 years. Annually, and often
  9   quarterly, all these defendants collectively discussed with respect to the SVP trial
 10   delays:
 11         a.     Whether the delay in bringing these cases to trial violated the due
 12                process rights and speedy trial rights of the detainees, including Mr.
 13                Williams,
 14         b.     The costs of bringing each case to trial;
 15         c.     The reasons for the delays in bringing Mr. Williams’s case to trial,
 16         d.     The delays occasioned by the lapsing of the expert reports, including in
 17                Mr. Williams’s case,
 18         e.     The repeated requests for continuances by the SVP lawyers and
 19                prosecutors,
 20         f.     Evaluating the need in each SVP case for a declaration of
 21                “unavailability” so as to ensure that each such case was brought to trial,
 22                including making such a declaration in Mr. Williams’s case,
 23         g.     Implementing internal measures in the SVP Unit to ensure that each SVP
 24                case, including Mr. Williams’s case, got to trial in a timely fashion, and,
 25         h.     Requesting that the supervising judge of the criminal division assign a
 26                specific judicial officer or courtroom for the exclusive handing of SVP
 27                cases.
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  1         250. During every year between 2006 and 2019, defendants Ricardo Garcia,
  2   Ronald Brown, Kelly Emling, Laura Green, Jenny Brown, Michael Suzuki, Daniel
  3   Kuperberg and Ruben Marquez and/or DOES 1 through 5, were aware that the
  4   customs and practices in place in the SVP unit were resulting in a large number of
  5   SVP cases, including, from 2008 on the present plaintiff’s case, not getting to trial in
  6   a timely fashion. On a monthly basis during that time, said defendants learned of
  7   continuances of trial dates and other related dates which continued to extend the time
  8   in which the SVP cases would come to trial. Notwithstanding this information, said
  9   defendants failed to abolish, revoke, rescind or otherwise put a stop to these customs
 10   and practices. They failed to:
 11         a.     Implement internal measures in the SVP Unit to advance or otherwise
 12                expedite the bringing of the SVP cases to trial,
 13         b.     Prioritize the oldest SVP cases to ensure they would get to trial in an
 14                expedited fashion,
 15         c.     Institute tighter controls over supervisors in the SVP Unit to ensure that
 16                they managed their subordinates in a fashion that ensured that the older
 17                SVP cases would get to trial promptly,
 18         d.     Impose time limits for the bringing of SVP cases to trial,
 19         e.     Establish and implement a policy, custom or practice whereby the PD’s
 20                office would declare conflicts or declare “unavailability” in old SVP
 21                cases so as to ensure that the courts could appoint private counsel or
 22                counsel from the alternate public defender’s office to bring SVP cases to
 23                trial, and,
 24         f.     Establish a and implement a policy, custom or practice whereby the
 25                PD’s office would declare conflicts of interest or declare “unavailability”
 26                in those older SVP cases that were subject to a Litmon motion so as to
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  1                permit the court to appoint private counsel to represent those detainees
  2                who had valid grounds to bring such motions.
  3
            251. Despite knowing of the great magnitude of the delays in bringing
  4
      Plaintiff’s case to trial, defendants Ricardo Garcia, Ronald Brown, Kelly Emling,
  5
      Laura Green, Jenny Brown, Michael Suzuki, Daniel Kuperberg and Ruben Marquez,
  6
      the BOS Defendants and DOES 1 through 10 failed to take any reasonable measures
  7
      to ensure that the constitutional rights of Mr. Williams were protected. Such failure
  8
      constituted deliberate indifference to the due process rights and the speedy trial rights
  9
      of Mr. Williams.
 10
            252. The BOS Defendants and DOES 1 through 5 knowingly refused to
 11
      terminate the acts, customs, practices and misconduct of their subordinates, which
 12
      they knew was causing and would cause constitutional injury upon the SVP detainees
 13
      in their charge. Said defendants failed to take reasonable measures to institute internal
 14
      measures within the SVP Unit to address the long delays in getting SVP cases to trial,
 15
      they failed to institute new training of their subordinates in the management of SVP
 16
      cases so as to ensure that SVP cases got to trial in a timely fashion, and they failed to
 17
      discipline their subordinates for failing to get the SVP cases to trial in a timely
 18
      fashion.
 19
            253. All of these failures on the part of defendants Ricardo Garcia, Ronald
 20
      Brown, Jenny Brown, Emling, Laura Green, Suzuki, Kuperberg, Marquez, Mark
 21
      Ridley-Thomas, Hilda Solis and Sheila Kuehl and DOES 1 through 10 constituted an
 22
      acquiescence in, and ratification of, the constitutional deprivations that resulted or
 23
      constituted a reckless and callous indifference to the rights of SVP detainees,
 24
      including Mr. Williams.
 25
            254. Every year between 2008 and 2019, defendants Ricardo Garcia, Ronald
 26
      Brown, Jenny Brown, Emling, Laura Green, Suzuki, Kuperberg, Marquez, Mark
 27
      Ridley-Thomas, Hilda Solis and Sheila Kuehl and DOES 1 through 10, through the
 28

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  1   aforementioned management of the SVP Unit, were made aware of the extended
  2   delays in the SVP cases and of the resulting due process violations that the SVP
  3   detainees were suffering.
  4         255. Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl received separate in-
  5   person and written reports from defendants Ronald Brown, Jenny Brown, Emling,
  6   Laura Green, Suzuki, Kuperberg, Marquez and DOES 1 through 10 as to the great
  7   delays in bringing the SVP cases to trial. Defendants Ronald Brown, Jenny Brown,
  8   Emling, Green, Suzuki, Kuperberg, Marquez, Mark Ridley-Thomas, Hilda Solis and
  9   Sheila Kuehl and DOES 1 through 10 were responsible for the institution of internal
 10   measures within the SVP Unit to correct this unconstitutional condition but failed to
 11   do so. Such failure constituted deliberate indifference to the due process rights and
 12   the speedy trial rights of Mr. Williams.
 13         256. Defendants Ricardo Garcia, Ronald Brown, Jenny Brown, Emling,
 14   Green, Suzuki, Kuperberg, Marquez, Mark Ridley-Thomas, Hilda Solis and Sheila
 15   Kuehl and DOES 1 through 10 knowingly refused to terminate the customs, practices
 16   and misconduct of their subordinates, which they knew were causing and would
 17   continue to cause constitutional injury upon the SVP detainees, including Mr.
 18   Williams. Said defendants had the authority to discipline supervisorial staff in the
 19   SVP Unit for failing to bring SVP cases to trial on a timely basis as well as failing to
 20   challenge the admission of unproven and inadmissible hearsay allegations at SVP
 21   proceedings, such as the prosecution’s expert reports. Said defendants failed to
 22   discipline their subordinates in the SVP Unit, and thereby ratified the great delays in
 23   the bringing the SVP cases to trial as well as ratified the failures to challenge
 24   evidence at the probable cause stage of SVP proceedings. Said defendants mandated
 25   that their subordinates not pursue any law and motion on behalf of their SVP clients,
 26   including Mr. Williams, that would result in the disclosure that the Public Defender’s
 27   Office was failing its clients in its representation and that said failures resulted from a
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  1   systemic breakdown in the Public Defender’s Office that included 50% reductions in
  2   staff attorneys and support staff.
  3         257. As far back as 2007, defendants Ricardo Garcia, Ronald Brown, Jenny
  4   Brown, Emling, Green, Suzuki, Kuperberg, Marquez, Mark Ridley-Thomas, Hilda
  5   Solis and Sheila Kuehl and DOES 1 through 10, by causing their subordinate
  6   attorneys to be overburdened by massive caseloads due, in part, to staffing cuts, but
  7   also due to attorneys in the SVP Unit having massive caseloads with few resources
  8   even prior to the staffing cuts, forced their subordinate attorneys to decide to reject
  9   otherwise colorable legal remedies, such as challenging the admission of inadmissible
 10   evidence at the probable cause stage and pursuing legal remedies regarding motions
 11   to dismiss on Litmon-Vasquez grounds. Said legal remedies were rejected, in large
 12   part, to avoid disclosing the constitutional violations the Public Defender’s Office
 13   was committing as well as to avoid disclosing the systemic breakdowns that played a
 14   role in causing said constitutional violations. The systemic breakdowns within the
 15   Public Defender’s Office caused resources throughout the entirety of the Public
 16   Defender’s Office to be stretched and strained to such a degree as to cause the Public
 17   Defender’s Office, particularly the SVP Unit, to have as a policy, custom and practice
 18   that it would only pursue those legal remedies, including law and motion, that
 19   protected the interests of the Public Defender’s Office and not motions to dismiss,
 20   such as Litmon-Vasquez motions, that did not protect or advance the Public
 21   Defender’s Office interests. Said legal remedies, including motions to dismiss
 22   challenging the SVP petitions on the ground that SVP detainees’ due process rights
 23   were violated, were uniformly rejected by the Public Defender’s Office because the
 24   Public Defender’s Office did not have the resources to pursue said legal remedies and
 25   would only pursue those that did not disclose the systemic dysfunction within the
 26   Public Defender’s Office. The Public Defender’s Office and its SVP Unit had, as a
 27   policy, that it would use its limited resources to only pursue a limited category of
 28

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  1   legal remedies and law and motion, which did not include motions to dismiss
  2   challenging SVP petitions on the ground that SVP detainees’ due process rights were
  3   violated, such as Plaintiff Williams’s, that may also disclose that the Public
  4   Defender’s Office was failing its clients in its representation and that said failures
  5   resulted from a systemic breakdown in the Public Defender’s Office that included
  6   50% reductions in staff attorneys and support staff. Failures to pursue said motions
  7   to dismiss to protect its own interests constituted deliberate indifference to the due
  8   process rights of Mr. Williams and other similarly situated SVP detainees.
  9         258. Moreover, said defendants were aware that its attorneys were failing to
 10   zealously defend the cases of dozens of its SVP detainee clients. Said detainees were
 11   forced to be involuntarily confined in state hospitals for years, if not decades, while
 12   their appointed counsel from the Los Angeles County Public Defender’s Office chose
 13   to deliberately delay the cases of said SVP detainees and never take their cases to trial
 14   or file motions to dismiss on their behalf. Said SVP detainee clients were
 15   involuntarily confined while their counsel from the Public Defender’s Office failed to
 16   consult experts or hire experts to challenge the evaluations of state evaluators. Said
 17   SVP detainee clients were involuntarily confined as said defendants from the Public
 18   Defender’s Office serially substituted attorneys representing the SVP detainees,
 19   resulting in new counsel needing to get up to speed on said cases and being
 20   unprepared to move the cases of their clients forward, resulting in the due process
 21   rights of said clients being violated. Defendants Ricardo Garcia, Ronald Brown,
 22   Jenny Brown, Emling, Green, Suzuki, Kuperberg, Marquez, Mark Ridley-Thomas,
 23   Hilda Solis and Sheila Kuehl and DOES 1 through 10, made the decision not to bring
 24   to trial or file motions to dismiss on behalf of any of the Public Defender’s Office’s
 25   SVP clients. As such, said defendants knew that they could not allow the SVP Unit
 26   to file any motions challenging the sufficiency of evidence, including the
 27   inadmissibility of hearsay evidence, presented at probable cause hearings. Said
 28

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  1   defendants knew they could not allow the SVP Unit file any motions to dismiss SVP
  2   petitions on the ground that their clients’ due process rights had been violated. Said
  3   defendants’ failures were causing SVP detainees to be confined in state hospitals
  4   without trial or motions to dismiss for years, if not decades, against the wishes and
  5   demands of their clients in the SVP Unit. Said defendants were aware that if they
  6   agreed to challenge SVP petitions on due process grounds, then their SVP Unit would
  7   be forced to expose systemic dysfunction prevalent in the Public Defender’s Office.
  8   Failures to pursue said law and motion and legal remedies to protect its own interests
  9   constituted deliberate indifference to the due process rights of Mr. Williams and other
 10   similarly situated SVP detainees.
 11         259. Defendants Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl and
 12   DOES 6 through 10 failed to institute internal measures within the PD’s Office and
 13   within its SVP Unit to address the long delays in getting SVP cases to trial, they
 14   failed to order or otherwise institute new training of their subordinates in the
 15   management of SVP cases so as to ensure that SVP cases got to trial in a timely
 16   fashion, and they failed to discipline, or order the discipling of, their subordinates,
 17   including defendants Ronald Brown, Jenny Brown, Emling, Green, Suzuki,
 18   Kuperberg, and Marquez, for failing to get the SVP cases to trial in a timely fashion.
 19   These failures on the part of defendants Mark Ridley-Thomas, Hilda Solis and Sheila
 20   Kuehl and DOES 6 through 10 constituted an acquiescence in, and ratification of, the
 21   constitutional deprivations that resulted or constituted a reckless and callous
 22   indifference to the rights of SVP detainees, including Mr. Williams.
 23         260. Defendants Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl were
 24   particularly indifferent to a tremendous degree in his disregard for the violation of the
 25   constitutional rights of the SVP detainees in general and of the violation of the
 26   constitutional rights of Mr. Williams specifically. Defendants Mark Ridley-Thomas,
 27   Hilda Solis and Sheila Kuehl forbade the Public Defender’s Office and its supervisors
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  1   and administrators, including defendants Ronald Brown, Jenny Brown, Emling,
  2   Green, Suzuki, Kuperberg, and Marquez, from “declaring unavailability in Mr.
  3   Williams’s case; that is, to declare to the court that the public defender’s office is
  4   "unavailable” or unable to meet its obligations and duties to Mr. Williams and
  5   thereby have the court assign his case to another public defender agency (such as the
  6   Office of the Alternate Public Defender) or to a private panel attorney. Defendants
  7   Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl refused to allow the PD’s office
  8   to “declare unavailability” in Mr. Williams’s case and in other SVP cases despite
  9   knowing the following:
 10         a.     That the SVP unit was significantly backlogged in the processing of SVP
 11                cases and that the majority of the SVP cases were years delayed in
 12                getting to trial and would continue to be so backlogged;
 13         b.     That the SVP Unit attorneys were excessively overworked with
 14                extremely heavy caseloads that could not be processed and brought to
 15                trial in a meaningful and effective way;
 16         c.     That the caseload for the SVP Unit was exacerbated by a 50% reduction
 17                in staff attorneys and administrative staff such as paralegals and
 18                investigators; and,
 19         d.     That less than 50% of the pending SVP cases would ever get to trial
 20                within 10 years.
 21         261. Defendants Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl knew
 22   that this exacerbated backlog of SVP cases would be efficiently and meaningfully
 23   processed to trial by having the PD’s office “declare unavailability” in the older SVP
 24   cases, including Mr. Williams’s case, so that the court could assign such cases to
 25   other agencies or panel attorneys for trial or other proceedings such as Litmon
 26   motions.
 27

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  1         262. Defendants Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl forbade
  2   the declaration of “unavailability” in SVP cases, including Mr. Williams’s, despite
  3   knowing that failing to do so would cause years of prolonged unconstitutional
  4   detention of SVP detainees such as the present plaintiff.
  5         263. As a result of the above deliberate acts and omissions of defendants
  6   Ricardo Garcia, Ronald Brown, Jenny Brown, Emling, Green, Suzuki, Kuperberg,
  7   Marquez, Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl and DOES 1 through
  8   10, Plaintiff was damaged and injured as alleged above by being made to endure a
  9   13-year pre-trial detention which violated Mr. Williams’s civil rights.
 10         264. The conduct of defendants Ricardo Garcia, Ronald Brown, Jenny
 11   Brown, Emling, Green, Suzuki, Kuperberg, Marquez, Mark Ridley-Thomas, Hilda
 12   Solis and Sheila Kuehl and DOES 1 through 10, as alleged above, was done with
 13   deliberate indifference to the constitutional violations endured by the present
 14   plaintiff. As such, punitive damages should be imposed, in an amount sufficient to
 15   punish said defendants and to deter future similar conduct by said defendants and
 16   others in similar positions.
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  1
                                                 VII.

  2                              SECOND CLAIM FOR RELIEF
  3         MUNICIPAL             LIABILITY             FOR       VIOLATION            OF
  4         CONSTITUTIONAL RIGHTS AS TO DEFENDANTS COUNTY
  5         OF LOS ANGELES AND LAW OFFICES OF THE LOS ANGELES
  6         COUNTY PUBLIC DEFENDER
  7         265. PLAINTIFF repeats and realleges each and every allegation above as
  8   though fully set forth herein.
  9         266. This action is brought pursuant to 42 U.S.C. §1983 for violation of
 10   Plaintiff’s rights under the Fourteenth Amendment.
 11         267. Plaintiff’s due process rights were violated by the 13-year delay in
 12   bringing his case to trial as alleged above in the first claim for relief. As a result of
 13   the aforementioned acts and omissions of defendants Ronald Brown, Jenny Brown,
 14   Emling, Green, Suzuki, Kuperberg, Marquez, Mark Ridley-Thomas, Hilda Solis and
 15   Sheila Kuehl and DOES 1 through 10, plaintiff’s Fourteenth Amendment due process
 16   rights were violated.
 17         268. At the time of these constitutional violations by said defendants,
 18   defendant County of Los Angeles and defendant Public Defender’s Office had in
 19   place, and had ratified customs and practices which permitted and encouraged
 20   attorneys in the Public Defender’s Office to delay bringing SVP cases to trial and
 21   which violated the due process right of their SVP clients, including Mr. Williams.
 22         269. These practices, customs, policies and procedures included:
 23         a.     Preventing and restraining the attorneys in its SVP Unit from filing
 24                Litmon-Vasquez motions to dismiss, writs or other legal challenges of
 25                the SVP petitions filed against SVP clients/detainees on constitutional
 26                grounds because they are counter to the interests of the Public
 27                Defender’s Office and would expose the systemic dysfunctions present
 28

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  1             in the Public Defender’s Office and the fact that the Public Defender’s
  2             Office had violated the constitutional rights of their SVP
  3             client/detainees;
  4        b.   Waiving or failing to challenge evidence at probable cause at the
  5             initiation of SVP proceedings;
  6        c.   Failing to investigate all meaningful defenses to SVP proceedings;
  7        d.   Failing to timely challenge the use of juvenile records and criminal
  8             history by the prosecution and prosecution’s experts;
  9        e.   Failing to regularly bring SVP detainees to court for hearings, or to
 10             otherwise ensure that SVP detainees were in court or that they would
 11             appear by video conference, so as to conceal from SVP detainees their
 12             delays in processing their cases in a timely manner;
 13        f.   Failing to communicate to SVP client/detainees the status of their cases,
 14             the strategies which were to be employed in defending their case, and the
 15             likelihood of success of their efforts;
 16        g.   Failing to obtain consent from SVP client/detainees to continue hearing
 17             dates, trials dates as well as other deadlines which were in their control;
 18        h.   Waiving of SVP client/detainees’ appearance at hearings without
 19             securing their authority to do so and/or convincing SVP client/detainees
 20             to waive their appearance at hearings against their best interests;
 21        i.   Continuing trial dates and other related dates without client consent and
 22             without clients waiving their rights to speedy trials and/or convincing
 23             SVP client/detainees to waive time for trial against their best interests;
 24        j.   Agreeing to repeated continuances sought by the prosecution and/or
 25             seeking continuances without their clients’ consent;
 26        k.   Ignoring requests from SVP clients/detainees to bring their case to trial
 27             promptly;
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  1        l.    Failing to meet reasonable deadlines in SVP cases;
  2        m.    Failing to timely secure experts, to ensure that such experts are properly
  3              prepared, and to ensure that such experts complete their work in a timely
  4              fashion;
  5        n.    ;
  6        o.    Allowing experts’ reports to lapse or otherwise go stale;
  7        p.    ;
  8        q.    Failing to inform their clients of conflicts of interests based on their
  9              failure to bring SVP cases to trial in timely and constitutional fashion;
 10        r.    Failing to inform clients of their right to bring a motion to dismiss their
 11              case under People v. Litmon (I and II) and in People v. Vasquez;
 12        s.    Failing to inform the court of conflicts of interest;
 13        t.    ;
 14        u.    ;
 15        v.    Allowing SVP cases to sit idle for years without meaningful progress;
 16        w.    Failing to declare unavailability, such that long-delayed SVP cases could
 17              be assigned to outside/independent counsel;
 18        x.    Tolerating a conflict of interest, in violation of state bar ethics rules and
 19              standards, and failing to declare such conflicts so as to permit their SVP
 20              detainees to file Litmon-Vasquez motions after the extensive delays in
 21              the processing of their cases;
 22        y.    After extensive delays on their part, failing to inform SVP detainees of
 23              their right to file a motion under People v. Litmon and People v. Vasquez
 24              for the violation of their constitutional rights;
 25        z.    Refusing to declare an actual conflict upon learning of it;
 26        aa.   Failing to object to and/or otherwise challenge the use of hearsay
 27              evidence by the prosecution’s experts;
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  1         bb.    Waiving probable cause and/or stipulating to the use of evidence at the
  2                initiation of the SVP proceedings; and, failing to raise viable defenses to
  3                the SVP allegations; and,
  4         cc.    Failing to adhere to the State Bar guidelines for the provision of indigent
  5                legal defense services, specifically failing to monitor the caseloads of the
  6                Public Defender attorneys.
  7         270.   Specifically, as pertinent to Mr. Williams’ case, the aforementioned
  8   practices, customs, policies and procedures collectively and individually caused the
  9   delay in Mr. Williams’ case and were the moving force behind his Due Process rights
 10   being violated. Specifically, such practices, customs, policies and procedures
 11   resulted in Mr. Williams’ case not coming to trial as follows:
 12         a.     As alleged in paragraph 41(p) and paragraph 150 above, DPD3 appeared
 13                on February 28, 2019, and informed the court that she could not bring a
 14                Litmon/Vasquez motion as ordered by the court because she was
 15                “restrained” from filing such a motion. The court noted that the Public
 16                Defender’s policy could not override their ethical duty to Mr. Williams.
 17                Despite the court’s order, DPD3, pursuant to her office’s policy, was
 18                barred from filing a Litmon/Vasquez motion. The practice, custom,
 19                policy and procedure of County of Los Angeles and defendant Public
 20                Defender’s Office of preventing and restraining the attorneys in its SVP
 21                Unit from filing Litmon-Vasquez motions to dismiss, writs or other legal
 22                challenges of the SVP petitions filed against SVP clients/detainees on
 23                constitutional grounds because they are counter to the interests of the
 24                Public Defender’s Office and would expose the systemic dysfunctions
 25                present in the Public Defender’s Office and the fact that the Public
 26                Defender’s Office had violated the constitutional rights of their SVP
 27                client/detainees caused and was the moving force behind the violation of
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  1             Mr. Williams’ due process rights to a timely trial. As alleged above, Mr.
  2             Williams’ conflict counsel, subsequent to defendants’ declaring a
  3             conflict and being removed as plaintiff’s SVP counsel, actually did file
  4             such a Litmon-Vasquez motion to dismiss. As such, it was legally viable
  5             and was a defense strategy that was appropriate for use in Mr. Williams’
  6             case to dismiss the petition filed against him. As noted above, courts in
  7             Vasquez, DeCasas, and Frazier had all found defendant County and its
  8             defendant Public Defender’s Office to be systemically dysfunctional in
  9             its SVP public defender defense system, and that such systemic
 10             dysfunction caused the violations of the due process rights of their SVP
 11             clients, such as Mr. Williams. Mr. Williams stood in the same position
 12             as the defendants in Vasquez, DeCasas and Frazier. These courts have
 13             found that Litmon-Vasquez motions that successfully allege that said
 14             dysfunction caused the delay in the timely resolution of their SVP cases
 15             will be granted, the SVP petitions would be dismissed and the SVP
 16             detainee clients would be immediately released. Had a Litmon-Vasquez
 17             motion in Mr. Williams’ case been brought in a timely manner by
 18             defendants and their deputy public defenders, Mr. Williams would have
 19             either been successful and been released or been immediately brought to
 20             trial as said Litmon-Vasquez motion would have trigged the court to set
 21             the matter for trial and not allow any future continuances without Mr.
 22             Williams’ express agreement. But for this policy and practice, DPD3 or
 23             other deputy public defenders before her would have filed the motion to
 24             dismiss, the motion would have been granted and Mr. Williams would
 25             have been released from custody.
 26        b.   Mr. Williams was represented by the PD’s office at his first probable
 27             cause hearing in 2008, and also for his second probable cause hearing in
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  1             2015. At the time, it was known by the PD’s office that Mr. Williams’
  2             juvenile criminal records formed the basis for the predicate crimes
  3             allegations against him. Such records were inadmissible in such
  4             proceedings. In 2021, the improper use of these records would
  5             ultimately lead to the dismissal of the SVP proceedings against Mr.
  6             Williams. The PD’s office, however, failed to challenge this evidence
  7             during the probable cause proceedings. The court in Mr. Williams’
  8             underlying SVP case found that the District Attorney’s Office
  9             improperly obtained and used his juvenile records as the basis of filing
 10             the petition against him. Had the PD’s office challenged the use of his
 11             juvenile records by defendants’ experts at the probable cause stage, they
 12             would have been successful and Mr. Williams’ petition would have been
 13             resolved early in his case as it would have been fatally damaging to the
 14             District Attorney’s petition against him. This was proven by the fact that
 15             when the court found that his juvenile records were used improperly and
 16             could not be used to support the SVP petition against him, the District
 17             Attorney’s Office dismissed his petition because it could not be
 18             successful in a trial against Mr. Williams without the necessary
 19             underlying predicate offenses that were established through the use of
 20             the juvenile records. As such, the County of Los Angeles’s and
 21             defendant Public Defender’s Office’s practice of waiving or failing to
 22             challenge evidence at probable cause at the initiation of SVP
 23             proceedings and at probable cause proceedings resulted in the
 24             prolonging of Mr. Williams SVP proceedings and caused and was the
 25             moving force behind the violation of Mr. Williams’ due process rights to
 26             a timely trial.
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  1        c.   As noted in the paragraph above, the PD’s office failed to investigate
  2             and present a viable defense to the SVP proceedings against Mr.
  3             Williams. As such, defendant County of Los Angeles’s and defendant
  4             Public Defender’s Office’s practice of failing to investigate all
  5             meaningful defenses to SVP proceedings caused and was the moving
  6             force behind the violation of Mr. Williams’ due process rights to a
  7             timely trial. But for this policy and practice, it would have been
  8             discovered that the prosecution was proceeding against Mr. Williams
  9             based on inadmissible evidence, specifically his juvenile criminal record,
 10             and he would not have been held as an SVP detainee or otherwise forced
 11             to undergo detention as an SVP detainee.
 12        d.   As noted above in paragraph 270 b., the PD’s office allowed the
 13             improper use of Mr. Williams’ juvenile criminal records by the
 14             prosecution in the SVP proceedings without challenging this for 13
 15             years. As such, defendant County of Los Angeles’s and defendant
 16             Public Defender’s Office’s practice of failing to timely challenge the use
 17             of juvenile records and criminal history by the prosecution and
 18             prosecution’s experts caused and was the moving force behind the
 19             violation of Mr. Williams’ due process rights to a timely trial and caused
 20             him to be wrongfully detained for 13 years. But for this policy and
 21             practice, it would have been discovered that the prosecution was
 22             proceeding against Mr. Williams based on inadmissible evidence,
 23             specifically his juvenile criminal record, and he would not have been
 24             held as an SVP detainee or otherwise forced to undergo detention as an
 25             SVP detainee.
 26        e.   DPD1, DPD1 and DPD3 regularly failed to inform Mr. Williams of the
 27             status of his case, of any strategy to move the case forward and,
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  1             eventually, of the viability of a Litmon/Vasquez motion. Moreover, said
  2             deputy public defenders also misrepresented the status of Mr. Williams’
  3             case so as to secure a written waiver in 2010 (which Mr. Williams
  4             promptly revoked). Because of this, Mr. Williams was kept unaware of
  5             the status of his case and the likelihood of success in his case. Had he
  6             been properly informed and kept apprised of the strategies to be
  7             employed in his case, he would have insisted on a prompt trial and
  8             would not have waived his rights at all. As such, the court would have
  9             had no recourse other than to set his case for immediate trial and his case
 10             would have resolved. Accordingly, Defendant County of Los Angeles’s
 11             and defendant Public Defender’s Office’s practice and custom of failing
 12             to communicate to SVP client/detainees the status of their cases, the
 13             strategies which were to be employed in defending their case, and the
 14             likelihood of success of their efforts caused and were the moving force
 15             behind the violation of Mr. Williams’ due process rights to a timely trial;
 16        f.   DPD1, DPD2 and DPD3 failed to obtain consent from Mr. Williams to
 17             continue hearings in his SVP case. In fact, Mr. Williams complained to
 18             his deputy public defenders that hearings and proceedings were
 19             continued without his consent. These hearings and proceedings directly
 20             related to whether his matter would be set for trial. Because these
 21             hearings and proceedings were continued, trial in his case was not set
 22             and he did not receive a timely trial. Had these hearings and
 23             proceedings not been continued, Mr. Williams’ case would have come to
 24             trial promptly and his due process rights to timely trial would have been
 25             protected. As such, defendant County of Los Angeles’s and defendant
 26             Public Defender’s Office’s practice, policy, custom and/or procedure of
 27             failing to obtain consent from SVP client/detainees to continue hearing
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  1             dates, trials dates, as well as other deadlines which were in their control
  2             caused and was the moving force behind the violation of Mr. Williams’
  3             due process rights to a timely trial.
  4        g.   As outlined above in the Statement of Facts, DPD1, DPD2 and DPD3
  5             repeatedly waived Mr. Williams’ appearance at hearings without his
  6             consent. In fact, Mr. Williams complained to his deputy public
  7             defenders that he was being manipulated into waiving his appearance at
  8             hearings or of not being informed of hearings. These hearings and
  9             proceedings directly related to whether his matter would be set for trial.
 10             Because these hearings and proceedings were continued, trial in his case
 11             was not scheduled and he did not receive a timely trial. Had Mr.
 12             Williams’ appearance at these various hearings not been waived, he
 13             would have insisted on a prompt and timely trial. As such, Mr.
 14             Williams’ case would have come to trial promptly and his due process
 15             rights to timely trial would have been protected. As such, defendant
 16             County of Los Angeles’s and defendant Public Defender’s Office’s
 17             practice, policy, custom and/or procedure of waiving of SVP
 18             client/detainees’ appearance at hearings without securing their authority
 19             to do so and/or convincing SVP client/detainees to waive their
 20             appearance at hearings against their best interests caused and was the
 21             moving force behind the violation of Mr. Williams’ due process rights to
 22             a timely trial.
 23        h.   As presented above in the Statement of Facts, status conference dates,
 24             pretrial conference dates and trial dates were continued by DPD1,
 25             DPD2, DPD3 and other representatives from the Public Defenders’
 26             Office without Mr. Williams’ consent. These hearings and proceedings
 27             directly related to whether his matter would be set for trial if it had not
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  1             already been set for trial. Because these hearings and proceedings were
  2             continued, trial in his case was not set and he did not receive a timely
  3             trial. Had these hearings and proceedings gone forward in a timely
  4             fashion, Mr. Williams’ SVP case would have come to trial in a timely
  5             fashion. Defendant DPD1, DPD2 and DPD3 failed to obtain consent
  6             from Mr. Williams to continue hearings in his SVP case. In fact, Mr.
  7             Williams complained to his deputy public defenders that hearings and
  8             proceedings were continued without his consent. Had these hearings
  9             and proceedings not been continued, Mr. Williams’ case would have
 10             come to trial promptly and his due process rights to timely trial would
 11             have been protected. As such, defendant County of Los Angeles’s and
 12             defendant Public Defender’s Office’s practice, policy, custom and/or
 13             procedure of continuing trial dates and other related dates without client
 14             consent and without clients waiving their rights to speedy trials and/or
 15             convincing SVP client/detainees to waive time for trial against their best
 16             interests, caused and was the moving force behind the violation of Mr.
 17             Williams’ due process rights to a timely trial.
 18        i.   As presented above in the Statement of Facts, status conference dates,
 19             pretrial conference dates, trial dates and other hearings were continued
 20             by DPD1, DPD2, DPD3 and other representatives from the Public
 21             Defenders’ Office and/or by the Los Angeles County District Attorney’s
 22             Office without Mr. Williams consent. These hearings and proceedings
 23             directly related to whether his matter would be set for trial if it hadn’t
 24             already been set for trial. Because these hearings and proceedings were
 25             continued, trial in his case was not set and he did not receive a timely
 26             trial. Had these hearings and proceedings gone forward in a timely
 27             fashion, Mr. Williams’ SVP case would have come to trial in a timely
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  1             fashion. Defendant County of Los Angeles’s and defendant Public
  2             Defender’s Office’s practice, policy, custom and/or procedure of
  3             agreeing to repeated continuances sought by the prosecution and/or
  4             seeking continuances without their clients’ consent caused and was the
  5             moving force behind the violation of Mr. Williams’ due process rights to
  6             a timely trial.
  7        j.   As presented above in the Statement of Facts, Mr. Williams regularly
  8             requested that his case be brought to trial. These requests were ignored
  9             by DPD1, DPD2, DPD3 and other representatives from the PD’s office.
 10             Had these requests not been ignored, Mr. Williams’ case would have

 11             been brought to trial. As such, Defendant County of Los Angeles’s and

 12
                defendant Public Defender’s Office’s practice, policy, custom and/or
                procedure of ignoring requests from SVP clients/detainees to bring their
 13
                case to trial promptly was the cause and moving force behind the
 14
                violation of Mr. Williams’ due process rights to a timely trial;
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           k.   As presented above in the Statement of Facts, the Public Defender’s
 16
                Office failed to implement reasonable deadlines for the processing of
 17
                SVP cases. Moreover, there was a custom and practice in place not to
 18
                establish reasonable deadlines for the processing of SVP cases and to
 19
                seek regular continuances of hearing dates. These hearings and
 20
                proceedings directly related to whether his matter would be set for trial if
 21
                it hadn’t already been set for trial. Because these hearings and
 22
                proceedings were repeatedly continued, trial in his case was not set and
 23
                he did not receive a timely trial. There were no reasonable deadlines
 24
                established for hiring experts to give expert opinion at trial, for filing law
 25
                and motion briefs to challenge the petition filed against him, including to
 26
                challenge the juvenile records improperly used against him and to file
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                motions to dismiss, and for investigating, and proffering, all defenses in
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  1             fact and law to defend against the petition. Because there were no
  2             reasonable deadlines set, there were no experts hired, and motions to
  3             dismiss his case, defend his case and to force his case to trial were either
  4             never filed or were delayed by many years. Had there been reasonable
  5             deadlines in place for the processing of Mr. Williams’ case, his case
  6             would have come to trial in a timely fashion. As such, Defendant
  7             County of Los Angeles’s and defendant Public Defender’s Office’s
  8             practice, policy, custom and/or procedure of failing to meet reasonable
  9             deadlines in SVP cases was the cause and moving force of the violation
 10             of Mr. Williams’ due process rights to a timely trial.
 11        l.   As noted above in the Statement of Facts, Mr. Williams’ attorneys from
 12             the Public Defender’s Officer failed to timely secure experts in his case
 13             and failed to ensure that the experts were prepared and had completed
 14             their work in a timely fashion. Because of this failure, Mr. Williams’
 15             case could not proceed to trial in a timely fashion. Mr. Williams could
 16             not proceed to trial without a proper defense, and subject matter experts,
 17             such as psychologists, are a necessary to meaningfully defend against the
 18             SVP petition filed against him. Without such subject matter experts to
 19             testify on his behalf, Mr. Williams could not present a meaningful and
 20             proper defense and, therefore, could not go to trial. As such, Defendant
 21             County of Los Angeles’s and defendant Public Defender’s Office’s
 22             practice, policy, custom and/or procedure of failing to timely secure
 23             experts, to ensure that such experts are properly prepared, and to ensure
 24             that such experts complete their work in a timely fashion was the cause
 25             and moving force of the violation of Mr. Williams’ due process rights to
 26             a timely trial;
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  1        m.   The expert reports for the prosecution were valid for one year. After
  2             that, the reports would lapse and would have to be re-done pursuant to
  3             statute. One could only be found to be SVP based on a current expert
  4             opinion/diagnosis. As presented above in the Statement of Facts, DPD1,
  5             DPD2 and DPD3 were aware that they had to bring Mr. Williams’ case
  6             to trial within one year of the prosecution’s expert report date. Because
  7             of the various continuances of hearing dates and trial dates, DPD1,
  8             DPD2 and DPD3 failed to get Mr. Williams’ case to trial within the one
  9             year of the prosecution’s expert reports such that Mr. Williams case had
 10             to be further continued. Had defendants’ and their deputy public
 11             defenders not had a policy of allowing expert reports to lapse or
 12             otherwise go stale, there would be no need for the court to order new
 13             state evaluations of Mr. Williams and, as such, the parties would be
 14             prepared to go to trial. Because the District Attorney’s expert reports
 15             lapsed and/or went stale, the court ordered new evaluations that would
 16             take several months, if not years, to be conducted in addition to the
 17             additional months necessary for the expert to draft his/her report. Such
 18             new reports, therefore, caused Mr. Williams’ SVP case to not be set for
 19             trial. Accordingly, defendant County of Los Angeles’s and defendant
 20             Public Defender’s Office’s practice, policy, custom and/or procedure of
 21             allowing experts’ reports to lapse or otherwise go stale was the cause
 22             and moving force of the violation of Mr. Williams’ due process rights to
 23             a timely trial;
 24        n.   Because of the various continuances of hearing dates, because of the
 25             substitutions of trial counsel and the resulting delays, and because of
 26             other delays in the proceedings caused by DPD1, DPD2, DPD3 and the
 27             Public Defender’s Office, Mr. Williams accrued the right to proceed
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  1             with a motion to dismiss his case based on the failings of his counsel as
  2             allowed by People v. Litmon (I and II). Mr. Williams’ attorneys from
  3             the Public Defender’s Office concealed from Mr. Williams that he had
  4             the right to proceed with such a motion. Had they disclosed this in a
  5             timely manner, Mr. Williams would have moved for new counsel so as
  6             to proceed with a Litmon motion. Given the great delay in his
  7             proceedings and given Mr. Williams constant insistence his case
  8             proceeding to trial, a Litmon motion would have been granted. As
  9             alleged above, Mr. Williams’ conflict counsel, subsequent to defendants’
 10             declaring a conflict and being removed as plaintiff’s SVP counsel,
 11             actually did file such a Litmon-Vasquez motion to dismiss. As such, it
 12             was legally viable and was a defense strategy that was appropriate for
 13             use in Mr. Williams’ case to dismiss the petition filed against him. As
 14             noted above, courts in Vasquez, DeCasas, and Frazier have all found
 15             defendant County and its defendant Public Defender’s Office to be
 16             systemically dysfunctional in its SVP public defender defense system,
 17             and that such systemic dysfunction caused the violations of the due
 18             process rights of their SVP clients, such as Mr. Williams. These courts
 19             have found that Litmon-Vasquez motions that successfully allege that
 20             said dysfunction caused the delay in the timely resolution of their SVP
 21             cases will be granted, the SVP petitions would be dismissed and the SVP
 22             detainee clients would be immediately released. Had Mr. Williams
 23             known he had a viable Litmon-Vasquez motion and been able to move
 24             for new counsel to file said motion, a Litmon-Vasquez motion in Mr.
 25             Williams’ case would have been brought in a timely manner by
 26             defendants and their deputy public defenders, Mr. Williams would have
 27             either been successful and been released or been immediately brought to
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  1             trial as said Litmon-Vasquez motion would have trigged the court to set
  2             the matter for trial and not allow any future continuances without Mr.
  3             Williams’ express agreement. Accordingly, defendant County of Los
  4             Angeles’s and defendant Public Defender’s Office’s practice, policy,
  5             custom and/or procedure of failing to inform their clients of conflicts of
  6             interests based on their failure to bring SVP cases to trial in timely and
  7             constitutional fashion, failing to inform clients of their right to bring a
  8             motion to dismiss their case under People v. Litmon (I and II) and in
  9             People v. Vasquez, and failing to inform the court of conflicts of interest
 10             were the causes and moving forces of the violation of Mr. Williams’ due
 11             process rights to a timely trial;
 12        o.   As presented in the Statement of Facts herein above, the Public
 13             Defender’s Office allowed Mr. Williams’ case to sit idle from 2007 until
 14             2019 when, in 2019, the PD’s office began a collateral attack on the
 15             prosecution’s SVP case through proceedings to exclude Mr. Williams’
 16             juvenile criminal records. This attack could have, and should have,
 17             been initiated during the probable cause proceedings. Moreover, the
 18             Public Defenders’ Office allowed the improper use of Mr. Williams’
 19             juvenile criminal records after they were statutorily required to be
 20             destroyed in 2012. This, along with a history of non-action,
 21             substitutions of deputy public defenders as well as to delays presented in
 22             paragraphs 270 a. through 270 p., caused Mr. Williams’ SVP case to sit
 23             idle without meaningful progress toward trial being made. As such,
 24             defendant County of Los Angeles’s and defendant Public Defender’s
 25             Office’s practice, policy, custom and/or procedure of allowing SVP
 26             cases to sit idle for years without meaningful progress was the cause and
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  1             moving force of the violation of Mr. Williams’ due process rights to a
  2             timely trial;
  3        p.   As early as 2006, the Public Defender’s Office had an overwhelmingly
  4             large backlog of SVP cases such that the PD’s office could not
  5             reasonably proceed with their SVP caseload and had to seek judicial
  6             relief. In 2006, the PD’s office asked the court to be relieved in 64 SVP
  7             cases so as to deal with the backlog of SVP cases. The court could not
  8             relieve the PD’s office because the court could not find private counsel
  9             or other counsel to represent the 64 SVP cases that the PD’s office
 10             sought relief on. As such, in 2007 the PD’s office was, per its own
 11             admission, unable to proceed with its SVP caseload due to a large
 12             backlog of SVP cases. Accepting additional SVP cases, in light of the
 13             backlog of SVP cases, would ensure that any new case would not be
 14             brought to trial in a timely manner because of the pre-existing backlog of
 15             SVP cases. As such, the PD’s office was obligated under the State Bar
 16             Indigent Defense Guidelines to declare themselves unavailable to accept
 17             further cases (CA Penal Code, e section 987.2, subdivisions (d) and (e)).
 18             Because of its policy and custom to not declare unavailability and to
 19             ignore State Bar guidelines for the provision of indigent legal defense
 20             services, specifically failing to monitor the caseloads of the Public
 21             Defender attorneys, the PD’s office accepted Mr. Williams SVP case
 22             knowing that they could not meaningfully represent Mr. Williams due to
 23             the backlog of SVP cases. Due to this backlog, Mr. Williams’ SVP case
 24             remained idle until 2019. As such, these policies, customs and policies
 25             were the cause and moving force of the violation of Mr. Williams’ due
 26             process rights to a timely trial.
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  1         271. The deliberate indifference to the rights of the SVP clients represented
  2   by the PD’s Office was manifested in the following cases:
  3         a.     The 64 cases that were the subject of the 2007 memorandum of
  4                understanding entered into by the PD’s Office, the Superior Court and
  5                the District Attorney’s Office.
  6         b.     The SVP matter of People v. Gaspar Zavala;
  7         c.     The SVP matter of People v. George Vasquez;
  8         d.     The SVP matter of People v. Rodrigo DeCasas;
  9         e.     The SVP matter of People v. Jason Taylor;
 10         f.     The SVP matter of People v. Darryell Frazier; and,
 11         g.     The SVP matter of People v. Barry Bartlett;
 12         272. Deliberate indifference to the civil rights of SVP detainees such as Mr.
 13   Williams was evidenced by said defendants’ ignoring the long delays in the bringing
 14   of SVP cases to trial and the long pre-trial detentions suffered by SVP clients.
 15         273. Further deliberate indifference by these defendants was evidenced by the
 16   following acts and omissions:
 17         a.     Failing to file Litmon-Vasquez motions to dismiss, writs or other legal
 18                challenges of the SVP petitions filed against SVP clients/detainees on
 19                constitutional grounds because they are counter to the interests of the
 20                Public Defender’s Office and would expose the systemic dysfunctions
 21                present in the Public Defender’s Office and the fact that the Public
 22                Defender’s Office had violated the constitutional rights of their SVP
 23                client/detainees;
 24         b.     Failing to implement policies and procedures to advance or otherwise
 25                expedite the bringing of the SVP cases to trial,
 26         c.     Failing to prioritize resources to the oldest SVP cases to ensure they
 27                would get to trial in an expedited fashion,
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  1         d.     Failing to discipline deputy public defenders who repeatedly failed to
  2                bring old SVP cases to trial,
  3         e.     Failing to institute tighter controls over supervisors in the SVP Unit to
  4                ensure that they managed their subordinates in a fashion that ensured
  5                that the older SVP cases would get to trial promptly,
  6         f.     Failing to impose time limits for the bringing of SVP cases to trial,
  7         g.     Failing to declare conflicts or to declare “unavailability” in old SVP
  8                cases so as to ensure that the courts could appoint private counsel or
  9                counsel from the alternate public defender’s office to bring SVP cases to
 10                trial,
 11         h.     Failing to declare conflicts or declare “unavailability” in those older
 12                SVP cases that were subject to a Litmon motion so as to permit the court
 13                to appoint private counsel to represent those detainees who had valid
 14                grounds to bring such motions, and
 15         i.     Failing to train attorneys coming into the SVP Unit.
 16         274. The foregoing acts, omissions, and systemic deficiencies are and were
 17   customs, practices, policies and procedures of defendant County of Los Angeles and
 18   of defendant Public Defender’s Office and by ratifying such, these defendants
 19   permitted and encouraged attorneys in the Public Defender’s Office to delay in
 20   bringing SVP cases to trial in a timely fashion. This caused, permitted and/or
 21   allowed under official sanction the attorneys of the Public Defender’s Office to
 22   believe that the long delays in bringing SVP cases to trial would not be objectively,
 23   thoroughly and/or meaningfully investigated and that no negative consequences
 24   would befall them, all with the foreseeable result that said attorneys would greatly
 25   delay in bringing SVP cases to trial and thereby violate the civil rights of the SVP
 26   detainees in their charge.
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  1         275. As a direct and proximate result of the aforementioned acts alleged
  2   herein, Mr. Williams was detained for more than 13 years in violation of his due
  3   process rights as alleged in the first claim for relief which caused him serious and
  4   permanent injuries and have physically, psychologically, and emotionally impaired
  5   him permanently. The PD’s office failed to get Mr. Williams case to trial in a timely
  6   fashion. When urged by the court to file a motion to dismiss under Litmon because
  7   of the great damage already done to Mr. Williams, the PD’s office refused to do so.
  8   By that point, however, the damage had already been done. Mr. Williams had already
  9   undergone countless years of unconstitutional delay.
 10         276. As a result of the above customs, practices, policies and procedures of
 11   defendant County of Los Angeles and of defendant Public Defender’s Office, Mr.
 12   Williams was damaged and injured as alleged above by being made to endure a
 13   wrongful 13-year pre-trial detention.
 14                                             VIII.
 15                                           PRAYER
 16         Wherefore, plaintiff Corey Williams demands the following relief, against all
 17   the defendants with respect each of the claims for relief above:
 18         a.      Compensatory general and special damages in an amount in accordance
 19   with proof;
 20         b.      Punitive and exemplary damages, against defendants Ricardo Garcia,
 21   Ronald Brown, Jenny Brown, Kelly Emling, Laura Green, Michael Suzuki, Daniel
 22   Kuperberg, Ruben Marquez, Mark Ridley-Thomas, Hilda Solis and Sheila Kuehl and
 23   DOES 1 through 10 in an amount sufficient to deter and to make an example of these
 24   defendants;
 25         c.      Reasonable attorneys' fees and litigation expenses pursuant to 42 U.S.C.
 26   §1988;
 27         d.      Costs of suit necessarily incurred herein; and,
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  1         e.    Such further relief as the Court deems just or proper.
  2

  3   Dated: July 18, 2023                  CASILLAS & ASSOCIATES

  4                                         By: / s/ Arnoldo Casillas
  5                                         ARNOLDO CASILLAS
                                            DANIEL W. GILLETTE
  6                                         Attorneys for Plaintiff
  7                                         COREY WILLIAMS

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  1                               DEMAND FOR JURY TRIAL
  2         COMES NOW Plaintiff COREY WILLIAMS and respectfully demands that
  3   the present matter be set for a jury trial.
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  6   Dated: July 18, 2023                     CASILLAS & ASSOCIATES

  7                                            By: / s/ Arnoldo Casillas
  8                                            ARNOLDO CASILLAS
                                               DANIEL W. GILLETTE
  9                                            Attorneys for Plaintiff
 10                                            COREY WILLIAMS

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                                      EXHIBIT 1

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